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             IN THE UNITED STATES DISTRICT COURT
          FOR THE WESTERN DISTRICT OF PENNSYLVANIA
                     PITTSBURGH DIVISION

Sara Bloch, Mary Cease, and the Housing :
Authority of Indiana County,            :
                                        :
            Plaintiffs,                 :
                                        :
v.                                      :
                                        :
U.S. Department of Housing and Urban :            Case No. 2:23-cv-01660-NR
Development and Marcia Fudge, in her :
official capacity as Secretary, U.S. :
Department of Housing and Urban :
Development,                            :
                                        :
            Defendants.                 :



                                PLAINTIFFS’
                         FIRST AMENDED COMPLAINT




                                        1
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                                INTRODUCTION

      1.     This lawsuit concerns Hobbesian choices faced by the plaintiffs: for

Sarah Bloch and Mary Cease – two low-income Pennsylvanians in need of federal

housing assistance that lawfully use medical marijuana under Pennsylvania state law

– receive federal assistance for safe and secure housing or their life-changing

medicine; for the Housing Authority of Indiana County (“HAIC”) – the

Pennsylvania entity responsible for administering federal housing assistance to low-

income Pennsylvanian’s – comply with a Pennsylvania court order or lose all federal

funding.

      2.     Since    1970,    marijuana       and   its   psychoactive   ingredient,

tetrahydrocannabinol (“THC”), have been listed as Schedule I substances under the

Controlled Substances Act, 21 U.S.C. §§801, et seq. (“CSA”), rendering it illegal to

manufacture, distribute, dispense, or possess marijuana.

      3.     Under the CSA, as enacted in 1970, a Schedule I substance: (i) has a

high potential for abuse, (ii) has no accepted medical use, and (iii) cannot be used

safely even under medical supervision.

      4.     However, much has changed since the CSA was passed over 50 years

ago. Today, 44 states plus the District of Columbia and certain U.S. Territories have

legalized medical marijuana and 22 states have legalized it for adult use. In fact,



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only 4 states in the entire United States continue to criminalize any and all use of

marijuana.

      5.     Over the past 15 years, the federal government’s treatment of people

and entities that produce or use marijuana has also evolved:

             a. Since at least 2009, the U.S. Department of Justice (“DOJ”) has

                issued written policies on limiting its enforcement of federal drug

                laws relating to the production and use of medical marijuana so long

                as such production and use was pursuant to and under the

                supervision of a state’s marijuana laws and regulatory agencies;

             b. In 2012, the United States Department of Agriculture (“USDA”), the

                agency tasked with overseeing the Supplemental Nutrition

                Assistance Program (“SNAP”), issued a policy memo indicating

                that while medical marijuana expenditures could not count towards

                allowable medical deductions medical marijuana users were not

                disqualified from the SNAP assistance program;

             c. For the first time in 2014, Congress used the power of the purse via

                the commonly known Rohrbacher-Farr Amendment to restrain the

                DOJ from investigating or prosecuting any medical marijuana

                operations so long as such operations were compliant under the laws

                of the state tasked with overseeing and regulating them. The


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       Rohrbacher-Farr Amendment has been extended or re-authorized

       without fail since its initial passage;

    d. In 2015, the then U.S. Surgeon General Vivek Murthy stated in an

       interview that marijuana can be helpful in treating certain medical

       conditions and symptoms;

    e. In June 2018, the U.S. Food and Drug Administration (“FDA”)

       approved Epidiolex, a pharmaceutical-grade, marijuana-based

       cannabidiol (“CBD”) extract, to treat children suffering from Dravet

       and Lennox-Gastaut Syndromes;

    f. The FDA has also approved other THC-based medications such as

       dronabinol and nabilone for the treatment of nausea in patients

       undergoing cancer chemotherapy and to stimulate appetites in

       patients with AIDS or wasting syndrome (these are the same medical

       conditions commonly approved by states to be treated with medical

       marijuana);

    g. The U.S. Drug Enforcement Administration (“DEA”) reports that

       “[n]o death from overdose of marijuana has been reported.” A copy

       of the DEA “Drug Fact Sheet” is attached hereto as Exhibit 1;

    h. In a 2018 research article, the National Institute of Health (“NIH”)

       concluded that the “compelling nature of these data and the relative


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                safety profile of cannabis warrant further exploration of cannabis as

                an adjunct or alternative treatment to [opioid use disorder]”;

            i. In 2022, President Biden was the first president to propose

                incorporating the Rohrbacher-Farr amendment into the national

                budget;

            j. On July 28, 2023, the Department of Veterans Affairs (“VA”) issued

                VHA Directive 1315 that provides: “Veterans must not be denied

                [Veterans Health Administration] services solely because they are

                participating in a State-approved marijuana program or because they

                acknowledge use of marijuana.”

            k. On August 29, 2023, the United States Department of Health and

                Human Services (“DHHS”), based on a report authored by the FDA,

                recommended to the DEA that marijuana be rescheduled under the

                CSA from a Schedule I substance to a Schedule III substance.

      6.    The federal government’s actions over the past 15 years with respect to

marijuana that culminated in DHHS’s recommendation that it be re-classified as a

Schedule III substance indicates the federal government’s recognition that marijuana

is no longer considered among the most dangerous substances and can be an

effective medical treatment especially when supervised under a state medical

program.


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      7.     Despite evolving lenience afforded medical marijuana patients from the

USDA, FDA, VA and DHHS, the U.S. Department of Housing and Urban

Development (“HUD”) continues to apply marijuana’s Schedule I status robotically,

uncompromisingly, and cruelly under the CSA which acts to deprive low-income

individuals who are suffering from debilitating medical conditions and lawfully

treating these conditions with medical marijuana under state law from receiving

federal housing assistance.

      8.     Plaintiffs seek a declaratory order and related injunctive relief that the

Quality Housing and Work Responsibility Act, 42 U.S.C. §§13661-13664

(“QHWRA”), the federal law governing eligibility for Section 8 federal housing

assistance, does not require HUD or the local housing authority that administers the

Section 8 program to prohibit admission to applicants that are lawfully using

marijuana under state supervised programs.

      9.     In Pennsylvania, state courts have already held that QHWRA does not

prohibit and actually requires housing authorities to establish standards to determine

the eligibility of a Section 8 applicant who is lawfully using medical cannabis under

Pennsylvania law. Cease v. Housing Auth. Indiana Cnty., 247 A.3d 57 (Pa. Cmwlth.

2021), pet. for allocatur denied, 263 A.3d 243 (Pa. 2021). Plaintiffs seek a

declaratory order and related injunctive relief that, in Pennsylvania, HUD is




                                          6
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obligated to respect the Cease decision and cannot threaten to withhold funding from

HAIC for its compliance with said decision.

      10.    Given that the various branches of government as well as a wide-swath

of federal agencies have treated state-compliant medical marijuana entities with

leniency and forgiveness, Plaintiffs further seek a declaratory order and related

injunctive relief that HUD’s continued application of QHWRA and the CSA so as

to prohibit Section 8 applicants that use medical marijuana in compliance with a

state-regulated medical marijuana program unconstitutionally discriminates, without

any rational basis, against low-income and disabled individuals.

      11.    Additionally, Plaintiffs seek a declaration that HUD is estopped from

re-litigating the same issues presented and ruled upon in a previous decision whereby

HUD’s interests were adequately represented by the HAIC, and in so doing grant

permanent injunctive relief to prevent HUD from de-funding the HAIC for said

reasons.

      12.    Finally, plaintiffs seek a declaratory order and related injunctive relief

that plaintiff HAIC is required under Pennsylvania law to afford Section 8

applicants, lawfully using medical marijuana pursuant to Pennsylvania Medical

Marijuana Act, 35 P.S. §10231.101, et seq. (“MMJ Act”) housing and that HAIC’s

funding cannot be stripped away in punishment for said compliance.




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      13.    This lawsuit does not intend or seek to re-classify, re-schedule, or de-

schedule marijuana under the CSA. If Plaintiffs prevail on one or more of its claims,

plaintiffs recognize and acknowledge that marijuana would still be considered a

Schedule I substance if or until either (i) Congress acts to change its classification

or (ii) the United States Attorney General re-classifies marijuana under the CSA.



                           PROCEDURAL HISTORY
      14.    In Cease, Pennsylvania courts have already ruled that, under the MMJ

Act, a Section 8 housing applicant’s admission cannot be prohibited if the applicant

is lawfully using medical marijuana. Instead, the HAIC – the local entity that

administers the federal funding disbursed by HUD for the Section 8 housing program

and was a party to the Cease decision – was required to “establish fair and reasonable

standards for determining in what circumstances admission to Section 8 housing is

prohibited for an applicant who is legally using medical marijuana under state law”

and was ordered to apply those standards to plaintiff Mary Cease’s case. Cease, 247

A.3d at 65. A copy of the Cease decision is attached hereto as Exhibit 2.

      15.    During and subsequent to the Cease decision, HUD made it clear to

Plaintiff HAIC, the appellee housing authority in the Cease case, that compliance

with the Commonwealth Court’s decision would result in the withholding of all

federal funds to the HAIC, the primary source of the HAIC’s funding.


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      16.    As a result of HUD’s disregard of the Cease decision and its threats to

withhold federal funds from the HAIC, the HAIC is left to choose between

complying with HUD’s requirements and continuing to deny lawful medical

marijuana patients with housing so that the HAIC may maintain funding, or

providing low income medical marijuana patients with much needed housing

pursuant to a valid court order.

      17.    Complying with HUD’s requirements will violate an Order of the

Pennsylvania Commonwealth Court, will result in a finding of contempt, will subject

HAIC to significant monetary penalties for being in contempt of a court order and

will result in continuous and costly litigation every time a medical marijuana patient

is denied housing pursuant to HUD guidelines on medical marijuana usage (while

low-income patients remain unhoused).

      18.    Admitting medical marijuana patients, who are otherwise eligible

except for HUD’s prohibition of medical marijuana, into Section 8 housing risks

HUD following through with their threat to withhold funding, which jeopardizes the

housing status of not only Cease and Bloch, but also every tenant of Section 8

housing in Indiana County, Pennsylvania.

      19.    Accordingly, plaintiffs bring this lawsuit to end HUD’s disparate

treatment of the most vulnerable in our population and to seek declarations that

federalism mandates HUD respect the Cease decision, that applicable federal law


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does not require an applicant’s denial to a Section 8 housing program, and that under

Pennsylvania state law, Section 8 Housing Program applicants legally using medical

marijuana are entitled to reasonable accommodations; additionally, plaintiffs seek

permanent injunctive relief to prevent HUD from withholding federal funds on the

basis of the HAIC’s compliance with state law.

                                 JURISDICTION
      20.    Jurisdiction is proper in this Court pursuant to 28 U.S.C. §1331 (federal

question) and 28 U.S.C. §1343 (civil rights actions) as this case concerns a violation

of the United States Constitution and various federal laws.

      21.    Venue is properly vested in the District Court for the Western District

of Pennsylvania pursuant to 28 U.S.C. §1391(e) because defendant HUD is a federal

agency and defendant Fudge is an officer of the United States acting in her official

capacity, and because a substantial part of the events or omissions giving rise to the

claims occurred within the court’s jurisdiction.

      22.    This Court can grant declaratory and injunctive relief under 28 U.S.C.

§2201 (declaratory judgment) and 28 U.S.C §2202 (injunctive relief) for violations

of the Fifth Amendment to the U.S. Constitution and various federal laws. This Court

also has jurisdiction to hear any state claims related to the same set of facts

underpinning Plaintiffs’ federal claims. 28 U.S.C. §1367.




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                                     PARTIES
        23.   Plaintiff Sara Bloch is a single parent, low-income, disabled

Pennsylvania resident who was denied admission into the HAIC-administered

Section 8 Housing Program based solely on her voluntary disclosure to the HAIC

that she lawfully used medical marijuana under Pennsylvania’s MMJ Act.

        24.   Plaintiff Mary Cease is a veteran, domestic abuse survivor, certified-

disabled, and low-income Pennsylvania resident who, in 2018, sought admission

into the HAIC-administered Section 8 Housing Program but was denied admittance

based solely on her voluntary disclosure to the HAIC that she lawfully used medical

marijuana under the MMJ Act. Ms. Cease was the named appellant in the Cease

case.

        25.   Plaintiff HAIC is a duly Pennsylvania registered residential finance

authority created pursuant to the Pennsylvania Housing Authorities Law, 35 P.S.

§1544, and is the entity responsible for administering all federal Section 8 housing

funding for Indiana County, Pennsylvania. The HAIC was the named appellee in the

Cease case, and, pursuant to said decision, is required to “establish fair and

reasonable standards for determining in what circumstances admission to Section 8

housing is prohibited for an applicant who is legally using medical marijuana under

state law” but the HAIC has failed to do so because of defendant HUD’s threats to

cut off all federal funding for Indiana County’s Section 8 Housing Program.


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      26.    Defendant HUD is an executive federal agency that is purportedly

“focused on housing and community development and dedicated to equity, inclusive

communities, and quality, affordable homes for all.” As part of its first strategic goal,

HUD allegedly seeks to “[f]ortify support for vulnerable populations, underserved

communities, and Fair Housing enforcement.” As part of its second strategic goal,

HUD allegedly seeks to “[i]mprove rental assistance to address the need for

affordable housing.” 1 Part of HUD’s responsibilities include managing and

disbursing to housing authorities congressional appropriations for low-income

housing, including the funding for what is commonly referred to as the Section 8

housing program.       HUD’s mission statement includes the goal of building

“communities free from discrimination.”2

      27.    Defendant Marcia Fudge was appointed by President Biden in 2021 to

serve as the Secretary of HUD and in that role Secretary Fudge leads, manages, and

otherwise oversees the establishment and implementation of HUD policies and

programs.




1
       FY 2022-2026 HUD Strategic Plan, www.hud.gov/HUD-FY22-26-Strategic-
Plan-Focus-Areas (last accessed Jan. 8, 2024).
2
       Available at
https://www.hud.gov/program_offices/cfo/afr/section1#:~:text=The%20core%20fo
cus%20of%20HUD's,communities%20free%20from%20discrimination%3B%
(Last accessed Jan. 8, 2024).
                                           12
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      28.    Through a January 31, 2022 letter from her Deputy Assistant Secretary,

Danielle Bastarache, Secretary Fudge reiterated her position to deny housing to new

applicants who legally use medical marijuana under state law. A copy of the January

31, 2022 letter is attached hereto as Exhibit 3.

                           FACTUAL BACKGROUND

The Section 8 Housing Program
      29.    “It is the policy of the United States … to assist States and political

subdivisions of States to remedy the unsafe housing conditions and the acute

shortage of decent and safe dwellings for low-income families [and] … to address

the shortage of housing affordable to low-income families.” 42 U.S.C.

§1437(a)(1)(A)-(B).

      30.    In passing QHWRA it was the intent of Congress to vest in “public

housing agencies the maximum feasible authority, discretion, and control” and to

deregulat[e] and decontrol[] public housing agencies” in order to make the Section

8 housing program more successful. 42 U.S.C. §1437(a)(1)(C).

      31.    Today, the largest federal housing assistance program is the Housing

Choice Voucher program, commonly referred to as “Section 8” housing. See 42




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U.S.C. §1437f(o).3 This Program is federally administered by HUD with each state

being responsible for its implementation.

      32.   Admission into the Section 8 housing program is open only to citizens

and certain non-citizen families who are income-eligible under HUD’s regulations.

24 C.F.R. §982.201(a).

      33.   To satisfy the income eligibility requirement for admission into the

Section 8 housing program a family must qualify as being a “very low” or

“extremely low” income family. 24 C.F.R. §982.201(b).

      34.   For purposes of the Section 8 housing program, the term “very low-

income family” is defined as a family whose annual income does not exceed 50% of

the median income for the area. 24 C.F.R. §5.603.

      35.   HUD’s definition of “very low-income families” is defined as follows:

            A family whose annual income does not exceed 50 percent
            of the median family income for the area, as determined
            by HUD with adjustments for smaller and larger families,
            except that HUD may establish income ceilings higher or
            lower than 50 percent of the median income for the area if
            HUD finds that such variations are necessary because of
            unusually high or low family incomes.
      Id.


3
       Roger Valdez, Series: A Brief History of the Section 8 Housing Voucher
Program,              www.FORBES.com                    available                at
https://www.forbes.com/sites/rogervaldez/2023/02/09/series-a-brief-history-of-the-
section-8-housing-voucher-program/?sh=257202db511f (last accessed Jan. 8,
2024).
                                        14
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      36.    For purposes of the Section 8 housing program, the term “extremely

low-income family” is defined as a family whose annual income does not exceed the

higher of the poverty limit applicable to the family’s size or 30% of the median

income for the area. Id.

      37.    HUD’s definition of “extremely low-income families” is defined as

follows,

             A very low-income family whose annual income does not
             exceed the higher of:
                 (1) The poverty guidelines established by the
                    Department of Health and Human Services
                    applicable to the family of the size involved (except
                    in the case of families living in Puerto Rico or any
                    other territory or possession of the United States);
                    or
                 (2) Thirty (30) percent of the median income for the
                    area, as determined by HUD, with adjustments for
                    smaller and larger families, except that HUD may
                    establish income ceilings higher or lower than 30
                    percent of the area median income for the area if
                    HUD finds that such variations are necessary
                    because of unusually high or low family incomes.
      Id.

      38.    To qualify as a “very low-income family” or an “extremely low-income

family” in Pennsylvania, under HUD guidelines, a family must meet the following

income eligibility criteria:




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      See HUD’s FY 2023 Income Limits Documentation System, Pennsylvania
      State Income Limits. 4

      39.    To qualify as a “very low-income family” or an “extremely low-income

family” in Indiana County, Pennsylvania, under HUD guidelines, a family must meet

the following income eligibility criteria:




4
       Available at
https://www.huduser.gov/portal/datasets/il/il2023/2023summary.odn?inputname=S
TTLT*4299999999%2BPennsylvania&selection_type=county&stname=Pennsylva
nia&statefp=42.0&year=2023 (last accessed Jan. 8, 2024).
                                             16
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      See HUD’s FY 2023 Income Limits Documentation System, Indiana County,
      Pennsylvania Income Limits.5

      40.   In addition to the income eligibility component, Section 8 applicants

must comply with QHWRA, 42 U.S.C. §§13661-13664, insofar as it sets forth

applicant screening and tenancy termination requirements related to safety and

security in public and federally assisted housing programs.

      41.   Section 13661(b)(1)(A) of QHWRA (Screening of applicants for

federally assisted housing) provides:




5
       Available at
https://www.huduser.gov/portal/datasets/il/il2023/2023summary.odn?STATES=42.
0&INPUTNAME=NCNTY42063N42063*4206399999%2BIndiana+County&stat
elist=&stname=Pennsylvania&wherefrom=%24wherefrom%24&statefp=42&year
=2023&ne_flag=&selection_type=county&incpath=%24incpath%24&data=2023&
SubmitButton=View+County+Calculations (last accessed Jan. 8, 2024).
                                        17
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             (b) INELIGIBILITY OF ILLEGAL DRUG USERS AND ALCOHOL ABUSERS
                (1) IN GENERAL
                Notwithstanding any other provision of law, a public housing
                agency or an owner of federally assisted housing, as determined by
                the Secretary, shall establish standards that prohibit admission to the
                program or admission to federally assisted housing for any
                household with a member—
                   (A) who the public housing agency or owner determines is
                      illegally using a controlled substance …
      42 U.S.C. §13661(b)(1)(A) (emphasis added).

      42.    Section 13662(a)(1) of QHWRA (Termination of tenancy and

assistance for illegal drug users and alcohol abusers in federally assisted housing)

provides:

             (a) IN GENERAL
                  Notwithstanding any other provision of law, a public housing
                  agency or an owner of federally assisted housing (as applicable),
                  shall establish standards or lease provisions for continued
                  assistance or occupancy in federally assisted housing that allow
                  the agency or owner (as applicable) to terminate the tenancy or
                  assistance for any household with a member—
                       (1) who the public housing agency or owner determines is
                           illegally using a controlled substance …
42 U.S.C. §13662(a)(1) (emphasis added).

      43.    QHWRA does not disqualify applicants for their use of a controlled

substance; rather, QHWRA only disqualifies Section 8 housing applicants if they

“illegally” use a controlled substance.




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Current Federal and State Treatment of Marijuana
      44.    In 1970, the U.S. Congress signed into law the CSA, 21 U.S.C. §§801,

et seq., wherein it scheduled “marihuana” as a Schedule I drug where a drug on

Schedule I was defined as having a high potential for abuse, no currently accepted

medical use, and a lack of accepted safety for its use under medical supervision. 21

U.S.C. §812(b)-(c).

      45.    Today,    marijuana    and    tetrahydrocannabinols     (e.g.,   Delta-9

tetrahydrocannabinol or THC) remain Schedule I substances under the CSA.

      46.    Other drugs listed on Schedule I of the CSA include heroin, Lysergic

Acid Diethylamide (LSD), and ecstasy.

      47.    Pursuant to the Tenth Amendment of the U.S. Constitution and in

contravention of the CSA, California in 1996, was the first state to decriminalize and

legalize marijuana for medicinal purposes.

      48.    On April 21, 1999, the DHHS filed for a U.S. Patent on “Cannabinoids

As Antioxidants and Neuroprotectants” wherein the patent application states, in part,

“[c]annabinoids have been found to have antioxidant properties … [t]his new found

property makes cannabinoids useful in the treatment and prophylaxis of wide variety

of oxidation associated diseases, such as ischemic, age-related inflammatory and

autoimmune diseases.” A copy of the patent application approval is attached hereto

as Exhibit 4. On October 7, 2003, the United States Patent and Trademark Office


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(“USPTO”) issued a patent, Patent No. US 6,630,507 wherein the USPTO, a

function of the federal government, determined that marijuana possesses medical

health benefits.

      49.    “Cannabinoids” are a class of biological compounds most frequently

sourced from and associated with cannabis plants, the scientific term for marijuana,

and create a medical benefit by binding to cannabinoid receptors found in the human

brain.6 The most common cannabinoids are THC and CBD.

      50.    By 2009, thirteen states – California, Alaska, Nevada, Oregon,

Washington, Maine, Colorado, Hawaii, Montana, Vermont, Rhode Island, New

Mexico, and Michigan – had legalized marijuana at the state level for medical use.

      51.    Despite marijuana still being considered a Schedule I substance, on

October 19, 2009, U.S. Deputy Attorney General David W. Ogden of the DOJ issued

a memorandum (“Ogden Memo”) to United States Attorneys providing, in part:

             As a general matter, pursuit of these priorities should not
             focus federal resources in your States on individuals
             whose actions are in clear and unambiguous compliance
             with existing state laws providing for the medical use of
             marijuana. For example, prosecution of individuals with
             cancer or other serious illnesses who use marijuana as part
             of a recommended treatment regimen consistent with
             applicable state law, or those caregivers in clear and

6
       Natl. Health Institute, National Library of Medicine: Cannabinoids, last
updated           Feb.            27,          2023        available         at
https://www.ncbi.nlm.nih.gov/books/NBK556062/#:~:text=Cannabinoids%2C%20
broadly%20speaking%2C%20are%20a,Cannabis%20indica%2C%20and%20Cann
abis%20ruderalis. (last visited Jan. 8, 2024).
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             unambiguous compliance with existing state law who
             provide such individuals with marijuana, is unlikely to be
             an efficient use of limited federal resources. On the other
             hand, prosecution of commercial enterprises that
             unlawfully market and sell marijuana for profit continues
             to be an enforcement priority of the Department.
      Ogden Memo at 1-2; a copy of the Ogden Memo is attached hereto as Exhibit
      5.

      52.    Between 2009 and 2013, an additional seven states – Arizona, New

Jersey, Delaware, Connecticut, Massachusetts, Illinois, Maryland, and New

Hampshire – and the District of Columbia enacted state laws that legalized medical

marijuana for certain residents within their state’s respective jurisdictions.

      53.    On July 10, 2012, the USDA issued a memo, “Medical Deductions—

Medical Marijuana and Other Illegal Substances”, that instructed that medical

marijuana costs may not be deducted as “allowable medical expenses” in calculating

a household’s eligibility to receive federal Supplemental Nutrition Assistance

Program (SNAP) benefits; but said memo did not disqualify households from

receiving SNAP benefits because of medical marijuana usage. A copy of the memo

is attached hereto as Exhibit 6.

      54.    On August 29, 2013, U.S. Deputy Attorney General James M. Cole of

the DOJ issued a memorandum (“Cole Memo”) setting forth updated guidance

reiterating the Ogden Memo and the DOJ’s restraint concerning marijuana

enforcement by the federal government and therein provided in part:


                                          21
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             In jurisdictions that have enacted laws legalizing
             marijuana in some form and that have also implemented
             strong and effective regulatory and enforcement systems
             to control the cultivation, distribution, sale, and possession
             of marijuana, conduct in compliance with those laws and
             regulations is less likely to threaten the federal priorities
             set forth above … In those circumstances, consistent with
             the traditional allocation of federal-state efforts in this
             area, enforcement of state law by state and local law
             enforcement and regulatory bodies should remain the
             primary means of addressing marijuana-related activity.
      Cole Memo at 3 (emphasis added); a copy of the Cole Memo is attached hereto
      as Exhibit 7.

      55.    The Cole Memo highlights the federal government's conviction that

marijuana can be used safely under medical supervision when that usage is overseen

by state law enforcement and regulatory bodies as it is in Pennsylvania and its

commitment not to prosecute entities or persons producing, selling and/or using

cannabis in compliance with state laws.

      56.    In December 2014, Congress enacted a rider to an omnibus

appropriations bill commonly referred to as the Rohrbacher-Farr amendment which

prohibited the DOJ from using any appropriations provided thereby to prosecute the

use, distribution, possession, or cultivation of medical marijuana.

      57.    The Rohrbacher-Farr amendment provides:

             None of the funds made available in this Act to the
             Department of Justice may be used, with respect to the
             States of Alabama, Alaska, Arizona, California, Colorado,
             Connecticut, Delaware, District of Columbia, Florida,

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             Hawaii, Illinois, Iowa, Kentucky, Maine, Maryland,
             Massachusetts, Michigan, Minnesota, Mississippi,
             Missouri, Montana, Nevada, New Hampshire, New Jersey,
             New Mexico, New York, North Carolina, Oklahoma,
             Oregon, Rhode Island, South Carolina, Tennessee, Texas,
             Utah, Vermont, Virginia, Washington, and Wisconsin, to
             prevent such States from implementing their own State
             laws that authorize the use, distribution, possession or
             cultivation of medical marijuana.
      See Consolidated and Further Continuing Appropriations Act, 2015 Pub. L.
      No. 113-235, §538, 128 Stat. 2130, 2217 (2014).

      58.    The Rohrbacher-Farr amendment was extended, renewed, or re-

authorized in every subsequent year.

      59.    In 2017, the Rohrbacher-Farr amendment was updated to include

additional states and territories that had legalized medical marijuana specifically, the

2017 Rohrbacher-Farr amendment provides:

             None of the funds made available in this Act to the
             Department of Justice may be used, with respect to any of
             the States of Alabama, Alaska, Arkansas, Arizona,
             California, Colorado, Connecticut, Delaware, Florida,
             Georgia, Hawaii, Illinois, Iowa, Kentucky, Louisiana,
             Maine, Maryland, Massachusetts, Michigan, Minnesota,
             Mississippi, Missouri, Montana, Nevada, New
             Hampshire, New Jersey, New Mexico, New York, North
             Carolina, Ohio, Oklahoma, Oregon, Pennsylvania, Rhode
             Island, South Carolina, Tennessee, Texas, Utah, Vermont,
             Virginia, Washington, West Virginia, Wisconsin, and
             Wyoming, or with respect to the District of Columbia,
             Guam, or Puerto Rico, to prevent any of them from
             implementing their own laws that authorize the use,
             distribution, possession, or cultivation of medical
             marijuana.


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        See Consolidated Appropriations Act, 2017, Pub. L. No. 115-31, §537 (2017).

        60.   Between 2013 and 2018, an additional twelve states– Minnesota, New

York, Georgia, Louisiana, Arkansas, Florida, North Dakota, Ohio, Pennsylvania,

Iowa, West Virginia – enacted state laws that legalized medical marijuana in some

form.

        61.   On February 4, 2015, the then U.S. Surgeon General Vivek Murthy

stated in a CBS interview that “[w]e have some preliminary data showing that for

certain medical conditions and symptoms that marijuana can be helpful.” 7

        62.   Upon information and belief, the guidance contained in the Ogden and

Cole Memos remains the standard utilized by the DOJ today.

        63.   The Rohrbacher-Farr amendment is currently effective through

February 2, 2024.

        64.   On October 26, 2017, then President Trump declared the opioid crisis a

national public health emergency; that same day, then Acting Secretary of Health

Eric D. Hargan issued a Determination That a Public Health Emergency Exists

nationwide concerning the opioid crisis. A copy of the determination is attached

hereto as Exhibit 8.




7
      CBS Interview with U.S. Surgeon General Vivek Murthy, Feb. 4, 2015 at
4:24 – 4:32 https://www.cbsnews.com/news/surgeon-general-dr-vivek-murthy-on-
measles-vaccine-marijuana-legalization/ (last accessed Jan. 8, 2024).
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      65.    The DEA reports that “[n]o death from overdose of marijuana has been

reported.” See, Exh. 1.

      66.    In contrast to medical marijuana, in 2021 alone, there were nearly

17,000 deaths from opioid overdoses, (a category of drugs whose usage does not

automatically lead to the denial of Section 8 housing).8

      67.    In June 2018, the FDA approved Epidiolex, a pharmaceutical-grade,

marijuana-based cannabidiol (CBD) extract, to treat children suffering from Dravet

and Lennox-Gastaut Syndromes.

      68.    On July 28, 2023, the VA issued “VHA Directive 1315 which provides

that “[v]eterans must not be denied VHA services solely because they are

participating in a State-approved marijuana program or because they acknowledge

use of marijuana.” A copy of VHA Directive 1315 is attached hereto as Exhibit 9.

      69.    On or about August 30, 2023, the DHHS recommended to the U.S. DEA

that marijuana be re-scheduled to a Schedule III drug under the CSA.

      70.    Schedule III drugs and substances (i) have a potential for abuse less

than the drugs or other substances in Schedules I and II, (ii) have a currently accepted

medical use in treatment in the United States, and (iii) abuse of the substance may




8
      CDC, Opioid Overdose, https://www.cdc.gov/drugoverdose/deaths/opioid-
overdose.html (last accessed Jan. 8, 2024).
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lead to moderate or low physical dependence or high psychological dependence. 21

U.S.C. §812(b)(3).

      71.    Today, 44 states, three territories, plus the District of Columbia have

legalized medicinal marijuana in at least some form.

      72.    QHWRA references the CSA to define “a controlled substance” but

leaves to the public housing agency or owner to determine whether an applicant is

“illegally using” a controlled substance.

      73.    The QHWRA includes alcohol in section 13661(b) when it allows for

the public housing agency or owner to determine whether a member of the family of

an applicant’s “illegal use (or pattern of illegal use) of a controlled substance or

abuse (or pattern of abuse) of alcohol may interfere with the health, safety, or right

to peaceful enjoyment of the premises by other residents.” 42 U.S.C. §13661(b).

      74.    Conversely, the QHWRA leaves no discretion to the housing authority

or owner under Section 13661(a) where a tenant “shall not be eligible” for housing

if convicted of a drug-related criminal activity or under Section 13663(a) for sex

offenders where “an owner of federally assisted housing shall prohibit admission to

such housing for any household that includes any individual who is subject to a

lifetime registration requirement under a State sex offender registration program.”

42 U.S.C. §§13661(a), 13663(a) (emphasis added).




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Pennsylvania’s Medical Marijuana Act
      75.    In 2016, the General Assembly of Pennsylvania in a bi-partisan vote,

overwhelmingly passed, and former Governor Wolf enacted the MMJ Act, 35 P.S.

§§10231.101, et seq. In so doing, the Pennsylvania General Assembly agreed with

the FDA and other federal government agencies and specifically found and declared

that “[s]cientific evidence suggests that medical marijuana is one potential therapy

that may mitigate suffering in some patients and also enhance quality of life.” Id. at

§10231.102(1).

      76.    The MMJ Act, administered and overseen by the Pennsylvania

Department of Health (“Pa. DOH”), provides that patients suffering from serious

medical conditions as defined by law and who have been certified to use medical

marijuana by Pa. DOH-registered medical practitioners may lawfully use and

possess medical marijuana in accordance with the MMJ Act. Id. at §10231.303(a).

Conversely, Section 304 of the MMJ Act retains criminal liability for the use,

possession, manufacture, and sale of marijuana that is not in compliance with the

MMJ Act. Id. at §10231.304.

      77.    Section 2103 of the MMJ Act provides that a patient shall not be

“subject to arrest, prosecution or penalty in any manner, or denied any right or

privilege, including civil penalty or disciplinary action by a Commonwealth

licensing board or commission, solely for lawful use of medical marijuana … or for


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any other action taken in accordance with this act”. 35 P.S. §10231.2103(a).

(emphasis added).

      78.    On May 12, 2018, after former President Trump declared the opioid

epidemic to be a national public health emergency, the Pa. DOH amended its medical

marijuana regulations to add “[o]pioid use disorder for which conventional

therapeutic interventions are contraindicated or ineffective, or for which adjunctive

therapy is indicated in combination with primary therapeutic interventions” a

“serious medical condition” eligible to use medical marijuana as a therapeutic

medicine. A copy of the pertinent pages of Pa. DOH’s notice amending the

regulations is attached hereto as Exhibit 10.

      79.    Upon information and belief, the DOJ has not sought enforcement of

any federal criminal law against a Pennsylvania-certified, grower/processor,

dispensary, laboratory, patient or caregiver for purchasing, possessing, and/or using

medical marijuana in accordance with the MMJ Act.

Mary Cease and the Cease Decision
      80.    In 2018, Ms. Cease – an indigent, sixty-five-year-old, U.S. Navy

veteran, with no criminal record, fleeing domestic violence– filed for a family-of-

one admission into HAIC’s Section 8 Housing Program and, as part of her

application, voluntarily disclosed that she lawfully used medical marijuana under




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the MMJ Act as an alternative to opioids to treat PTSD and chronic pain – a result

of domestic violence and several back surgeries.

      81.    At the time she applied for admission to the HAIC-administered

Section 8 housing program in Indiana County, Pennsylvania, Ms. Cease had an

annual income of $11,516.67, and, therefore, she qualified for admission to the

Section 8 housing program as an extremely low-income family of one.

      82.    Today, Ms. Cease’s annual income of $11,472.00 would still qualify her

as an extremely low-income family of one under HUD’s formulations for Indiana

County.

      83.    In June of 2018, the HAIC denied Ms. Cease’s application for

admission stating, “[w]e must deny program participation as marijuana is still

considered to be an illegal substance by the Federal government …” A copy of the

June 13, 2018 denial letter is attached hereto as Exhibit 11.

      84.    But for Ms. Cease’s lawful use of medical marijuana under state law,

she qualified for admission into the HAIC-administered Section 8 Housing Program.

      85.    In accordance with HUD’s and the HAIC’s policies and procedures,

Ms. Cease participated in an “informal” and “formal” hearing before the HAIC

wherein the HAIC affirmed her denial; Ms. Cease then sought review of the HAIC’s

decision by the Court of Common Pleas for Indiana County (“Trial Court”) pursuant




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to the Pennsylvania Local Agency Law, 2 Pa.C.S. §752, challenging the HAIC’s

denial; the Trial Court affirmed the HAIC’s denial.

      86.    On April 26, 2019, Ms. Cease timely filed an appeal of the Trial Court’s

decision to the Pennsylvania Commonwealth Court, one of Pennsylvania’s

intermediate appellate courts with exclusive jurisdiction to hear cases involving

government entities such as the HAIC.

      87.    On February 19, 2021, the Commonwealth Court issued its opinion that

found that the HAIC, contrary to the Trial Court’s decision, was not required to

prohibit Ms. Cease’s admission under QHWRA but rather the HAIC was required to

exercise its discretion to determine the eligibility of an applicant that is lawfully

using medical marijuana pursuant to the MMJ Act. Specifically, the Commonwealth

Court found that: (1) there is a distinction between the express language of Section

13661(b)(1)(A) of the QHWRA that provides the HAIC “shall establish standards

that prohibit admission to the program” versus the HAIC’s proffered reading that the

QHWRA “shall prohibit admission”; (2) Section 13661(b)(1)(A)’s “illegally using

a controlled substance” language is ambiguous in situations such as this, where

marijuana is illegal under federal law but legal under state law; (3) that criminal law

is a matter left primarily for the states to determine within their own jurisdiction and

federalism dictates the federal government must respect Pennsylvania’s sovereignty

in this respect, and, with respect to marijuana, Pennsylvania decriminalized and


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legalized medical marijuana under the MMJ Act; and (4) that Pennsylvania’s

General Assembly expressly declared that there is scientific evidence that suggests

marijuana has acceptable medical uses, thus rendering Section 13661 of the

QHWRA obsolete and scientifically flawed. See Exh. 2; Cease, 247 A.3d at 62-64.

      88.    The Commonwealth Court held that the HAIC is required to “establish

fair and reasonable standards for determining in what circumstances admission to

Section 8 housing is prohibited for an applicant who is legally using medical

marijuana under state law”. Id. at 65.

      89.    The Commonwealth Court even provided the types of standards that

should be considered, including: whether it is clearly unlawful or in an unclear legal

state such as that involved here; the reason for such use; whether it is being used in

accordance with legal requirements; other factors concerning the applicant’s

background, including behavior during any prior residence in federally subsidized

housing; and the presence or absence of any prior criminal record. Id. at 62.

Following the Commonwealth Court’s decision, the HAIC sought further review by

the Pennsylvania Supreme Court, but the Supreme Court declined to review the

Cease decision, thus rendering the Commonwealth Court’s decision in Cease the

law of the land in Pennsylvania.

      90.    HUD was notified and aware of the Cease litigation and the arguments

the HAIC was presenting in its defense of its denial of Ms. Cease.


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      91.   At no time during the Cease case did HUD seek to intervene in the

proceedings, nor did it seek to remove the case to federal court, nor did it seek to

pursue federal appellate review of the Cease decision.

      92.   Following the Cease decision and the Pennsylvania Supreme Court’s

declination to hear the HAIC’s appeal, the HAIC conferred with HUD for guidance

as to how the HAIC should comply with the Pennsylvania state court decision and

specifically what standards the HAIC should impose upon new applicants to the

Section 8 Housing Program vis-à-vis lawful use of marijuana under the MMJ Act.

HUD advised the HAIC that if the HAIC complied with the Cease decision, no

matter the standards that the HAIC may impose, HUD would cut off all federal

funding to the HAIC.

      93.   As a result of HUD’s threats, the HAIC has failed to comply with the

Cease decision.

      94.   The HAIC has not and will not create and implement fair and

reasonable standards in compliance with the Cease decision unless and until the

HAIC obtains clarity that complying with the valid Pennsylvania state court decision

will not result in the cessation of federal funding by HUD.

Sara Bloch’s admission denial
      95.   In 2023, Ms. Bloch, an indigent single mother who is lawfully using

medical marijuana under the MMJ Act, submitted an application with the HAIC for


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admission to the HAIC-administered Section 8 housing program in Indiana County,

Pennsylvania.

      96.    Ms. Bloch’s annual income is $24,423 qualifying her as a very-low-

income family of two.

      97.    On March 29, 2023, the HAIC denied Ms. Bloch’s admittance into the

Section 8 Housing Program solely based on her use of medical marijuana.

Specifically, the denial stated:

             Your application included a letter from Rebecca Lang,
             CCM, which indicated that you currently use MMJ (a
             common acronym for medical marijuana) for chronic pain.
             Pursuant to the Housing Authority’s Rules and Regulation
             and guidelines promulgated by the United States
             Department of Housing and Urban Development (HUD),
             a new applicant is prohibited admission into the Section 8
             program if the applicant is currently a user of a Schedule
             1 controlled substance under federal law.
      A copy of the HAIC’s March 29, 2023 denial letter is attached hereto as
      Exhibit 12.

      98.    In denying Ms. Bloch’s admission, the HAIC did not apply fair and

reasonable standards to ascertain whether her admission should be denied but instead

relied on HUD’s policy memorandum and threats to cut off funding.




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                        COUNT I
                  DECLARATORY ORDER
          QHWRA DOES NOT REQUIRE ADMISSION BE
   DENIED FOR THOSE LAWFULLY USING MEDICAL MARIJUANA

      99.    Plaintiffs incorporate paragraphs 1-98 as if fully set forth herein.

      100. To be eligible for admission into a Section 8 housing program, an

applicant must meet the income eligibility requirements and the requirements

imposed by the QHWRA.

      101. Section 13661 of QHWRA provides, in relevant part:

             (b) INELIGIBILITY OF ILLEGAL DRUG USERS AND ALCOHOL ABUSERS
                (1) IN GENERAL
                Notwithstanding any other provision of law, a public housing
                agency or an owner of federally assisted housing, as determined by
                the Secretary, shall establish standards that prohibit admission to the
                program or admission to federally assisted housing for any
                household with a member—
                   (A) who the public housing agency or owner determines is
                      illegally using a controlled substance …
      42 U.S.C. §13661(b)(1)(A) (emphasis added).

      102. QHWRA allows the housing authority or owners to establish criteria

under which an applicant could be prohibited admission if such applicant is “illegally

using” a controlled substance.

      103. There is a distinction between “illegally using a controlled substance”

and “using an illegal substance”.




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      104. QHWRA’s prohibition focuses on whether the use is illegal, not on

whether the substance is illegal.

      105. Ms. Bloch and Ms. Cease are lawfully – not illegally – using medical

marijuana, a controlled substance.

      106. Even if the federal government, in the face of its own contradictory

actions, continues to determine that medical marijuana is “illegal”, Section 13661 of

QHWRA does not expressly require prohibition for applicants illegally using a

controlled substance”; rather, QHWRA requires only that the housing authority

“establish standards that prohibit admission”.

      107. In contrast, Section 13663 of QHWRA (Ineligibility of dangerous sex

offenders for admission to public housing) provides, in relevant part:

             (a)   IN GENERAL
                   Notwithstanding any other provision of law, an
                   owner of federally assisted housing shall prohibit
                   admission to such housing for any household that
                   includes any individual who is subject to a lifetime
                   registration requirement under a State sex offender
                   registration program.
      42 U.S.C. §13663(a). (emphasis added).
      108. Section 13661’s requirement that a housing authority “establish

standards that prohibit admission” rather than outright prohibiting admission stands

in stark contrast to the express prohibition found in Section 13663 relating to sex

offenders.



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      109. In enacting QHWRA, Congress elected to use different words in

Sections 13661(a), 13661(b) and 13663(a).

      110. The deployment of different words indicate that Congress’ intent for the

prohibition of drug-related criminal activity and for sexual offenders was absolute,

while prohibition for “illegally using” a controlled substance is subject to the

discretion of the housing authority’s establishment of standards.

      111. Only a guidance memo issued by HUD, which lacks the authority of

law, prohibits admission of medical marijuana users.

      112. Congress’ intent, derived from the plain language of QHWRA, makes

clear that QHWRA does not require housing authorities to deny a Section 8 applicant

who is using medical marijuana in compliance with state law.

      WHEREFORE, Plaintiffs respectfully request this Court (i) issue an order

declaring that the Quality Housing and Work Responsibility Act does not require the

HAIC and other housing authorities administering Section 8 funding to deny

admission to applicants lawfully using medical marijuana in accordance with state

law (ii) issue a permanent injunction prohibiting HUD and Secretary Fudge from

mandating that housing authorities that receive Section 8 funding automatically deny

the admission of an applicant that lawfully uses medical marijuana under state law

and (iii) issue a permanent injunction prohibiting HUD from withdrawing funding



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from HAIC for establishing standards for admission to housing for low-income

persons legally using medical marijuana in Pennsylvania.

                          COUNT II
                  DECLARATORY JUDGMENT
       HUD HAS VIOLATED THE EQUAL PROTECTION CLAUSE

      113. Plaintiffs incorporate paragraphs 1-112 as if fully set forth herein.

      114. The Due Process Clause of the Fifth Amendment provides that “No

person shall be … deprived of life, liberty, or property, without due process of law”.

U.S. CONST. amend. V.

      115. The Fifth Amendment “forbids the Federal Government to deny equal

protection of the laws.” Davis v. Passman, 442 U.S. 228, 234 (1979).

      116. The United States Supreme Court’s “approach to Fifth Amendment

equal protection claims has always been precisely the same as to equal protection

claims under the Fourteenth Amendment.” Weinberger v. Wiesenfeld, 420 U.S. 636,

636 n. 2 (1975).

      117. “Proof of … discriminatory intent or purpose is required to show a

violation of the equal protection clause. Village of Arlington Heights v. Metro.

Housing Dev. Corp., 429 U.S. 252, 265 (1977).

      118. Evidence of discriminatory intent or purpose may be demonstrated by

several factors including, but not limited to, the “historical background of the

decision”; “the specific sequence of events leading up to the challenged decision”;

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whether there were “[d]epartures from the normal procedural sequence [or

s]ubstantive departures”; or “[t]he legislative or administrative history may be highly

relevant”. Id. at 267-268.

      119. The CSA makes the manufacturing, distributing, and possession of

marijuana illegal because it allegedly has a high potential for abuse, has no accepted

medical use, and cannot be used safely even under medical supervision.

      120. In contradiction to the criteria a drug must meet in order to be on

Schedule I of the CSA, the federal government has acknowledged that marijuana has

medical benefits; can be safely used under medical supervision overseen by the

states; and does not have a high potential for abuse in that its use has not led to a

single overdose death.

      121. The federal government has approved patent applications on the

premise that marijuana provides medical benefits.

      122. The federal government has approved a pharmaceutical medication

derived from marijuana.

      123. The federal government has instructed federal law enforcement to

refrain from enforcing federal law against medical marijuana operators acting in

compliance with state law.




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      124. The federal government has enacted budgetary restrictions to prohibit

federal law enforcement from enforcing federal law against medical marijuana

operators acting in compliance with state law.

      125. The federal government has elected not to enforce the CSA against

state-compliant medical marijuana growers, processors, and dispensaries.

      126. Upon information and belief, with the exception of HUD, the federal

government has not enforced the CSA against medical marijuana grower/processors,

dispensaries, laboratories, healthcare institutions, or patients provided such use of

medical marijuana complies with state medical marijuana laws.

      127. Medical marijuana users who use medical marijuana in compliance

with state law and do not seek federally assisted housing from HUD are not

penalized for their lawful use of medical marijuana in their pursuit of securing safe,

quality, and affordable housing.

      128. Medical marijuana users that use medical marijuana in compliance with

state law are not disqualified from federal benefits such as medical coverage under

the Department of Veteran Affairs or eligibility for SNAP benefits.

      129. The only federal agency still punishing persons for using medical

marijuana in compliance with state laws, and doing so inconsistently, is HUD in its

harsh discrimination of low-income individuals, like Ms. Cease and Ms. Bloch, who




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dare to seek affordable housing and relief from their serious medical conditions

without turning to highly addictive and dangerous opioids.

      130. Ms. Cease has no criminal record whatsoever and is a low-income

veteran suffering from chronic pain and post-traumatic stress disorder caused by

domestic violence. Ms. Cease chose to legally take marijuana in lieu of opioids.

      131. Ms. Cease has been certified by her Pennsylvania-licensed physicians

as disabled and unable to work as a result of her suffering from her medical

conditions.

      132. Ms. Cease lawfully uses medical marijuana under the Pennsylvania

MMJ Act.

      133. Ms. Cease met the income eligibility requirements to be admitted into

the HAIC’s Section 8 housing program in Indiana County, Pennsylvania.

      134. Ms. Cease’s admission into the HAIC's Section 8 housing program was

denied due to her lawful use of medical marijuana under state law.

      135. Ms. Bloch has never been convicted of a drug-related crime of any kind

and is a low-income, single parent who suffers from chronic pain due to psoriatic

arthritis and PTSD.

      136. In April 2022, the Pennsylvania Department of Labor & Industry,

Office of Vocational Rehabilitation determined that Ms. Bloch was an individual




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“with Significant Disabilities”. A copy of the Department of Labor and Industry’s

April 2022 determination is attached hereto as Exhibit 13.

      137. In 2019, Ms. Bloch was certified by her Pennsylvania-licensed doctors

to use medical marijuana under Pennsylvania’s MMJ Act to treat the symptoms of

her medical conditions.

      138. Ms. Bloch lawfully uses medical marijuana under the Pennsylvania

MMJ Act.

      139. On March 29, 2023 Ms. Bloch’s application to the HAIC’s Section 8

housing program was denied on the basis that she was “currently a user of a Schedule

1 controlled substance under federal law.”

      140. The HAIC is responsible for implementing and enforcing HUD’s

policies, guidelines, and regulations.

      141. The HAIC denied both Ms. Cease’s and Ms. Bloch’s applications

because HUD policy required the HAIC to deny any Section 8 applicant who uses

medical marijuana regardless of whether that applicant’s use is in full compliance

with state law.

      142. Income-Based Discrimination. In light of the federal government’s

decisions over the past 15-plus years to tolerate, accept, and/or prohibit enforcement

of the CSA with regard to medical marijuana, including multiple agencies adopting

policies that explicitly reject disqualification of lawful medical marijuana users,


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HUD’s continued enforcement of the CSA premised on QHWRA evinces an intent

to discriminate against low-income individuals like Ms. Bloch and Ms. Cease.

      143. The impact of HUD’s manner of enforcement of the CSA – to preclude

admission into Section 8 housing programs – treats low-income Pennsylvania

residents differently than more affluent residents because, under the federal

government’s actions, the more affluent residents are not and cannot be penalized by

the federal government for lawfully using medical marijuana.

      144. Given that the President and Congress have enacted spending

restrictions against pursuing criminal liability for medical marijuana operations and

users whose actions comply with comprehensive state-regulated industries, there is

no legitimate purpose or rational basis for HUD’s misapplied enforcement of the

CSA against low-income individuals seeking housing that are lawfully using medical

marijuana under state law.

      145. Disability-Based Discrimination. In light of the federal government’s

decisions over the past 15-plus years to tolerate, accept, and/or prohibit enforcement

of the CSA with regards to medical marijuana, including multiple agencies adopting

policies that explicitly reject disqualification of lawful medical marijuana users,

HUD’s continued erroneous application of the CSA to Section 8 housing applicants

evinces an intent to discriminate against disabled individuals like Ms. Bloch and Ms.

Cease.


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      146. The impact of HUD’s enforcement of the CSA – to preclude admission

into Section 8 housing programs – treats individuals with serious medical conditions

that qualify them to use medical marijuana under the Pennsylvania MMJ Act

differently than individuals not using medical marijuana under state law because

individuals that are ineligible to use medical marijuana may be admitted to Section

8 housing programs while medical marijuana eligible applicants are not.

      147. Given that the President and Congress have enacted spending

restrictions to stop prosecution of medical marijuana growers, processors, retailers,

and users that comply with state laws, there is no legitimate purpose or rational basis

for HUD to enforce the CSA in a way that discriminates against disabled individuals

that are simply seeking affordable housing and who are lawfully using medical

marijuana under state law.

      148. There is no rational basis for HUD to enforce the CSA against low-

income and disabled Section 8 housing applicants when the majority of the federal

government has acknowledged that medical marijuana no longer meets the

qualifications to be characterized as a Schedule I substance.

      149. Plaintiffs have no remedy at law to stop HUD’s application of the CSA

or its treatment of low-income and disabled individuals seeking housing and medical

marijuana treatment.




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      150. By reason of the foregoing, Plaintiffs are entitled to issuance of an order

and judgment: (i) permanently enjoining HUD from barring Section 8 housing

applicants who legally use medical marijuana under state laws and (ii) declaring that

HUD’s enforcement of the CSA violates the equal protection clause of the Fifth

Amendment as it discriminates against low-income and disabled individuals using

medical marijuana to treat serious medical conditions. Such an order is necessary

because HUD’s continued enforcement against such housing applicants, in light of

the remainder of the federal government’s restraint from enforcing drug laws against

lawful medical marijuana businesses and users, is irrational, arbitrary, capricious,

and not rationally related to any legitimated governmental interests, and, thus, is

unconstitutional.

      WHEREFORE, Plaintiffs respectfully request that this Court (i) issue an order

declaring that HUD’s manner of applying the Controlled Substances Act to the

Quality Housing and Work Responsibility Act violates the Equal Protection Clause

of the Fourteenth Amendment and (ii) issue a permanent injunction prohibiting

HUD’s and Secretary Fudge’s continued method of enforcement.




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                                COUNT III
                        DECLARATORY JUDGMENT
                     VALIDITY OF THE CEASE DECISION

      151. Plaintiffs incorporate paragraphs 1-150 as if fully set forth herein.

      152. “We start with the premise that nothing in the concept of our federal

system prevents state courts from enforcing rights created by federal law.” Charles

Dowd Box Co. v. Courtney, 368 U.S. 502, 522 (1962).

      153. “Absent proof of prejudice or abuse of discretion, the state courts must

be presumed to act in good faith and with judicial wisdom”. Silverman v. Browning,

414 F. Supp. 80, 88 (D. Conn. 1976), aff’d 429 U.S. 876 (1976).

      154. The Pennsylvania Commonwealth Court’s decision in Cease, is a valid

state court decision that pronounces the law in Pennsylvania and, thus, HAIC is

required to abide by it.

      155. The HAIC is considered a local government agency.

      156. Under Pennsylvania law, the denial of admission into a Section 8

housing program, including any appeal before the housing authority that issued the

denial, is considered an adjudication under the Local Agency Law, 2 Pa. C.S. §752,

and, accordingly, the Courts of Common Pleas are the first level of appellate review.

      157. In 2018, Ms. Cease properly appealed the adjudication issued by the

HAIC to the Indiana County Court of Common Pleas, which ultimately affirmed her

denial into the HAIC’s Section 8 housing program.


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      158. Under Pennsylvania law, “the Commonwealth Court shall have

exclusive jurisdiction of appeals from final orders of the courts of common pleas”

to review cases involving local government civil matters. 42 Pa.C.S. §762(a)(4).

      159. In 2019, following the Trial Court’s decision affirming her denial, Ms.

Cease timely filed an appeal to the Pennsylvania Commonwealth Court.

      160. The Pennsylvania Commonwealth Court has jurisdiction to hear cases,

including those on appeal, involving federal laws. See, 42 Pa.C.S. §762 (Appeals

from courts of common pleas).

      161. The Pennsylvania Commonwealth Court was properly vested with

jurisdiction to hear Ms. Cease’s appeal.

      162. At no point during the administrative hearing process, the appeal before

the Trial Court, the appeal before the Pennsylvania Commonwealth Court, or the

HAIC’s request for the Pennsylvania Supreme Court to hear an appeal of the

Commonwealth Court’s decision (such appeal was denied) did HUD seek to

intervene, seek to remove the case to federal court, seek appeal to the U.S. Supreme

Court, or otherwise participate in the Cease proceedings.

      163. Following the issuance of the Cease decision, HUD threatened to

withhold all funding from the HAIC if it complied with the Pennsylvania

Commonwealth Court’s decision.




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      164. In issuing the Cease decision, the Pennsylvania Commonwealth Court

did not abuse its discretion or prejudice any party thereto.

      165. Accordingly, the Cease decision is valid and enforceable law within the

Commonwealth of Pennsylvania such that HUD is required to abide by it.

      WHEREFORE, Plaintiffs respectfully request that this Court (i) issue an order

declaring that the law set forth in Cease v. Housing Authority of Indiana County, 247

A.3d 57 (Pa. Cmwlth. 2021), pet. for allocatur denied, 263 A.3d 243 (Pa. 2021), is

valid state law to which HUD is bound and (ii) issue a permanent injunction

prohibiting HUD and Secretary Fudge from withholding funding from the HAIC for

complying with the Cease order.

                               COUNT IV
                         DECLARATORY JUDGMENT
                          COLLATERAL ESTOPPEL

      166. Plaintiffs incorporate paragraphs 1-165 as if fully set forth herein.

      167. Collateral estoppel acts to bar duplicative litigation and, under

Pennsylvania law, applies when:

             (1) the issue decided in the prior case must be identical to
             the one presented in the alter case; (2) there was a final
             judgment on the merits in the prior action; (3) the party
             against whom collateral estoppel is asserted was a party to
             the prior action, or is in privity with a party to the prior
             action; and (4) the party against whom collateral estoppel
             is asserted had a full and fair opportunity to litigate the
             issue in the prior action.


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Nationwide Mut. Fire Ins. Co. v. George V. Hamilton, Inc., 471 F.3d 299, 310 (3d

Cir. 2009) (internal citations and quotations omitted).

      167. A nonparty to an earlier litigation may nevertheless be precluded from

re-litigating issues and claims in a subsequent litigation if the nonparty had a

substantive legal relationship with the party who participated in the earlier litigation

or if the nonparty was adequately represented by someone in the earlier litigation

that shared the same interests. See Taylor v. Strugell, 553 U.S. 880, 893-895 (2008).

      168. Under Pennsylvania law, the HAIC is expressly tasked with

“cooperat[ing] with and act[ing] as agent of the Federal Government for the public

purposes set out in the [ ] in connection with the acquisition, construction, operation

or management of any housing project, or part thereof.” 35 P.S. §1550(g).

      169. Under federal law, it is the policy of the federal government “to vest in

public housing agencies that perform well, the maximum amount of responsibility

and flexibility in program administration.” 42 U.S.C. §1437(a)(1)(c).

      170. HUD delegates to public housing authorities, like HAIC, the

enforcement of all eligibility and admission decisions concerning prospective

tenants under the Section 8 housing program.

      171. In the Cease litigation, the HAIC acted as the agent of HUD and

represented HUD’s interest as it pertained to the eligibility and admission of medical

marijuana users under Pennsylvania law.


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      172. In the Cease litigation, the HAIC denied Ms. Cease admission into its

Section 8 housing program solely because she used, lawfully under Pennsylvania

law, medical marijuana.

      173. In the Cease litigation, the HAIC’s litigation position was that federal

law and HUD’s regulations preempted the Pennsylvania MMJ Act and that a

statutory analysis of QHWRA and the CSA confirmed that medical marijuana users

are required to be denied admission into a Section 8 housing program.

      174. Throughout the Cease litigation, HUD was notified and aware of the

HAIC’s legal arguments.

      175. Throughout the Cease litigation, HUD was noticed and aware of Ms.

Cease’s legal arguments.

      176. HUD had an opportunity to intervene in the Cease litigation.

      177. HUD did not intervene in the Cease litigation.

      178. In the Cease litigation, the Pennsylvania Commonwealth Court’s

decision expressly rejected the HAIC’s arguments that medical marijuana users are

prohibited under QHWRA from admission into Section 8 housing programs and that

QHWRA and the CSA preempt the Pennsylvania MMJ Act.

      179. The HAIC requested that the Pennsylvania Supreme Court consider the

Cease decision on appeal.




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      180. HUD did not file an amicus brief in support of the HAIC’s appeal, nor

did it seek any legal avenue to otherwise participate in the HAIC’s appeal.

      181. The Pennsylvania Supreme Court declined to take the appeal.

      182. HUD did not take any action or require the HAIC to take any action to

appeal the Cease decision to any federal court.

      183. In the Cease litigation, the HAIC’s and HUD’s interests were aligned.

      184. In the Cease litigation, the HAIC had a legal obligation to represent the

interests of HUD.

      185. Accordingly, HUD is precluded from re-litigating the issues of

preemption and the statutory analysis issue decided in the Cease decision.

      186. HUD is precluded from compelling the HAIC’s compliance on the

arguments presented and decided in the Cease decision.

      WHEREFORE, Plaintiffs seek a declaration that Defendants are collaterally

estopped from re-litigating the issues already decided in and by the Cease decision

and that Defendants are estopped from pulling the HAIC’s funding for the same

reasons.




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                         COUNT V
                  DECLARATORY JUDGMENT
        REASONABLE ACCOMMODATIONS UNDER STATE LAW

      187. Plaintiffs incorporate paragraphs 1-186 as if fully set forth herein.

      188. The HAIC is a Pennsylvania registered residential finance authority

created pursuant to the Pennsylvania Housing Authorities Law. 35 P.S. §1544.

      189. The HAIC is the entity responsible for administering all federal Section

8 housing funding for Indiana County, Pennsylvania.

      190. In administering its federal funding for the Section 8 housing program,

the HAIC is required to abide by and comply with Pennsylvania laws and

regulations.

      191. The Pennsylvania Human Relations Act (“PHRA”) prohibits

discrimination in the leasing of housing on the basis of a disability and requires a

reasonable accommodation in the “rules, policies, practices or services as may be

necessary to afford equal opportunity “to use and enjoy … housing.” 43 P.S. § 955.

      192. Under the MMJ Act, no person may be “denied any right or privilege”

for the “lawful use of medical marijuana”. 35 P.S. § 10231. 2103(a).

      193. Individuals like Ms. Cease and Ms. Bloch, who are certified disabled

and lawfully use medical marijuana to treat their disability, are required to be

afforded reasonable accommodation under the PHRA. 43 P.S. § 955(h)(1).




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      194. HUD has threatened that it would cut off all Section 8 federal funding

if the HAIC admits a Section 8 housing applicant that lawfully uses medical

marijuana under the MMJ Act.

      195. Based on HUD’s threats to cut off funding, the HAIC has refrained from

granting Section 8 housing applicants who are lawfully using medical marijuana

under the MMJ Act, a reasonable accommodation in the HAIC’s admission process.

      196. Individuals like Ms. Bloch and Ms. Cease, who are disabled and

lawfully treating their disabilities with medical marijuana under the MMJ Act,

cannot be discriminated against on the basis that they use medical marijuana. 35 P.S.

§10231.2103.

      197. It is a reasonable accommodation for HAIC to allow residents to treat

their disabilities with a medicine that is legal in Pennsylvania.

      198. Accordingly, HUD’s threat to cut funding if the HAIC complies with

valid state anti-discriminatory laws is unlawful.

      WHEREFORE, because the Plaintiffs should not have to choose between safe,

effective, medicine and a home, Plaintiffs respectfully request this Court (i) issue an

order declaring that the HAIC must afford a reasonable accommodation and may not

discriminate against any individual on the basis that they use medical marijuana, and

(ii) issue a permanent injunction prohibiting HUD and Secretary Fudge from cutting



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off funding for the HAIC for the HAIC’s compliance with Pennsylvania’s caselaw

and anti-discriminatory statutory laws.

                                      Respectfully submitted,

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Dated:        January 10, 2024




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                       EXHIBIT 1
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  Drug Fact Sheet
  Marijuana
  Overview

  Marijuana is a mind-altering (psychoactive) drug, produced by the
  Cannabis sativa plant. Marijuana contains over 400 chemicals.
  THC (delta-9-tetrahydrocannabinol) is believed to be the main
  chemical ingredient that produces the psychoactive effect.


  Street names

  Aunt Mary, BC Bud, Blunts, Boom, Chronic, Dope, Gangster,
  Ganja, Grass, Hash, Herb, Hydro, Indo, Joint, Kif, Mary Jane,
  Mota, Pot, Reefer, Sinsemilla, Skunk, Smoke, Weed, Yerba


  Looks like

  Marijuana is a dry, shredded green/brown mix of flowers, stems, seeds, and leaves from the Cannabis sativa plant. The
  mixture typically is green, brown, or gray in color and may resemble tobacco.


  Methods of abuse

  Marijuana is usually smoked as a cigarette (called a joint) or in a pipe or bong. It is also smoked in blunts, which are
  cigars that have been emptied of tobacco and refilled with marijuana, sometimes in combination with another drug.
  Marijuana is also mixed with foods or brewed as a tea.


  Affect on mind

  When marijuana is smoked, the THC passes from the lungs and into the bloodstream, which carries the chemical to
  the organs throughout the body, including the brain. In the brain, the THC connects to specific sites called cannabinoid
  receptors on nerve cells and influences the activity of those cells. Many of these receptors are found in the parts of the
  brain that influence pleasure, memory, thought, concentration, sensory and time perception, and coordinated
  movement. The short-term effects of marijuana include problems with memory and learning, distorted perception,
  difficulty in thinking and problem-solving, and loss of coordination. The effect of marijuana on perception and
  coordination are responsible for serious impairments in driving abilities. Long-term chronic marijuana use is associated
  with Amotivational Syndrome, characterized by apathy, impairment of judgment, memory and concentration, and loss
  of motivation, ambition and interest in the pursuit of personal goals. High doses of marijuana can result in mental
  confusion, panic reactions and hallucinations. Researchers have also found an association between marijuana use and
  an increased risk of depression; an increased risk and earlier onset of schizophrenia and other psychotic disorders,
  especially for teens that have a genetic predisposition.


  Affect on body

  Short-term physical effects from marijuana use may include sedation, blood shot eyes, increased heart rate, coughing
  from lung irritation, increased appetite, and decreased blood pressure. Like tobacco smokers, marijuana smokers
  experience serious health problems such as bronchitis, emphysema, and bronchial asthma. Extended use may cause
  suppression of the immune system. Because marijuana contains toxins and carcinogens, marijuana smokers increase
  their risk of cancer of the head, neck, lungs and respiratory track. Withdrawal from chronic use of high doses of
  marijuana causes physical signs including headache, shakiness, sweating, stomach pains and nausea, as well as
  behavioral signs including restlessness, irritability, sleep difficulties and decreased appetite.


  Drugs causing similar effects

  Hashish and hashish oil are drugs made from the cannabis plant that are like marijuana, only stronger. Hashish (hash)
  consists of the THC - rich resinous material of the cannabis plant, which is collected, dried, and then compressed into
  a variety of forms, such as balls, cakes, or cookie like sheets. Pieces are then broken off, placed in pipes or mixed
  with tobacco and placed in pipes or cigarettes, or smoked. The main sources of hashish are the Middle East, North
  Africa, Pakistan and Afghanistan. Hashish Oil (hash oil, liquid hash, cannabis oil) is produced by extracting the
  cannabinoids from the plant material with a solvent. The color and odor of the extract will vary, depending on the solvent
  used. A drop or two of this liquid on a cigarette is equal to a single marijuana joint. Like marijuana, hashish and
  Drug  Enforcement Administration • For more information, visit www.dea.gov
  hashish oil are both Schedule I drugs.
   an increased risk of depression; an increased risk and earlier onset of schizophrenia and other psychotic disorders,
Case 2:23-cv-01660-NR
  especially                          Document
             for teens that have a genetic              29 Filed 01/10/24 Page 56 of 131
                                           predisposition.


   Affect on body

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   Drug        Factincreased
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   experience serious health problems such as bronchitis, emphysema, and bronchial asthma. Extended use may cause
   Marijuana             – cont’d.
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   their risk of cancer of the head, neck, lungs and respiratory track. Withdrawal from chronic use of high doses of
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   Africa, Pakistan and Afghanistan. Hashish Oil (hash oil, liquid hash, cannabis oil) is produced by extracting the
   cannabinoids from the plant material with a solvent. The color and odor of the extract will vary, depending on the solvent
   used. A drop or two of this liquid on a cigarette is equal to a single marijuana joint. Like marijuana, hashish and
   hashish oil are both Schedule I drugs.


   Overdose effects

   No death from overdose of marijuana has been reported.


   Legal status in the United States

   Marijuana is a Schedule I substance under the Controlled Substances Act. Schedule I drugs are classified as having a
   high potential for abuse, no currently accepted medical use in treatment in the United States, and a lack of accepted
   safety for use of the drug or other substance under medical supervision. Marinol, a synthetic version of THC, the active
   ingredient found in the marijuana plant, can be prescribed for the control of nausea and vomiting caused by
   chemotherapeutic agents used in the treatment of cancer and to stimulate appetite in AIDS patients. Marinol is a
   Schedule III substance under the Controlled Substances Act. Schedule III drugs are classified as having less potential
   for abuse than the drugs or substances in Schedules I and II, and have a currently accepted medical use in treatment
   in the U.S., and abuse of the drug may lead to moderate or low physical dependence or psychological dependence.


   Common places of origin

   Marijuana is grown in the United States, Canada, Mexico, South America and Asia. It can be cultivated in both outdoor
   and in indoor settings.



                 This content came from a United States Government, Drug Enforcement Administration (DEA) website, www.getsmartaboutdrugs.com.




   Drug Enforcement Administration • For more information, visit www.dea.gov
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                       EXHIBIT 2
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Cease v. Housing Authority of Indiana County, 247 A.3d 57 (2021)




                                                     247 A.3d 57
                                            Commonwealth Court of Pennsylvania.

                                              Mary CEASE, Appellant
                                                      v.
                                     HOUSING AUTHORITY OF INDIANA COUNTY

                                                      No. 519 C.D. 2019
                                                               |
                                                   Argued February 13, 2020
                                                               |
                                                   Decided February 19, 2021

Synopsis
Background: Applicant for Section 8 housing benefits sought review of decision by county housing authority, which denied
her application based on her use of medical marijuana authorized under the Pennsylvania Medical Marijuana Act. The Court of
Common Pleas, Indiana County, No. 11894 CD 2018, William J. Martin, President Judge, affirmed housing authority's decision.
Applicant appealed.



The Commonwealth Court, No. 519 C.D. 2019, Bonnie Brigance Leadbetter, President Judge Emerita, held that housing
authority was not required by the federal Quality Housing and Work Responsibility Act (QHWRA) to deny benefits based on
medical marijuana use, but rather was only required to establish reasonable standards for denying Section 8 benefits based on
such use.


Affirmed in part, vacated in part, and remanded.

Patricia A. McCullough, J., filed a dissenting opinion.

Procedural Posture(s): On Appeal; Review of Administrative Decision.

*58 Appealed from No. 11894 CD 2018, Common Pleas Court of the County of Indiana, Martin, President Judge.

Attorneys and Law Firms

Kevin J. McKeon and Judith D. Cassel, Harrisburg, for Appellant.

Kevin R. Gaydos, Indiana, for Appellee.

BEFORE: HONORABLE PATRICIA A. McCULLOUGH, Judge, HONORABLE MICHAEL H. WOJCIK, Judge,
HONORABLE BONNIE BRIGANCE LEADBETTER, Senior Judge

Opinion

OPINION BY SENIOR JUDGE LEADBETTER 1

Mary Cease appeals from an order of the Court of Common Pleas of Indiana County that affirmed the decision of the Housing
Authority of Indiana County (1) denying her application for housing assistance under the United States Department of Housing
and Urban Development's (HUD) Housing Choice Voucher Program, commonly referred to as Section 8 2 and (2) *59



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concluding that she was a new applicant to the program under Section 13661 of the Quality Housing and Work Responsibility
Act (QHWRA), 42 U.S.C. § 13661. The Authority's denial was based upon the statement in her application for admission that
she used medical marijuana. We affirm the order to the extent that it determined that Cease was a new applicant to the Section
8 program, vacate it to the extent that it affirmed the Authority's denial of Cease's application, and remand this matter for the
Authority to carry out its mandate under Section 13661 of QHWRA: (1) to establish standards for determining when and on
what basis admission is prohibited for an applicant legally using medical marijuana pursuant to a valid Medical Marijuana
Identification Card; and (2) to apply those standards when determining Cease's eligibility for Section 8 housing.

Cease is a disabled veteran of the United States Navy, with no prior criminal record. She suffers from post-traumatic stress
disorder and chronic back pain for which she has endured multiple surgeries. (Apr. 11, 2019 Trial Court Op. at 1.) Pursuant
to Section 501 of the Pennsylvania Medical Marijuana Act, 3 the Pennsylvania Department of Health issued Cease a Medical
Marijuana Identification Card. It is undisputed that her card is valid and that Pennsylvania law permits her to obtain and use
medical marijuana to treat her conditions. 4 (Id. at 2.)

Over the years, Cease has participated in at least two federally funded and subsidized housing programs. The first is HUD's
Section 8 program, which the Authority administers in Indiana County. Cease participated in the Section 8 program while living
in Nanticoke, Pennsylvania and Wilkes-Barre, Pennsylvania, and applied for admission once again in Indiana County. (Id.) The
second is the United States Department of Agriculture's (USDA) rural rent supplement program, 5 pursuant to which Cease
currently lives at Clymer House Apartments in Clymer, Pennsylvania. Although the USDA's program offers a rental assistance
subsidy comparable to what HUD offers qualified residents in metropolitan areas, HUD's regulations do not govern the USDA's
program. (Id.)

In November 2017, Cease submitted an “Initial Application for Housing Assistance – All Programs” to the Authority for Section
8 housing. (Nov. 30, 2017 Initial Application; Reproduced Record “R.R.” at 15a.) In its acknowledgment, the Authority advised
Cease that it was placing her on a waiting list with an average waiting time of six months to one year and that “[t]he application
process and requirements for eligibility are explained in the policies available for your review at our office.” (Nov. 30, 2017
Letter at 1; R.R. at 17a.) In April 2018, the Authority informed Cease that there was an opening in Section 8 housing and
requested that she provide a full application to determine her eligibility. (Apr. 10, 2018 Letter at 1; R.R. at 19a.) Cease complied,
including a copy of her Medical Marijuana Identification Card with the application.

 *60 In denying the application, the Authority stated: “We must deny program participation as marijuana is still considered
to be an illegal substance by the Federal government and costs associated with marijuana medical treatments cannot be
considered in calculation of adjusted income.” (June 13, 2018 Letter at 1; R.R. at 37a) (emphasis in original). At Cease's
request, informal and formal hearings followed. Ultimately, the Authority upheld its denial based solely on the illegality of
marijuana under federal law. (Sept. 26, 2018 Letter at 1; R.R. at 279a.) In so doing, the Authority agreed that Cease's income
was well below its “extremely low” threshold and conceded that she met the income standards for Section 8 housing. 6 The
Section 8 Coordinator for Indiana County, Holly Hall, testified that the Authority denied Cease admission based on the federal
government's classification of marijuana as an illegal drug and HUD's memos regarding the use of medical marijuana. (Sept. 18,
2018 Hearing, Notes of Testimony “N.T.” at 49-50; R.R. at 87a-88a.) In particular, Hall seemed to rely upon Exhibit 9, directed
to all public housing agencies and specifically pertaining to the Section 8 program. In the 2011 memo, HUD sought to provide
guidance regarding the use of medical marijuana in states that have enacted laws permitting the use of medical marijuana and
stated that new admissions of medical marijuana users was prohibited. (Id., Ex. 9; R.R. at 4a.) Further, HUD stated that state
laws legalizing medical marijuana directly conflict with the admission requirements set forth in QHWRA and are thus subject
to federal preemption. 7 (Id.)

On appeal, the trial court took additional testimony confirming Cease's status as a former Section 8 program participant in
Luzerne County before moving to Indiana County. Following legal argument, it affirmed the Authority's denial of Cease's




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application for Section 8 housing and determination that she was a new applicant to the program. Cease's appeal to this Court
followed.

Cease raises two issues, one with three subparts. In summary and reordered for ease of analysis, the first issue is whether Cease
is a new applicant under Section 13661 of QHWRA or an existing participant under Section 13662. 8 If Cease is a new applicant,
then she poses the issue of whether Section 13661 requires that the Authority deny her housing based on legal medical marijuana
use or whether it may exercise discretion. If the decision to deny housing on that basis is discretionary, then she poses the issue of
whether the Authority should afford her accommodation for a disability under the Pennsylvania Human Relations Act (PHRA) 9
and the Pennsylvania Medical Marijuana Act. Cease's second issue is whether the lawful use of medical marijuana constitutes
“illegally using a *61 controlled substance” such that the use can form the basis for exclusion from the Section 8 program.

Congress created the Section 8 program in 1974 for “the purpose of aiding low-income families in obtaining a decent place to
live and of promoting economically mixed housing” by providing low-income families with assistance payments, or subsidies,
to enable them to rent units in the private housing market. Section 8(a) of the Housing and Community Development Act of
1974, 42 U.S.C. § 1437f(a). Pursuant to the program, HUD funds and regulates state or local governmental public housing
agencies by distributing federal funds to the agencies, which, in turn, distribute the funds by contracting with property owners
to subsidize a portion of a program participant's rent. See 42 U.S.C. § 1437f.


In 1998, Congress enacted QHWRA, which, inter alia, amended the Housing and Community Development Act of 1974 10 by
requiring public housing agencies to establish standards to consider when determining admission to and termination from the
Section 8 program. See 42 U.S.C. §§ 13661-13664. Section 13661(b)(1)(A) of QHWRA, “Screening of applicants for federal
assisted housing,” provides:

  (b) Ineligibility of illegal drug users and alcohol abusers.

  (1) Notwithstanding any other provision of law, a public housing agency or an owner of federally assisted housing, as
  determined by the Secretary, shall establish standards that prohibit admission to the program or admission to federally
  assisted housing for any household with a member--

     (A) who the public housing agency or owner determines is illegally using a controlled substance.

42 U.S.C. § 13661(b)(1)(A) (emphasis added). Section 13662(a)(1) of the QHWRA, 42 U.S.C. § 13662(a)(1), “Termination of
tenancy and assistance for illegal drug users and alcohol abusers in federally assisted housing,” provides:

  (a) In general. Notwithstanding any other provision of law, a public housing agency or an owner of federally assisted housing
  (as applicable) shall establish standards or lease provisions for continued assistance or occupancy in federally assisted housing
  that allow the agency or owner (as applicable) to terminate the tenancy or assistance for any household with a member--

     (1) who the public housing agency or owner determines is illegally using a controlled substance[.]

42 U.S.C. § 13662(a)(1).

As for which of the aforementioned provisions of QHWRA applies to Cease, we note that she was a participant in the USDA's
rural rent supplement program when she applied for Section 8 housing in Indiana County. In other words, she was neither an
existing Section 8 participant nor a participant in any federally subsidized housing program administered by the Authority at
the time of her Section 8 application. Consequently, we determine that the Authority properly treated Cease as a new applicant
to the Section 8 program such that the screening provision in Section 13661 of QHWRA applied. We turn to an analysis of
that provision.




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As noted above, Section 13661(b)(1)(A) of QHWRA provides that the Authority “shall establish standards that prohibit
admission to the program[.]” 42 U.S.C. § 13661(b)(1)(A). Notably, there is a difference between “shall establish standards that
prohibit admission” and “shall prohibit *62 admission.” Otherwise, the term “establish standards” is entirely meaningless. The
object of statutory construction is to ascertain and to effectuate legislative intent. Section 1921(a) of the Statutory Construction
Act of 1972, 1 Pa.C.S. § 1921(a). “[W]hen the words of a statute are clear and free from all ambiguity, the letter of it is not to
be disregarded under the pretext of pursuing its spirit.” 1 Pa.C.S. § 1921(b). Generally, the best indication of legislative intent
is the plain language of a statute. Malt Bevs. Distribs. Ass'n v. Pa. Liquor Control Bd., 601 Pa. 449, 457, 974 A.2d 1144, 1149
(2009). See also U.S. v. Gonzales, 520 U.S. 1, 6, 117 S.Ct. 1032, 137 L.Ed.2d 132 (1997) (Where “[g]iven a straightforward
statutory command, there is no reason to resort to legislative history.”).

By way of contrast, Section 13663(a) of QHWRA, pertaining to sex offenders, provides that “[n]otwithstanding any other
provision of law, an owner of federally assisted housing shall prohibit admission to such housing for any household that includes
any individual who is subject to a lifetime registration requirement under a State sex offender registration program.” 42 U.S.C. §
13663(a) (emphasis added). Clearly, there is no discretion in prohibiting admission to such applicants. Accordingly, we construe
the mandate in Section 13661(b)(1)(A) of QHWRA as allowing for flexibility to determine when and on what basis admission is
prohibited, rather than mandating an outright prohibition. In other words, for purposes of Section 13661(b)(1)(A), the Authority
must establish standards for determining when and on what basis admission is prohibited for a Section 8 housing applicant who
the Authority determines is illegally using a controlled substance. See Nation v. Trump, 818 F. App'x 678, 679-80 (9th Cir. 2020)
(“QHWRA requires that owners of federally-assisted housing establish certain occupancy standards pertaining to illegal drug
use for residents. See generally 42 U.S.C. §§ 13661-62.”). Such standards must take into account factors such as the nature of
the substance, i.e., whether it is clearly unlawful or in an unclear legal state such as that involved here; the reason for such use;
whether it is being used in accordance with legal requirements; other factors concerning the applicant's background, including
behavior during any prior residence in federally subsidized housing; and the presence or absence of any prior criminal record.


As for marijuana's legal status, the federal Controlled Substances Act (CSA) 11 classifies marijuana as a Schedule I controlled
substance and it is unlawful for any person to knowingly or intentionally possess a controlled substance. Section 841(a)(1) of
the federal CSA, 21 U.S.C. § 841(a)(1). Although there have been considerable efforts to reclassify marijuana under federal
law, it has remained a Schedule I drug ever since its initial classification. Additionally, there has been resistance to efforts to
make exceptions for the use of medical marijuana in federally-funded public housing. See Nation v. Trump, 395 F. Supp. 3d
1271 (N.D. Cal. 2019), aff'd, 818 F. App'x 678 (9th Cir. 2020) (where former HUD housing fund recipient claimed that HUD's
application of the federal CSA against medical marijuana was unconstitutional, court confirmed that QHWRA referred to the
CSA to define the term “controlled substance,” that the CSA defined that term as a drug or other substance in one of its five
schedules, and that marijuana was classified as a Schedule I drug under the CSA); Forest City Residential Mgmt. v. Beasley, 71
F. Supp. 3d 715 (E.D. Mich. 2014) (where Section 8 *63 housing recipient was legally using medical marijuana under state
law, court acknowledged that the CSA contained no provision allowing for the medical use of marijuana, held that the CSA
preempted the Michigan Medical Marihuana Act, 12 and determined that the Fair Housing Act 13 did not require a federally
assisted housing complex to grant the recipient a reasonable accommodation to use medical marijuana in such a complex).

Nonetheless, we are not bound by decisions of lower federal courts in other jurisdictions. Cease possesses a valid Pennsylvania
Medical Marijuana Identification Card authorizing her to legally obtain and use medical marijuana under medical supervision,
and the Authority does not dispute that she has a valid medical basis for her use and that it is properly prescribed and supervised.
Consequently, we find the term “illegally using a controlled substance” to be ambiguous here where her use is prohibited by
the federal government but permitted under state law. 14 Criminal law is primarily a matter for the states to determine within
their own jurisdictions. “Federalism, central to the constitutional design, adopts the principle that both the National and State
Governments have elements of sovereignty the other is bound to respect.” Arizona v. United States, 567 U.S. 387, 398, 132
S.Ct. 2492, 183 L.Ed.2d 351 (2012). As the Pennsylvania Supreme Court recently observed:

  [T]he core principle of federalism recogniz[es] dual sovereignty between the tiers of government. See United States v. Davis,
  906 F.2d 829, 832 (2d Cir. 1990) (“The states and the national government are distinct political communities, drawing their


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  separate sovereign power from different sources, each from the organic law that established it. Each has the power, inherent
  in any sovereign, independently to determine what shall be an offense against its authority and to punish such offenses.”). In
  enacting the [Pennsylvania Medical Marijuana *64 Act], the Pennsylvania Legislature proceeded pursuant to its independent
  power to define state criminal law and promote the health and welfare of the citizenry.

Gass v. 52nd Jud. Dist., ––– Pa. ––––, 232 A.3d 706, 714 (2020). Consequently, “while possession and use of marijuana remains
illegal under federal law even for medical purposes, ... the federal [CSA] does not (and could not) require states to enforce
it.” Id. at 714.

In Gass, our Supreme Court unanimously declared that the Lebanon County Court of Common Pleas, 52nd Judicial District's
“Medical Marijuana Policy” prohibiting the active use of medical marijuana by individuals under court supervision, such as
probationers, was, in both its original and amended forms, contrary to the immunity afforded under the Pennsylvania Medical
Marijuana Act and, therefore, could not be enforced. In other words, the Court determined that a local policy could not usurp
a state law simply by reference to a federal law such as the federal CSA. Id. Accordingly, the Gass Court held: “While the
circumstances are certainly uneasy -- since possession and use of medical marijuana remains a federal crime -- we find that
the [52nd Judicial] District cannot require state-level adherence to the federal prohibition, where the General Assembly has
specifically undertaken to legalize the use of medical marijuana for enumerated therapeutic purposes.” Id. We believe the same
is true of the Authority. 15

Moreover, the pertinent provisions of QHWRA are based on the obsolete and scientifically flawed premise that marijuana
“has no currently accepted medical use in treatment in the United States” and that “there is a lack of accepted safety for use
of marijuana under medical supervision.” Section 812(b)(1)(A-C) of the federal CSA, 21 U.S.C. § 812(b)(1)(A-C). See also
U.S. v. Oakland Cannabis Buyers’ Coop., 532 U.S. 483, 121 S.Ct. 1711, 149 L.Ed.2d 722 (2001) (recognizing that there is
no medical necessity exception to the federal prohibition against manufacturing and distributing marijuana). In contrast, the
General Assembly in Section 102(1) of the Pennsylvania Medical Marijuana Act declared: “Scientific evidence suggests that
medical marijuana is one potential therapy that may mitigate suffering in some patients and also enhance quality of life.” 35 P.S.
§ 10231.102(1). Consequently, given the current circumstances regarding the medically accepted use and ambiguous status of
medical marijuana, establishment of fair and reasonable standards regarding the use of that substance under medical supervision
is particularly called for here.

Accordingly, we affirm the trial court's order to the extent that it determined that *65 Cease was a new applicant but vacate
the order to the extent that it affirmed the Authority's denial of Cease's application. We remand this matter to the trial court with
directions to remand to the Authority to do what QHWRA mandates and establish fair and reasonable standards for determining
in what circumstances admission to Section 8 housing is prohibited for an applicant who is legally using medical marijuana under
state law, and to apply those standards with respect to Cease's individual circumstances when determining Cease's eligibility
for the Section 8 program.



                                                             ORDER

AND NOW, this 19th day of February, 2021, we hereby AFFIRM the order of the Court of Common Pleas of Indiana County, in
part, VACATE the order, in part, and REMAND this matter to the trial court with directions to remand to the Housing Authority
of Indiana County in accordance with the foregoing opinion.

Jurisdiction relinquished.



DISSENTING OPINION BY JUDGE McCULLOUGH




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I must respectfully dissent. The Majority goes to great lengths to explain why Congress's use of the phrase “shall establish
standards that prohibit” in section 13361 of the federal Quality Housing and Work Responsibility Act (QHWRA), 1 means a
Public Housing Authority (PHA) has “flexibility” to decide whether to admit an illegal drug user (as defined in the federal
Controlled Substance Act 2 (CSA)) into a Section 8 housing program. 3 By avoiding the rules of statutory interpretation, the
Majority assigns to the phrase “shall establish standards that prohibit” a meaning that Congress plainly did not intend.

The Majority also disregards some very basic constitutional and jurisprudential concepts to arrive at the desired conclusion that
Mary Cease (Cease), a user of medical marijuana, is not “illegally using a controlled substance” under the QHWRA. The fact
that Pennsylvania's Medical Marijuana Act 4 (MMA) legalizes the use of medical marijuana in limited situations is immaterial
to the disposition of this case. The CSA (which illegalizes medical marijuana as a Schedule I drug) applies here because the
QHWRA is a federal statute.



                                               Interpretation of the QHWRA

The Section 8 housing program is a federally funded and supervised rent subsidy program for low-income tenants which is
administered by the United States Department of Housing and Urban Development (HUD). The QHWRA is a federal statute.
It establishes the parameters for a PHA, such as the Housing Authority of Indiana County (HAIC), to follow when considering
admission to, and termination from, the Section 8 housing program. See 42 U.S.C. §§ 13661-13664.


Section 13661 of the QHWRA, titled “Screening of applicants for federally assisted housing,” applies to new applicants. 5
By its plain language, section 13661 of the QHWRA requires owners of federally assisted housing to deny admission to a
new *66 applicant if she, or a household member, is illegally using a controlled substance. With regard to “admission to the
program,” section 13361(b)(1)(A) provides, in this regard, as follows:

  Notwithstanding any other provision of law, a public housing agency or an owner of federally assisted housing, as determined
  by the Secretary, shall establish standards that prohibit admission to the program or admission to federally assisted housing
  for any household with a member--

     (A)who the public housing agency or owner determines is illegally using a controlled substance;

                                                               ****

42 U.S.C. § 13661(b)(1)(A) (emphasis added).

In contrast to the mandatory grounds for prohibiting admission to a Section 8 program set forth in section 13661, section 13662
of the QHWRA, titled “Termination of tenancy and assistance for illegal drug users and alcohol abusers in federally assisted
housing,” grants the PHA discretion to determine when and on what basis an existing participant's tenancy may be terminated
if she is illegally using a controlled substance or abusing alcohol. Section 13662(a)(1) provides, in this regard, as follows:

  Notwithstanding any other provision of law, a public housing agency or an owner of federally assisted housing (as applicable),
  shall establish standards or lease provisions for continued assistance or occupancy in federally assisted housing that allow
  the agency or owner (as applicable) to terminate the tenancy or assistance for any household with a member--

     (1) who the public housing agency or owner determines is illegally using a controlled substance;

                                                               ****

42 U.S.C. § 13662(a)(1) (emphasis added).




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In my view, the phrases “shall establish standards that prohibit” (section 13661) and “shall establish standards that
allow” (section 13662) in the sections dealing with illegal drug use make it clear precisely when Congress intended for a PHA
to have discretion and when a PHA lacks that discretion.

Congress has a strict drug policy when it comes to the admission of current drug users (as defined by the CSA) into Section
8 housing. As stated by the federal courts, the import of the QHWRA and its accompanying regulations “is to protect public
housing from criminal elements, especially drug activity, which could adversely affect the community.” Bennington Housing
Authority v. Bush, 182 Vt. 133, 933 A.2d 207, 213 (2007). See also Eastern Carolina Regional Housing Authority v. Lofton, 369
N.C. 8, 789 S.E.2d 449, 452 (2016) (observing that, “like everyone else, individuals who live in federally subsidized housing are
entitled to be free from ‘any criminal activity that threatens the health, safety, or right to peaceful enjoyment of the premises’ ”).
When it comes to deciding whether to admit a current drug user into a Section 8 housing program, PHAs have no discretion.
They must deny admission. 6 See Campbell v. Minneapolis Public Housing Authority, 168 F.3d 1069, 1076 (8th Cir. 1999)
(holding that the Minneapolis Public Housing Authority was “obligated to exclude [applicant] from public *67 housing if
it ‘ha[d] reasonable cause to believe’ that, at the time of his application, he was using illegal drugs or abusing alcohol in
a manner that ‘may interfere with the health, safety, or right to peaceful enjoyment of the premises by other residents of
the project’ ”) (emphasis added).

Contrariwise, when it comes to eviction, i.e., the potential displacement of an existing tenant and/or her entire household, PHAs
are given discretion to “establish standards that allow” those tenants or their families to remain in Section 8 housing despite
the violation, for example, by issuing warnings, or setting probation periods. This is because of the hardship that arises when
tenants lose their housing. Bennington Housing (observing that a PHA certainly may evict an entire family for the misdeeds of
one member, but it need not do so); Lofton (holding that housing authority was required to exercise its discretion before pursuing
tenant's eviction from federally subsidized apartment for lease violation arising from third party's drug-related activity).

Despite the clarity with which Congress has indicated when a PHA has discretion, the Majority concludes that section 13661
of the QHWRA allows for “flexibility” to determine when and on what basis admission is prohibited, rather than mandating
an outright prohibition to current users of illegal drugs.

The Majority's interpretation is based on its observation that Congress used the phrase “shall prohibit” in another section
of the QHWRA (prohibiting sex offender's admission to Section 8 housing). Section 13663(a) of the QHWRA states that
“notwithstanding any other provision of law, an owner of federally assisted housing shall prohibit admission to such housing”
to registered sex offenders. 42 U.S.C. § 13663(a) (emphasis added).

The Majority concludes that, given the different wording, the two phrases, “shall prohibit” (in section 13663) and “shall
establish standards that prohibit” (in section 13661), must have different meanings. Comparing the language of section 13661
(admission to Section 8 housing) with section 13663 (prohibiting sex offender's admission to Section 8 housing), the Majority
concludes that, if Congress intended for Section 8 admission to be denied to current drug users, then it would have stated this as
plainly as it did in section 13663 by using the phrase “shall prohibit.” The Majority reasons that since Congress did not use the
words “shall prohibit” in section 13661, it must have, therefore, meant for PHAs to have some degree of discretion to admit
Cease as a new applicant under section 13661, notwithstanding her current use of medical marijuana. Otherwise, the Majority
reasons, the phrase “shall establish standards” is meaningless.

The Majority's interpretive principles are unconvincing. First, the Majority does not explain how section 13661’s language is
ambiguous in context. Rather, the Majority compares section 13661 (shall establish standards that prohibit) with section 13663
(shall prohibit) – and based on the differences, arrives at the meaning of “shall establish standards that prohibit.”

If statutory language is “clear and free from ambiguity, the letter of it is not to be disregarded under the pretext of pursuing its
spirit.” 1 Pa.C.S. § 1921(b). Thus, when the words of a statute have a plain and unambiguous meaning, it is this meaning which
is the paramount indicator of legislative intent. When interpreting federal statutes, courts must read the statutory language in its



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proper context and not view it in isolation. McCarthy v. Bronson, 500 U.S. 136, 139, 111 S.Ct. 1737, 114 L.Ed.2d 194 (1991).
The Majority's approach in *68 only comparing and contrasting language used in a different section of the QHWRA is directly
contrary to these principles. Roethlein v. Portnoff Law Associates, Ltd., 623 Pa. 1, 81 A.3d 816, 822 (2013) (disapproving lower
court's focus on two words).

The Majority focuses on the presence of the phrase “shall establish standards” in section 13661 and its absence in section 13663,
instead of considering the plain and unambiguous language of section 13661, which is the paramount indicator of legislative
intent. When the phrase is read in full and in context, it is clear that “shall establish standards that prohibit” simply and plainly
means that whatever standards a PHA establishes for admission into a Section 8 housing program, those standards must prohibit
admission if the applicant is determined to be illegally using a controlled substance. There is absolutely nothing ambiguous with
that statement. Nevertheless, by isolating the phrase “shall establish standards” from the rest of the sentence, which describes
the type of standards the PHA must establish, i.e., “standards that prohibit” – the Majority is able to contrive an ambiguity
where none exists. This approach is in clear contravention of well-established rules of statutory interpretation.

Ironically, under the Majority's interpretation, the phrases: “shall establish standards that prohibit” (section 13661) and “shall
establish standards that allow” (section 13662) – would mean the exact same thing (i.e., PHAs have flexibility and discretion to
admit into program and terminate tenancy) – simply because both sections include the phrase “shall establish standards.” If that
was the case, then the language “that allow” and “that prohibit” which follows “shall establish standards” would be rendered
entirely meaningless. “The courts must construe every statute, if possible, to give effect to all of its provisions so that none are
rendered mere surplusage.” White v. Associates in Counseling & Child Guidance, Inc., 767 A.2d 638, 642 (Pa. Cmwlth. 2001)
(citing 1 Pa.C.S. §§ 1921(a) and 1922(a)).

Even if there was an ambiguity, which I submit there is not, I disagree with the Majority's view that the language in section
13661 (“shall establish standards that prohibit”) is so dissimilar to the language in section 13663 (“shall prohibit”) – such
that we can conclude that Congress intended dissimilar results. There is no reason in law or logic to construe section 13661 in
a different manner than section 13663. The phrase “shall establish standards that prohibit” in section 13661 is no less definite
than the language used in section 13663 (“shall prohibit”). Substantively, establishing standards that prohibit is precisely the
same in legal effect as prohibiting outright. It is a distinction without a difference.

Finally, applying the Majority's own logic, if Congress wanted to give PHAs discretion under section 13661 to allow drug users
admission to Section 8 housing, it would have used the same language it used in section 13662 to grant that discretion, which
states that a PHA “shall establish standards that allow” the PHA to terminate an existing tenancy for any household with a
member who the PHA determines is illegally using a controlled substance ....” 42 U.S.C. § 13662(a)(1). However, Congress
did not include such language in section 13661. Instead it used “that prohibit,” which has the exact opposite meaning of “that
allow.”

It is also noteworthy that HUD's regulation, which sets forth standards for PHA tenant selection criteria, 24 C.F.R. § 960.204,
support the conclusion that the phrase “establish standards that prohibit” means that the PHA is required to deny admission
to persons engaging in *69 illegal use of drugs. “Persons engaging in illegal use of a drug” is listed under the regulation
defining circumstances, which require the denial of admission, and states under no uncertain terms that the PHA is required
to deny admission to persons engaging in illegal use of a drug. This section of the regulations provides, in pertinent part:

  § 960.204 Denial of admission for criminal activity or drug abuse by household members.

  (a) Required denial of admission.

                                                                 ***

  (2) Persons engaging in illegal use of a drug. The PHA must establish standards that prohibit admission of a household
  to the PHA's public housing program if:



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     (i) The PHA determines that any household member is currently engaging in illegal use of a drug [ 7 ] (For purposes of
     this section, a household member is “currently engaged in” the criminal activity if the person has engaged in the behavior
     recently enough to justify a reasonable belief that the behavior is current) ....

24 C.F.R. § 960.204(a)(2) (emphasis added.)

Subsection (a)(4) of these same regulations require PHAs to “establish standards that prohibit admission” to Section 8 housing
for registered sex offenders. If the Majority is correct that the phrase “must establish standards” means that the PHA has
“discretion” or “flexibility” to make decisions, then PHAs would have discretion to admit registered sex offenders, which is
directly the opposite of what the Majority is arguing based on the language in section 13663 of the QHWRA, which provides
that PHAs “shall prohibit” admission to registered sex offenders. This pertinent section of the regulations, which relates to
sex offenders, provides in part:



            (4) Persons subject to sex offender registration requirement. The PHA must establish standards that
            prohibit admission to the PHA's public housing program if any member of the household is subject to
            a lifetime registration requirement under a State sex offender registration program. In the screening
            of applicants, the PHA must perform necessary criminal history background checks in the State where
            the housing is located and in other States where household members are known to have resided. (See part
            5, subpart J of this title for provisions concerning access to sex offender registration records.)



24 C.F.R. § 960.204(a)(4) (emphasis added).

Based on the foregoing, I disagree with the Majority's interpretation of section 13661 of the QHWRA. To me, it is abundantly
clear that PHAs have no discretion to admit persons who engage in the illegal use of drugs, as defined in the governing federal
law. Rather, PHAs are required to deny admission to Section 8 housing if the *70 PHA determines that the applicant or any
household member is currently engaging in illegal use of drugs.



                           Under Federal Law, Cease is Illegally Using a Controlled Substance

I also disagree with the Majority's conclusion that Cease is not illegally using a controlled substance for determining her
eligibility for Section 8 housing under the QHWRA. Cease's possession and use of medical marijuana violates the CSA.

Even though medical marijuana is legal in certain situations under Pennsylvania law pursuant to section 2103(a) of the MMA,
35 P.S. § 10231.2103(a), Congress has explicitly classified “marihuana” as an illegal Schedule I controlled substance in the
CSA. Section 812(c) of the CSA, SCHEDULE I (c)(10). Along with Morphine, Peyote, LSD, and nearly 100 other Schedule
I controlled substances, Congress has declared that marijuana (cannabis): (1) has a high potential for abuse; and (2) has no
currently accepted medical use in treatment in the United States. 21 U.S.C. § 812(b)(1)(A)-(C). Categorizing marijuana as a
Schedule I drug reflects Congress's conclusion that marijuana “lack[s] any accepted medical use, and [that there is an] absence
of any accepted safety for use in medically supervised treatment.” Gonzales v. Raich, 545 U.S. 1, 14, 125 S.Ct. 2195, 162
L.Ed.2d 1 (2005) (citing 21 U.S.C. § 812(b)(1)); see also United States v. Oakland Cannabis Buyers’ Cooperative, 532 U.S.
483, 121 S.Ct. 1711, 149 L.Ed.2d 722 (2001) (recognizing that there is no medical necessity exception to the federal prohibition
against manufacturing and distributing marijuana).

Despite efforts to reclassify marijuana, it has remained a Schedule I drug since the enactment of the federal CSA. Raich, 545
U.S. at 14-15, n.23, 125 S.Ct. 2195 (summarizing “considerable efforts,” ultimately unsuccessful, to reschedule marijuana). It



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follows then that medical marijuana use is considered “illegally using a controlled substance” under federal law for purposes
of the QHWRA. Because Congress has directly and unambiguously spoken in the federal QHWRA regarding the illegality of
using medical marijuana, our inquiry should end here. The plain language of the QHWRA is clear and unambiguous regarding
Cease's illegal use of a controlled substance. Cease's use and possession of medical marijuana is illegal under federal law.
Because Cease is an illegal drug user under the CSA, HAIC was required to deny her application for admission to Section 8
housing under section 13661 of the QHWRA, notwithstanding that Pennsylvania has legalized medical marijuana in the MMA.

In finding that the phrase “illegally using a controlled substance” is ambiguous, the Majority reasons that medical marijuana is
legal in Pennsylvania and Cease is a Pennsylvania citizen. The Majority draws the distinction in this case on the principle of
federalism that the states and the federal government operate in their respective sphere of governance. However, the Majority
fails to recognize that, due to the applicability of a federal statute, we are bound to interpret the QHWRA in accordance with
federal law, as it is inherently a matter of federal concern. The maxim that “[f]ederalism, central to the constitutional design,
adopts the principle that both the National and State Governments have elements of sovereignty the other is bound to respect,”
Arizona v. United States, 567 U.S. 387, 398, 132 S.Ct. 2492, 183 L.Ed.2d 351 (2012), cuts both ways.

The Majority also overstates the breadth of the MMA. Contrary to the Majority's position, the MMA has not made medical
marijuana legal in Pennsylvania in every situation. It only legalized it to the *71 extent that the legislature has declared it so.
Section 304(a) of the MMA states that “[e]xcept as provided in section 303, section 704, Chapter 19 or Chapter 20 [of the
MMA], the use of medical marijuana is unlawful and shall, in addition to any other penalty provided by law, be deemed a
violation of the Act of April 14, 1972 (P.L. 233, No. 64), [as amended, 35 P.S. §§ 780.101-780.144,] known as the Controlled
Substance, Drug, Device and Cosmetic Act.” (emphasis added.)

The Majority also believes the CSA is based on the “obsolete and scientifically flawed” premise that marijuana has no currently
accepted medical use in treatment in the United States and there is a lack of accepted safety or use of marijuana under medical
supervision. The Majority oversteps its bounds. Although the Majority feels that the United States Congress and federal
administrative bodies “got it wrong” when drafting the federal statutes and regulations—it is not for this Court to hold marijuana
should be considered a medically-acceptable drug, as a matter of federal law, or that marijuana should be removed as an illegal
substance in the federal CSA. Stripped of its language, the Majority essentially finds that there is no rational basis for the
federal CSA and that, therefore, it is unconstitutional. This is tantamount to overruling an act of the United States Congress and
well-established precedent from the United States Supreme Court which has held that Congress can regulate the possession of
medicinal marijuana through the CSA pursuant to its authority under the Commerce Clause. See Raich.


The Majority's position simply cannot be reconciled with the Supremacy Clause of the United States Constitution, 8 which
dictates that the federal law prevails over state law. The Supremacy Clause 9 prevents this Court from applying the Pennsylvania
MMA to discern the meaning of “illegally using a controlled substance.”

Finally, HAIC participates in a federal program under which it receives federal funds. As a condition of receiving such funds,
it must comply with federal requirements. By encouraging HAIC to flout the CSA, the Majority is placing HAIC's right to
receive federal funding at risk.

Congress has seen fit to exclude medical marijuana users from Section 8 housing based on its belief that medical marijuana has
no medical uses. This Court cannot override Congress's clear intent to prohibit all marijuana users from admission into Section
8 housing for reasons that this Court has no authority to question. While sympathetic to Cease's situation, this Court—no matter
how inequitable the factual scenario of a case may be—lacks the constitutional authority to do so.

For these reasons, I dissent.




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                                                         Footnotes


1      This opinion was reassigned to the author on September 18, 2020.

2      Section 8(a) of the Housing and Community Development Act of 1974, 42 U.S.C. § 1437f(a).

3      Act of April 17, 2016, P.L. 84, 35 P.S. § 10231.501.

4      Section 303(a) of the Pennsylvania Medical Marijuana Act provides generally that the use or possession of medical
       marijuana is lawful and that “[n]otwithstanding any provision of law to the contrary, use or possession of medical
       marijuana as set forth in [the Act] is lawful within this Commonwealth.” 35 P.S. § 10231.303(a).

5      Section 514 of the Housing and Community Development Act of 1974, 42 U.S.C. § 1490a, created the USDA's rural
       rent supplement program.

6      Derived from Social Security benefits, Cease's annual income was $9,240 and below the “extremely low” income level
       of $13,450. (Sept. 18, 2018 Hearing, Notes of Testimony “N.T.” at 20; R.R. at 58a.)

7      The memo lists fourteen states and the District of Columbia as having laws that legalize the use of medical marijuana.
       In 2011, Pennsylvania was not one of those states. Currently, there are at least thirty-three states and the District of
       Columbia that have legalized medical marijuana.

8      Implicit in this issue is the parties’ belief that Section 13662 of QHWRA affords a public housing agency discretion
       to terminate the tenancy or assistance to an existing participant who the agency or owner determines is illegally using
       a controlled substance.

9      Act of October 27, 1955, P.L. 744, as amended, 43 P.S. §§ 951-963.

10     42 U.S.C. §§ 1401-1440.

11     21 U.S.C. §§ 801-971.

12     Mich. Comp. Laws §§ 333.26421-333.26430.

13     42 U.S.C. §§ 3601-3631.

14     Of course, even in the Commonwealth's body of laws, there are statutory conflicts and/or legislative failures to act with
       respect to accommodations for users of medical marijuana. In Harrisburg Area Community College v. Pennsylvania
       Human Relations Commission, 245 A.3d 283 (Pa. Cmwlth. 2020) (“HACC”), this Court considered the effect of HACC's
       drug-testing requirement for candidates in its nursing program on a nursing student lawfully using medical marijuana
       under the Pennsylvania Medical Marijuana Act. We addressed the issue of whether the anti-discrimination provisions
       of the PHRA and the Pennsylvania Fair Educational Opportunities Act (PFEOA), Act of July 17, 1961, P.L. 776, as
       amended, 24 P.S. §§ 5001-2010, required accommodation of the student's lawful use of medical marijuana. We held
       that the legalization of medical marijuana in Pennsylvania in the Pennsylvania Medical Marijuana Act did not require
       an accommodation for its use under either Section 5(i)(1) of the PHRA, 43 P.S. § 955(i)(1), or Section 4(a)(3) of the
       PFEOA, 24 P.S. § 5004(a)(3), noting that the General Assembly could have amended the language of those acts to require



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             Case 2:23-cv-01660-NR Document 29 Filed 01/10/24 Page 69 of 131
Cease v. Housing Authority of Indiana County, 247 A.3d 57 (2021)


      accommodation but chose not to do so. Id. at 291 and 292–93. In her concurring opinion, Judge Covey urged the General
      Assembly to amend both the PHRA and the PFEOA so the benefits it created in the Pennsylvania Medical Marijuana Act
      “for the citizens of this Commonwealth are not illusory or applicable only in limited circumstances; thereby, creating an
      egregious result as is demonstrated in the instant case.” HACC, 245 A.3d at 299 (Covey, J. concurring). Judge Covey
      opined that “[t]he conflict among these statutes has created an absurd result in requiring Pennsylvania citizens to choose
      the benefits of medical marijuana or the protections of the PHRA and the PFEOA.” Id. at 299–300 (Covey, J. concurring).

15    In Beasley, 71 F. Supp. 3d 715, the United States District Court for the Eastern District of Michigan considered how
      much deference to afford a January 2011 memorandum opinion issued by HUD to the Office of Fair Housing and
      Equal Opportunity regarding the medical use of marijuana and reasonable accommodation in federal public and assisted
      housing. Concluding that the HUD memorandum was not a statute, regulation, or formal judicial interpretation, the
      federal district court rejected the higher level of deference set forth in Chevron U.S.A., Inc. v. Natural Resources Defense
      Council, Inc., 467 U.S. 837, 104 S.Ct. 2778, 81 L.Ed.2d 694 (1984). Instead, the federal district court concluded that
      the HUD memorandum was a more informal medium not intended to have the force of law and, therefore, afforded it
      the lesser level of deference set forth in Skidmore v. Swift & Company, 323 U.S. 134, 140, 65 S.Ct. 161, 89 L.Ed. 124
      (1944). Accordingly, the federal district court, per Skidmore, gave weight to “HUD's conclusion that a medical marijuana
      accommodation [was] not reasonable under the Fair Housing Act because it would constitute a fundamental alteration
      in the nature of a [public housing agency] or owner's operations.” Beasley, 71 F. Supp. 3d at 730.

1     42 U.S.C. § 13661.

2     21 U.S.C. §§ 801-971.

3     Section 8(a) of the Housing and Community Development Act of 1974 (HCDA), 42 U.S.C. § 1437f(a).

4     Act of April 17, 2016, P.L. 84, 35 P.S. §§ 10231.101-10231.2110.

5     I have no objection to the Majority's conclusion that Cease was a “new applicant” to the Section 8 program.

6     Notably, federal regulations permit PHAs to overlook drug history and prior drug convictions if the person is no longer
      engaging in drug abuse or has been rehabilitated. 24 C.F.R. § 960.204(a)(1). But here, it is undisputed that Cease is a
      current user of medical marijuana.

7     Under federal law, marijuana is a Schedule I controlled substance with “no currently accepted medical use in treatment
      in the United States.” 21 U.S.C. § 812(b)(1)(B). Significantly, Congress also has delineated those controlled substances
      which it does recognize as having a currently accepted medical use in the United States. These are listed in Schedules
      II-V. Marijuana is not listed in Schedules II-V. In other words, Congress has determined that not only is marijuana listed
      as a prohibited Schedule I drug, it also chose not to include it on the list of those substances that it recognizes as having
      any accepted medical use. See Harrisburg Area Community College v. Pennsylvania Human Relations Commission, 245
      A.3d 283, 288–89 (Pa. Cmwlth. No. 654 C.D. 2019, filed Oct. 29, 2020).

8     U.S. Const. art. 1, § 8, cl. 3.

9     U.S. Const. art. 6, cl. 2.


End of Document                                                     © 2023 Thomson Reuters. No claim to original U.S. Government Works.




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                       EXHIBIT 3
          Case 2:23-cv-01660-NR Document 29 Filed 01/10/24 Page 71 of 131

                                 U.S. DEPARTMENT OF HOUSING AND URBAN DEVELOPMENT
                                                WASHINGTON, DC 20410-5000


OFFICE OF PUBLIC AND INDIAN HOUSING


                                                                                    January 31, 2022

Ms. Judith D. Cassel
100 North Tenth Street
Harrisburg, PA 17101-2440

Dear Ms. Cassel:

       On behalf of Secretary Marcia L. Fudge, thank you for your letter on September 27,
2021, regarding the prohibition of medical marijuana use by applicants in the Housing Choice
Voucher (HCV) program.

        Marijuana is a controlled substance under federal law. Pursuant to the statutory
requirement at 42 USC §§13661, the Department of Housing and Urban Development’s (HUD)
Office of Public and Indian Housing (PIH) issued the attached memorandum providing guidance
to all HUD Field Offices and Public Housing Agencies on February 10, 2011. This guidance
remains current for all PHAs regarding the use of medical marijuana in the Public Housing and
HCV programs.

       Please contact Ashley Matthews via email at Ashley.E.Matthews@hud.gov if you have
questions about this guidance.

                                                    Sincerely,



                                                       Danielle Bastarache
                                                    Danielle Bastarache
                                                    Deputy Assistant Secretary
                                                     Office of Public Housing and Voucher Programs




Attachment




                                      www.hud.gov         espanol.hud.gov
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                       EXHIBIT 4
        Case 2:23-cv-01660-NR Document 29 Filed 01/10/24 Page 73 of 131

                                                                                                   USOO6630507B1

(12) United States Patent                                                          (10) Patent No.:             US 6,630,507 B1
       Hampson et al.                                                              (45) Date of Patent:                    Oct. 7, 2003

(54)    CANNABINOIDS AS ANTIOXIDANTS AND                                                        OTHER PUBLICATIONS
        NEUROPROTECTANTS
                                                                                Windholz et al., The Merck Index, Tenth Edition (1983) p.
(75) Inventors: Aidan J. Hampson, Irvine, CA (US);                              241, abstract No. 1723.*
                Julius Axelrod, Rockville, MD (US);                             Mechoulam et al., “A Total Synthesis of d1-A-Tetra
                       Maurizio Grimaldi, Bethesda, MD                          hydrocannabinol, the Active Constituent of Hashish,” Jour
                       (US)                                                     nal of the American Chemical Society, 87:14:3273–3275
                                                                                (1965).
(73) Assignee: The United States of America as                                  Mechoulam et al., “Chemical Basis of Hashish Activity,”
                       represented by the Department of                         Science, 18:611-612 (1970).
                       Health and Human Services,                               Ottersen et al., “The Crystal and Molecular Structure of
                       Washington, DC (US)                                      Cannabidiol.” Acta Chem. Scand. B 31, 9:807–812 (1977).
                                                                                Cunha et al., “Chronic Administration of Cannabidiol to
        Notice:        Subject to any disclaimer, the term of this              Healthy Volunteers and Epileptic Patients'." Pharmacology,
                       patent is extended or adjusted under 35                  21:175–185 (1980).
                       U.S.C. 154(b) by 0 days.                                 Consroe et al., “Acute and Chronic Antiepileptic Drug
                                                                                Effects in Audiogenic Seizure-Susceptible Rats,” Experi
(21) Appl. No.:               09/674,028                                        mental Neurology, Academic Press Inc., 70:626-637 (1980).
                                                                                Turkanis et al., “Electrophysiologic Properties of the Can
(22) PCT Fed:                 Apr. 21, 1999                                     nabinoids,” J. Clin. Pharmacol., 21:449S 463S (1981).
                                                                                Carlini et al., “Hypnotic and Antielpileptic Effects of Can
                                                                                nabidiol.” J. Clin. Pharmacol., 21:417S-427S (1981).
(86)    PCT No.:              PCT/US99/08769                                    Karler et al., “The Cannabinoids as Potential Antiepilep
                                                                                tics,” J. Clin. Pharmacol., 21:437S-448S (1981).
        S371 (c)(1),                                                            Consroe et al., “Antiepileptic Potential of Cannabidiol Anal
        (2), (4) Date: Feb. 2, 2001                                             gos,” J. Clin. Pharmacol., 21:428S-436S (1981).
(87) PCT Pub. No.: WO99/53917                                                                  (List continued on next page.)
        PCT Pub. Date: Oct. 28, 1999                                            Primary Examiner Kevin E. Weddington
                                                                                (74) Attorney, Agent, or Firm-Klarquist Sparkman, LLP
                 Related U.S. Application Data                                  (57)                   ABSTRACT
(60) Provisional application No. 60/082,589, filed on Apr. 21,
        1998, and provisional application No. 60/095,993, filed on              Cannabinoids have been found to have antioxidant
        Aug. 10, 1998.                                                          properties, unrelated to NMDA receptor antagonism. This
                                                                                new found property makes cannabinoids useful in the treat
(51) Int. Cl................................................. A61K 31/35        ment and prophylaxis of wide variety of oxidation associ
(52) U.S. Cl. ....................................................... 514/454   ated diseases, Such as ischemic, age-related, inflammatory
(58) Field of Search .......................................... 514/454         and autoimmune diseases. The cannabinoids are found to
                                                                                have particular application as neuroprotectants, for example
(56)                    References Cited                                        in limiting neurological damage following ischemic insults,
                  U.S. PATENT DOCUMENTS
                                                                                Such as Stroke and trauma, or in the treatment of neurode
                                                                                generative diseases, Such as Alzheimer's disease, Parkin
       2,304,669 A         12/1942 Adams ....................... 568/743        sons disease and HIV dementia. Nonpsychoactive
       4,876.276 A         10/1989 Mechoulam et al. ....... 514/454             cannabinoids, Such as cannabidoil, are particularly advan
       5,227,537 A          7/1993 Stoss et al. ................. 568/811       tageous to use because they avoid toxicity that is encoun
       5,284.867. A         2/1994 Kloog et al. ......          ... 514/454     tered with psychoactive cannabinoids at high doses useful in
       5.434.295 A          7/1995 Mechoulam et al.      ... 560/141            the method of the present invention. A particular disclosed
       5,462.946. A        10/1995 Mitchell et al. ..... ... 514/315            class of cannabinoids useful as neuroprotective antioxidants
       5,512,270 A          4/1996 Ghio et al. ................... 424/45       is formula (I) wherein the R group is independently Selected
       5,521.215 A          5/1996 Mechoulam et al. ....... 514/454
       5,538,993 A          7/1996 Mechoulam et al. ....... 514/454             from the group consisting of H, CH, and COCH.
       5,635,530 A          6/1997 Mechoulam et al. ....... 514/454
       5,696,109 A         12/1997 Malfroy-Camine et al. . 514/185                                                                        (I)
       6,410,588 B1         6/2002 Feldmann et al. .......... 514/454
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WO                  99/53917         * 10/1999                                                26 Claims, 7 Drawing Sheets
      Case 2:23-cv-01660-NR Document 29 Filed 01/10/24 Page 74 of 131


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38(1):21–43 (1986).                                             (1997).
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vous System.” Neuron, Cell Press, 1:623-634 (1988).             Hampson et al., “Cannabidiol and (-)A-tetrahydrocanna
Eshhar et al., “Neuroprotective and Antioxidant Activities of   biono are Neuroprotective Antioxidants,” Medical Sciences,
HU-211, A Novel NMDA Receptor Antagonist,” European             Proc. Natl. Acad. Sci. USA, 8268–8273 (1998).
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   Case 2:23-cv-01660-NR Document 29 Filed 01/10/24 Page 76 of 131


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   Case 2:23-cv-01660-NR Document 29 Filed 01/10/24 Page 78 of 131


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     CANNABINOIDS AS ANTIOXIDANTS AND                                ATHC (known as HU-210) is a superpotent cannabinoid
            NEUROPROTECTANTS                                         receptor agonist with cannabinomimetic activity two orders
                                                                     of magnitude greater than the natural A THC. The HU-210
    This application is a 371 of PCT/US99/08769 filed Apr. dimethylheptyl cannabinoid, has severe side effects, includ
21, 1999, which claims benefit of No. 60/082,589 filed Apr. 5 ing fatigue, thirst, headache, and hypotension. J. Pharmacol.
21, 1998, which claims benefit of No. 60/095,993 filed Aug. Sci.    60:1433–1457 (1971). Subjects who received this syn
                                                               thetic cannabinoid with a dimethylheptyl group experienced
10, 1998.
                                                               marked psychomotor retardation, and were unwilling or
               FIELD OF THE INVENTION                          incapable of assuming an erect position.
   The present invention concerns pharmaceutical com              In contrast to HU-210, the (-)(3R,4R) THC-DMH enan
pounds and compositions that are useful as tissue tiomer                (known as HU-211) displays low affinity to the
protectants, Such as neuroprotectants and cardioprotectants. cannabinoid     receptors, but retains NMDA receptor antago
The compounds and compositions may be used, for nist neuroprotective activity.
example, in the treatment of acute ischemic neurological                                                              HU-211
                                                                        CH2OH
insults or chronic neurodegenerative diseases.              15

           BACKGROUND OF THE INVENTION
  Permanent injury to the central nervous system (CNS)
occurs in a variety of medical conditions, and has been the
Subject of intense Scientific Scrutiny in recent years. It is
known that the brain has high metabolic requirements, and
that it can Suffer permanent neurologic damage if deprived
of Sufficient oxygen (hypoxia) for even a few minutes. In the                             Me Me
absence of oxygen (anoxia), mitochondrial production of
ATP cannot meet the metabolic requirements of the brain, 25 THC (tetrahydrocannabinol) is another of the cannab
and tissue damage occurs. This proceSS is exacerbated by inoids that has been shown to be neuroprotective in cell
neuronal release of the neurotransmitter glutamate, which cultures, but this protection was believed to be mediated by
stimulates NMDA (N-methyl-D-aspartate), AMPA interaction at the cannabinoid receptor, and So would be
(C-amino-3-hydroxy-5-methyl-4-isoxazole propionate) and accompanied by undesired psychotropic side effects.
kainate receptors. Activation of these receptors initiates                  CH
calcium influx into the neurons, and production of reactive
oxygen Species, which are potent toxins that damage impor
tant cellular structures Such as membranes, DNA and                                               OH
enzymes.
   The brain has many redundant blood Supplies, which
means that its tissue is Seldom completely deprived of 35
oxygen, even during acute ischemic events caused by throm
boembolic events or trauma. A combination of the injury of                   CH       O
hypoxia with the added insult of glutamate toxicity is                            CH
therefore believed to be ultimately responsible for cellular
death. Hence if the additive insult of glutamate toxicity can 40
be alleviated, neurological damage could also be lessened.          Although it has been unclear whether cannabimimetic
Anti-oxidants and anti-inflammatory agents have been pro activity plays a role in neuroprotection against glutamate
posed to reduce damage, but they often have poor access to induced neurological injury, the teaching in this field has
Structures Such as the brain (which are protected by the clearly been that a cannabinoid must at least be an antagonist
blood brain barrier).                                         45 at the NMDA receptor to have neuroprotective effect. Hence
   Given the importance of the NMDA, AMPA and kainate cannabidiol (2-3-methyl-6-(1-methylethenyl)-2-
receptors in the mechanism of injury, research efforts have cyclohexen-1-yl)-5-pentyl-1,3-benzenediol or CBD), a can
focused on using antagonists to these receptors to interfere nabinoid devoid of psychoactive effect (Pharm. Rev.
with the receptor mediated calcium influx that ultimately 38:21-43, 1986), has not been considered useful as a neu
leads to cellular death and tissue necrosis. In vitro Studies 50 roprotectant. Cannabidiol has been Studied as an antiepilep
using cultured neurons have demonstrated that glutamate tic (Carlini et al., J. Clin. Pharmacol. 21:417S-427S, 1981;
receptor antagonists reduce neurotoxicity, but NMDA and          Karler et al., J. Clin. Pharmacol. 21:437S-448S, 1981,
AMPA/kainate receptor antagonists have different effects.        Consroe et al., J. Clin Phannacol. 21:428S-436S, 1981),
Antagonists to NMDAr prevent neurotoxicity if present and has been found to lower intraocular pressure (Colasanti
during the glutamate exposure period, but are less effective 55 et al., Exp. Eye Res. 39:251-259, 1984 and Gen. Pharmac.
if added after glutamate is removed. In contrast, AMPA/ 15:479–484, 1984).
kainate receptor antagonists are not as effective as NMDA                          CH
antagonists during the glutamate exposure period, but are
more effective following glutamate exposure.
   Some of the research on these antagonistS has focused on 60
cannabinoids, a Subset of which have been found to be
NMDA receptor antagonists. U.S. Pat. No. 5,538,993 (3S,
4S-delta-6-tetrahydrocannabinol-7-oic acids), U.S. Pat. No.
5,521,215 (sterospecific (+) THC enantiomers), and U.S.                        HCF d
                                                                                        HO
Pat. No. 5,284.867 (dimethylheptyl benzopyrians) have                                CH
reported that these cannabinoids are effective NMDA recep       65
tor blockers. U.S. Pat. No. 5,434,295 discloses that the 1,1                           Cannabidiol (CBD)
dimethylheptyl (DMH) homolog of 3R.4R-7-hydroxy
      Case 2:23-cv-01660-NR Document 29 Filed 01/10/24 Page 83 of 131


                                                  US 6,630,507 B1
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  No Signs of toxicity or Serious Side effects have been            but not a pinene Such as:
observed following chronic administration of cannabidiol to
healthy volunteers (Cunha et al., Pharmacology                                                  R5
21:175-185, 1980), even in large acute doses of 700 mg/day
(Consroe et al., Pharmacol. Biochem. Behav. 40:701-708,
1991) but cannabidiol is inactive at the NMDA receptor.
Hence in Spite of its potential use in treating glaucoma and
Seizures, cannabidiol has not been considered a neuropro
tective agent that could be used to prevent glutamate
                                                                                           R
induced damage in the central nervous System.                  and the R-Rs groups are each independently Selected from
             SUMMARY OF THE INVENTION
                                                               the groups of hydrogen, lower Substituted or unsubstituted
                                                               alkyl, Substituted or unsubstituted carboxyl, Substituted or
   It is an object of this invention to provide a new class of unsubstituted alkoxy, Substituted or unsubstituted alcohol,
antioxidant drugs, that have particular application as 15 and Substituted or unsubstituted ethers, and Re-R, are H or
neuroprotectants, although they are generally useful in the methyl. In particular embodiments, there are no nitrogens in
treatment of many oxidation associated diseases.               the rings, and/or no amino Substitutions on the rings.
                                                                  In other embodiments, the cannabinoid is one of the
   Yet another object of the invention is to provide a subset following:
of Such drugs that can be Substantially free of psychoactive
or psychotoxic effects, are Substantially non-toxic even at
very high doses, and have good tissue penetration, for
example crossing the blood brain barrier.
   It has Surprisingly been found that cannabidiol and other
cannabinoids can function as neuroprotectants, even though
they lack NMDA receptor antagonist activity. This discovery 25
was made possible because of the inventor's recognition of
a previously unanticipated antioxidant property of the can
nabinoids in general (and cannabidiol in particular) that
functions completely independently of antagonism at the
NMDA, AMPA and kainate receptors. Hence the present
invention includes methods of preventing or treating dis
eases caused by oxidative StreSS, Such as neuronal hypoxia,
by administering a prophylactic or therapeutically effective
amount of a cannabinoid to a Subject who has a disease
caused by oxidative StreSS.                                  35

   The cannabinoid may be a cannabinoid other than THC,
HU-210, or other potent cannabinoid receptor agonists. The
cannabinoid may also be other than HU-211 or any other
NMDA receptor antagonist that has previously been 40
reported. A potent cannabinoid receptor agonist is one that
has an ECs at the cannabinoid receptor of 50 nM or less, but
in more particular embodiments 190 nM or 250 nM or less.
In disclosed embodiments the cannabinoid is not
psychoactive, and is not psychotoxic even at high doses. In 45
Some particularly disclosed embodiments, the cannabinoid
is Selected from the group:
                             OR
                                                               50



                     R5
                                                               55
where A is aryl, and particularly


                                                               60
                                                                  where there can be 0 to 3 double bonds on the A ring, as
                                                                  indicated by the optional double bonds indicated by dashed
                     HC                                           lines on the A ring. The C ring is aromatic, and the B ring
                                                                  can be a pyran. Particular embodiments are dibenzo pyrans
                                                               65 and cyclohexenylbenzenediols. Particular embodiments of
                                                                  the cannabinoids of the present invention may also be highly
                                                                  lipid Soluble, and in particular embodiments can be dis
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                               S                                                                    6
Solved in an aqueous Solution only sparingly (for example                  In yet other embodiments of the invention, the cannab
10 mg/ml or less). The octanol/water partition ratio at                  inoids are
neutral pH in useful embodiments is 5000 or greater, for
example 6000 or greater. This high lipid solubility enhances
penetration of the drug into the CNS, as reflected by its 5
volume of distribution (V) of 1.5 L/kg or more, for example
3.5 L/kg, 7 L/kg, or ideally 10 L/kg or more, for example at
least 20 L/kg. Particular embodiments may also be highly
water soluble derivatives that are able to penetrate the CNS,
for example carboxyl derivatives.
   R7-1s are independently Selected from the group of H,
Substituted or unsubstituted alkyl, especially lower alkyl, for
example unsubstituted C-C alkyl, hydroxyl, alkoxy, espe
cially lower alkoxy Such as methoxy or ethoxy, Substituted
or unsubstituted alcohol, and unsubstituted or Substituted
carboxyl, for example COOH or COCH. In other embodi 15 wherein
                                                             tions  are
                                                                        numbering conventions for each of the ring posi
                                                                         shown, and R-7, Ras and Rao are independently
ments R-7 is can also be Substituted or unsubstituted amino, Selected from   the group consisting of H, unsubstituted lower
and halogen.
   The cannabinoid has substantially no binding to the alkyl such as CH, and carboxyl such as COCH. Particular
NMDAr (for example an ICso greater than or equal to 5uM this examples of nonpsychoactive cannabinoids that fall within
or 10 um), has Substantially no psychoactive activity medi        definition are cannabidiol and
ated by the cannabinoid receptor (for example an ICso at the
cannabinoid receptor of greater than or equal to 300 nM, for
example greater than 1 uM and a K, greater than 250 nM,
especially 500-1000 nM, for example greater than 1000
nM), and antioxidant activity, as demonstratable by the 25
Fenton reaction or cyclic Voltametry.
   In other particular embodiments, the cannabinoids are one
of the following:
                 R19
        R20
                              OR21
                                                                       and other Structural analogs of cannabidiol.
                                                                          In more particular embodiments, the cannabinoid is used
                                           R23          R25         35 to prevent or treat an ischemic or neurodegenerative disease
                                                                       in the central nervous System of a Subject, by administering
              21 N of                                                  to the Subject a therapeutically effective amount of a can
                                                                       nabinoid to protect against oxidative injury to the central
                                     R22          R24                  nervous System. The cannabinoid may be any of the com
                                                                    40 pounds Set forth above, or more specifically
                        R19
                 R20                                                                        7
                                                                                             CH
                       C OH
                                                                    45

                              OH                 R26
                        R19
                 R20                                                50

                       O OH                                              wherein R-7, Ras and Rao are independently selected from
                                                                         the group consisting of H, lower alkyl Such as CH, and
                                                                    55   carboxyl such as COCH and particularly wherein
                                                                           a) R-7-Ras-Ro-H
where Rio is Substituted or unsubstituted alkyl, Such as
lower alkyl (for example methyl), lower alcohol (Such as
methyl alcohol) or carboxyl (such as carboxylic acid) and 60 e) R-7=H; R-R-COCH
oxygen (as in =O); R is hydrogen or hydroxy; R is When R7–Rs=Ro=H, then the compound is cannabidiol.
hydrogen, hydroxy, or methoxy, R is hydrogen or When R,-R-H and R=CH, the compound is CBD
hydroxy, R is hydrogen or hydroxy, R is hydrogen or monomethyl ether. When R27–Rs=CH and Ro=H, the
hydroxy; R2s is hydrogen or hydroxy; and R is Substituted                compound is CBD dimethyl ether. When R,-Rs=COCH
or unsubstituted alkyl (for example n-methyl alkyl), Substi 65 and R=H, the compound is CBD diacetate. When R,-H
tuted or unsubstituted alcohol, or Substituted or unsubsti               and Rs=Ro=COCH, the compound is CBD monoacetate.
tuted carboxy.                                                           The ischemic or neurodegenerative disease may be, for
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                               7                                                                8
example, an ischemic infarct, Alzheimer's disease, Parkin         is a ligand for the cannabinoid receptor. The Voltage at which
Son's disease, Down's Syndrome, human immunodeficiency            initial peaks occur is an indication of antioxidant activity.
virus (HIV) dementia, myocardial infarction, or treatment            FIG. 4 is a graph that demonstrates the antioxidant
and prevention of intraoperative or perioperative hypoxic         properties of BHT, CBD and THC, by plotting the fluores
insults that can leave persistent neurological deficits follow    cence of a fluorescent dye against concentrations of these
ing open heart Surgery requiring heart/lung bypass                Substances, where declining fluorescence is an indication of
machines, such as coronary artery bypass grafts (CABG).           greater antioxidant activity.
   The invention also includes an assay for Selecting a              FIG. 5A is a graph illustrating decreased t-butyl peroxide
cannabinoid to use in treating a neurological disease by          induced toxicity (as measured by LDH release) in the
determining whether the cannabinoid is an antioxidant.            presence of increasing concentrations of cannabidiol, dem
Once it has been determined that the cannabinoid is an
antioxidant, an antioxidant effective amount of the cannab
                                                                  onstrating that cannabidiol is an effective antioxidant in
                                                                  living cells.
inoid is administered to treat the neurological disease, Such
as a vascular ischemic event in the central nervous System, of FIG.       5B is a bar graph comparing the antioxidant activity
                                                                     Several antioxidants against glutamate induced toxicity in
for example the type caused by a neurovascular thromboem neurons, showing
                                                               15
                                                                                       that CBD has Superior antioxidant activ
bolism. Similarly, the method of the present invention ity.
includes determining whether a disease is caused by Oxida
tive StreSS, and if the disease is caused by oxidative StreSS,      FIG. 6A is a graph showing the effect of CBD (as
administering the cannabinoid in a therapeutically effective measured by the change in absorbance at 234 nm) on the
antioxidant amount.                                               enzymatic activity of two lipoxygenase enzymes, rabbit
   The invention also includes identifying and administering      15-LO and porcine 12-LO, which demonstrates that CBD
antioxidant and neuroprotective compounds (Such as inhibits 15-LO, but not 12-LO enzyme.
cannabidiol) which selectively inhibit the enzyme activity of        FIG. 6B is a graph demonstrating that inhibitory effect of
both 5- and 15-lipoxygenase more than the enzyme activity CBD on 15-LO is competitive.
of 12-lipoxygenase. In addition, Such compounds posses 25 FIG. 7A is a graph similar to FIG. 6A, but was performed
low NMDA antagonist activity and low cannabinoid recep in whole cells rather than purified enzyme preparations, and
tor activity. ASSays for Selecting compounds with the desired shows the effect of CBD (as measured by the change in
effect on lipoxygenase enzymes, and methods for using absorbance at 236 nm) on the enzymatic activity of 5-LO
identified compounds to treat neurological or ischemic dis from cultured rat basophillic leukemia cells (RBL-2H3),
eases are also provided. Such diseases may include a vas which demonstrates that CBD inhibits 5-LO.
cular ischemic event in the central nervous System, for             FIG. 7B is a graph showing the effect of CBD (as
example a thromboembolism in the brain, or a vascular measured
ischemic event in the myocardium. Useful administration of formation by       of
                                                                                  the change in absorbance at 236 mm) on the
                                                                                  12-HETE (the product of 12-LO) by human
the compounds involves administration both during and leukocytes (12-LO                 type 1).
after an ischemic injury.                                      35
                                                                     FIG. 7C   is a graph similar to FIG. 7B, showing the effect
   These and other objects of the invention will be under
stood more clearly by reference to the following detailed of CBD (as measured by the change in absorbance at 236
description and drawings.                                         nm) on the formation of 12-HETE by human platelets
                                                                  (12-LO type 2).
         BRIEF DESCRIPTION OF THE FIGURES                      40    FIG. 8 is a bar graph demonstrating that 12-HETE can
   FIG. 1A is a graph showing NMDA induced cellular tively when   protect cortical neurons from NMDAr toxicity most effec
                                                                                 administered during and post ischemia.
damage in a neuron (as measured by LDH release) in cells
that were exposed to glutamate for 10 minutes, which                DETAILED DESCRIPTION OF SOME SPECIFIC
demonstrates that increasing concentrations of cannabidiol 45                       EMBODIMENTS
in the cell culture protects against cellular damage.             This invention provides antioxidant compounds and
   FIG. 1B is a graph similar to FIG. 1A, but showing that compositions, Such as pharmaceutical compositions, that
AMPA/kainate receptor mediated damage (induced by include cannabinoids that act as free radical Scavengers for
glutamate and the AMPA/kainate receptor potentiating use in prophylaxis and treatment of disease. The invention
agents cyclothiazide or concanavalin A) is also reduced in a 50 also includes methods for using the antioxidants in preven
concentration dependent manner by the presence of canna tion and treatment of pathological conditions Such as
bidiol in the culture medium.
                                                              ischemia (tissue hypoxia), and in Subjects who have been
  FIG. 2A is a bar graph showing cellular damage (as exposed to oxidant inducing agents Such as cancer
measured by LDH release) in the presence of glutamate chemotherapy, toxins, radiation, or other Sources of oxida
alone (100 uM Glu), and in the presence of glutamate and 5 55 tive StreSS. The compositions and methods described herein
uM cannabidiol (CBD) or 5 uM THC, and demonstrates that are also used for preventing oxidative damage in trans
CBD and THC were similarly protective.                            planted organs, for inhibiting reoxygenation injury follow
   FIG.2B is a bar graph similar to FIG. 2A, but showing the      ing reperfusion of ischemic tissues (for example in heart
cellular damage assessed in the presence of the cannabinoid       disease), and for any other condition that is mediated by
receptor antagonist SR 141716A (SR), which was not found 60 oxidative or free radical mechanisms of injury. In particular
to alter the neuroprotective effect of CBD (5uM) or THC (5 embodiments of the invention, the compounds and compo
AlM), indicating the effect is not a typical cannabinoid effect Sitions are used in the treatment of ischemic cardiovascular
mediated by the cannabinoid receptor.                         and neurovascular conditions, and neurodegenerative dis
   FIG. 3 is a graph showing the reduction oxidation poten eases. However the present invention can also be used as an
tials determined by cyclic Voltametry for Some natural and 65 antioxidant treatment in non-neurological diseases.
synthetic cannabinoids, the antioxidant BHT, and the non        Molecular oxygen is essential for aerobic organisms,
cannabinoid anandamide (arachidonyl ethanolamide) which where it participates in many biochemical reactions, includ
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ing its role as the terminal electron acceptor in oxidative apoptosis, radiation Sickness, and others. The present inven
phosphorylation. However excessive concentrations of Vari tion is believed to be particularly beneficial in the treatment
ous forms of reactive oxygen Species and other free radicals of oxidative associated diseases of the CNS, because of the
can have Serious adverse biological consequences, including ability of the cannabinoids to cross the blood brain barrier
the peroxidation of membrane lipids, hydroxylation of 5 and exert their antioxidant effects in the brain. In particular
nucleic acid bases, and the oxidation of Sulfhydryl groups embodiments, the pharmaceutical composition of the
and other protein moieties. Biological antioxidants include present invention is used for preventing, arresting, or treat
tocopherols and tocotrieneols, carotenoids, quinones, ing neurological damage in Parkinson's disease, Alzhe
bilirubin, ascorbic acid, uric acid, and metal binding pro imer's disease and HIV dementia; autoimmune neurodegen
teins. However these endogenous antioxidant Systems are eration of the type that can occur in encephalitis, and
often overwhelmed by pathological processes that allow hypoxic or anoxic neuronal damage that can result from
permanent oxidative damage to occur to tissue.               apnea, respiratory arrest or cardiac arrest, and anoxia caused
  Free radicals are atoms, ions or molecules that contain an        by drowning, brain Surgery or trauma (Such as concussion or
unpaired electron, are usually unstable, and exhibit short          spinal cord shock).
                                                               AS used herein, an “antioxidant' is a Substance that, when
half-lives. Reactive oxygen species (ROS) is a collective 15 present
term, designating the oxygen radicals (e.g..O. Superoxide biologicalin molecule,
                                                                        a mixture containing an oxidizable Substrate
                                                                                  Significantly delays or prevents oxida
radical), which by Sequential univalent reduction produces tion of the Substrate biological   molecule. Antioxidants can
hydrogen peroxide (HO) and hydroxyl radical (OH). The act by Scavenging biologically important          reactive free radi
hydroxyl radical Sets off chain reactions and can interact cals or other reactive oxygen species (.O.,        H2O, OH,
with nucleic acids. Other ROS include nitric oxide (NO.) HOCl, ferryl, peroxyl, peroxynitrite, and alkoxyl),         or by
and peroxy nitrite (NOO.), and other peroxyl (RO) and preventing their formation, or by catalytically converting       the
alkoxyl (RO.) radicals. Increased production of these poi free radical or other reactive oxygen Species to a leSS
Sonous metabolites in certain pathological conditions is
believed to cause cellular damage through the action of the reactive
                                                              Sured  by
                                                                        Species. Relative antioxidant activity can be mea
                                                                         cyclic Voltametry Studies of the type disclosed in
highly reactive molecules on proteins, lipids and DNA. In  25
particular, ROS are believed to accumulate when tissues are Example
                                                              index  of
                                                                          5 (and FIG. 3), where the voltage (X-axis) is an
                                                                         relative antioxidant activity. The voltage at which
Subjected to ischemia, particularly when followed by rep
erfusion.                                                     the first peak occurs is an indication of the Voltage at which
                                                              an electron is donated, which in turn is an index of antioxi
   The pharmaceutical compositions of the present invention dant    activity.
have potent antioxidant and/or free radical Scavenging           “Therapeutically    effective antioxidant doses' can be
properties, that prevent or reduce oxidative damage in determined by various
biological Systems, Such as occurs in ischemic/reperfusion empirical dose-response methods,         including generating an
                                                                                         curve, predicting potency and effi
injury, or in chronic neurodegenerative diseases Such as cacy of a congener by using           quantitative Structure activity
Alzheimer's disease, HIV dementia, and many other oxida        35   relationships (QSAR) methods or molecular modeling, and
tion associated diseases.
                                                                    other methods used in the pharmaceutical Sciences. Since
                       DEFINITIONS                                  oxidative damage is generally cumulative, there is no mini
                                                                    mum threshold level (or dose) with respect to efficacy.
   “Oxidative associated diseases” refers to pathological However, minimum doses for producing a detectable thera
conditions that result at least in part from the production of 40 peutic or prophylactic effect for particular disease States can
or exposure to free radicals, particularly Oxyradicals, or be established.
reactive oxygen Species. It is evident to those of skill in the      AS used herein, a “cannabinoid” is a chemical compound
art that most pathological conditions are multifactorial, and (such as cannabinol, THC or cannabidiol) that is found in the
that assigning or identifying the predominant causal factors plant species Cannabis Saliva (marijuana), and metabolites
for any particular condition is frequently difficult. For these 45 and Synthetic analogues thereof that may or may not have
reasons, the term “free radical associated disease' encom          psychoactive properties. Cannabinoids therefore include
passes pathological States that are recognized as conditions (without limitation) compounds (such as THC) that have
in which free radicals or ROS contribute to the pathology of high affinity for the cannabinoid receptor (for example
the disease, or wherein administration of a free radical         K<250 nM), and compounds that do not have significant
inhibitor (e.g. desferroxamine), Scavenger (e.g. tocopherol, 50 affinity for the cannabinoid receptor (Such as cannabidiol,
glutathione) or catalyst (e.g. Superoxide dismutase, catalase) CBD). Cannabinoids also include compounds that have a
is shown to produce detectable benefit by decreasing characteristic dibenzopyran ring structure (of the type seen
Symptoms, increasing Survival, or providing other detectable in THC) and cannabinoids which do not possess a pyran ring
clinical benefits in treating or preventing the pathological (Such as cannabidiol). Hence a partial list of cannabinoids
State.                                                        55 includes THC, CBD, dimethyl heptylpentyl cannabidiol
   Oxidative associated diseases include, without limitation,    (DMHP-CBD), 6,12-dihydro-6-hydroxy-cannabidiol
free radical associated diseases, Such as ischemia, ischemic     (described in U.S. Pat. No. 5,227,537, incorporated by
reperfusion injury, inflammatory diseases, Systemic lupus           reference); (3S,4R)-7-hydroxy-A-tetrahydrocannabinol
erythematosis, myocardial ischemia or infarction, cere              homologs and derivatives described in U.S. Pat. No. 4,876,
brovascular accidents (Such as a thromboembolic or hem 60 276, incorporated by reference; (+)-4-4-DMH-2,6-
orrhagic stroke) that can lead to ischemia or an infarct in the diacetoxy-phenyl-2-carboxy-6,6-dimethylbicyclo3.1.1
brain, operative ischemia, traumatic hemorrhage (for hept-2-en, and other 4-phenylpinene derivatives disclosed in
example a hypovolemic Stroke that can lead to CNS hypoxia           U.S. Pat. No. 5,434,295, which is incorporated by reference;
or anoxia), Spinal cord trauma, Down's Syndrome, Crohn's and cannabidiol (-)(CBD) analogs such as (-)CBD
disease, autoimmune diseases (e.g. rheumatoid arthritis or 65 monomethylether, (-)CBD dimethyl ether, (-)CBD diac
diabetes), cataract formation, uveitis, emphysema, gastric etate; (-)3'-acetyl-CBD monoacetate; and +AF11, all of
ulcers, oxygen toxicity, neoplasia, undesired cellular              which are disclosed in Consroe et al., J. Clin. Phannacol.
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                                                   US 6,630,507 B1
                             11                                                               12
21:428S-436S, 1981, which is also incorporated by refer         aryloxy,  aryl,  arylalkyl, heteroaryl,   amino, alkylamino,
ence. Many other cannabinoids are similarly disclosed in dialkylamino, morpholino, piperidino, pyrrolidin-1-yl,
Agurell et al., Pharmacol. Rev. 38:31-43, 1986, which is piperazin-1-yl, or other functionality.
also incorporated by reference.                                    The term “alkoxy” refers to a substituted or unsubstituted
   AS referred to herein, the term "psychoactivity” means alkoxy, where an alkoxy has the structure -O-R, where R
“cannabinoid receptor mediated psychoactivity.” Such is substituted or unsubstituted alkyl. In an unsubstituted
effects include, euphoria, lightheadedness, reduced motor alkoxy,       the R is an unsubstituted alkyl. The term “substituted
                                                                alkoxy' refers to a group having the Structure -O-R,
coordination, and memory impairment. Psychoactivity is not where       R is alkyl which is substituted with a non-interfering
meant to include non-cannabinoid receptor mediated effects Substituent.      The term “arylalkoxy' refers to a group having
such as the anxiolytic effect of CBD.                           the structure -O-R-Ar, where R is alkyl and Ar is an
   The “lipoxygenase enzyme activity” refers to the relative aromatic Substituent. Arylalkoxys are a Subset of Substituted
level of lipoxygenase enzyme activity for a particular alkoxyS. Examples of useful Substituted alkoxy groups are:
lipoxgenase, Such as 5-, 15- or 12-lipoxygenase, as mea benzyloxy, naphthyloxy, and chlorobenzyloxy.
Sured in Example 8. A compound would be said to “selec 15 The term “aryloxy' refers to a group having the Structure
tively inhibit a lipoxgenase enzyme” if the concentration of -O-Ar, where Ar is an aromatic group. A particular
inhibitor required to reduce enzyme activity by 50% was at aryloxy group is phenoxy.
least about 5 times less than the amount required to reduce        The term "heterocycle” refers to a monovalent Saturated,
activity of a Second lipoxgenase enzyme by the same degree unsaturated, or aromatic carbocyclic group having a single
(under the same conditions, i.e. temperature, Substrate ring (e.g. morpholino, pyridyl or faryl) or multiple con
concentration, etc.)                                            densed rings (e.g. indolizinyl or benzobthienyl) and having
   An “antagonist' is a compound that binds and occupies a at least one heteroatom, defined as N, O, P, or S, within the
                                                                ring, which can optionally be unsubstituted or Substituted
receptor without activating it. In the presence of a Sufficient with,
concentration of antagonist, an agonist cannot activate its acyloxy,  e.g. halogen, alkyl, alkoxy, alkylthio, trifluoromethyl,
receptor. Therefore, antagonists may decrease the neurotox 25 arylakyl, hydroxy,       mercapto, carboxy, aryloxy, aryl,
                                                                           heteroaryl, amino, alkylamino, dialkylamino,
icity mediated by NMDA (as described in Example 3) or morpholino, piperidino, pyrrolidin-1-yl, piperazin-1-yl, or
AMPA and Kainate (as described in Example 4).                   other functionality.
   An "agonist' is a compound that activates a receptor.           “Arylalkyl refers to the groups -R-Ar and
When the receptor is activated for a longer than normal -R-HetAr, where Ar is an aryl group. HetAr is a het
period of time, this may cause neurotoxicity, as in the case eroaryl group, and R is a Straight-chain or branched chain
of NMDA, AMPA and kainate receptors (see Examples 3 aliphatic group. Example of arylaklyl groups include benzyl
and 4).                                                         and furfuryl. Arylalkyl groups can optionally be unsubsti
   The term “alkyl refers to a cyclic, branched, or Straight tuted or Substituted with, e.g., halogen, alkyl, alkoxy,
chain alkyl group containing only carbon and hydrogen, and alkylthio, trifluoromethyl, acyloxy, hydroxy, mercapto,
unless otherwise mentioned contains one to twelve carbon 35 carboxy, aryloxy, aryl, arylalkyl, heteroaryl, amino,
atoms. This term is further exemplified by groups Such as alkylamino, dialkylamino, morpholino, peperidino,
methyl, ethyl, n-propyl, isobutyl, t-butyl, pentyl, pivalyl, pyrrolidin-1-yl, piperazin-1-yl, or other functionality.
heptyl, adamantyl, and cyclopentyl. Alkyl groups can either        The term "halo' or “halide” refers to fluoro, bromo,
be unsubstituted or substituted with one or more                 chloro and iodo Substituents.
Substituents, e.g. halogen, alkyl, alkoxy, alkylthio, 40 The term “amino” refers to a chemical functionality
trifluoromethyl, acyloxy, hydroxy, mercapto, carboxy, -NR'R'" where R' and R" are independently hydrogen,
aryloxy, aryloxy, aryl, arylalkyl, heteroaryl, amino, alkyl, or aryl. The term "quaternary amine' refers to the
alkylamino, dialkylamino, morpholino, pipe ridino, positively charged group - N'R"R", where R'R" and R" are
pyrrolidin-1-yl, piperazin-1-yl, or other functionality.         independently Selected and are alkyl or aryl. A particular
   The term “lower alkyl refers to a cyclic, branched or 45 amino group is -NH2.
Straight chain monovalent alkyl radical of one to Seven            A "pharmaceutical agent' or "drug” refers to a chemical
carbon atoms. This term is further exemplified by Such compound or composition capable of inducing a desired
radicals as methyl, ethyl, n-propyl, i-propyl, n-butyl, t-butyl, therapeutic or prophylactic effect when properly adminis
i-butyl (or 2-methylpropyl), cyclopropylmethyl, i-amyl, tered to a Subject.
n-amyl, hexyl and heptyl. Lower alkyl groups can also be 50 All chemical compounds include both the (+) and (-)
unsubstituted or Substituted, where a Specific example of a Stereoisomers,      as well as either the (+) or (-) Stereoisomer.
substituted alkyl is 1,1-dimethylheptyl.                            Other chemistry terms herein are used according to con
   “Hydroxyl” refers to -OH.                                     ventional usage in the art, as exemplified by The McGraw
   “Alcohol” refers to R-OH, wherein R is alkyl, especially 55 Hill Dictionary of Chemical Terms (1985) and The Con
lower alkyl (for example in methyl, ethyl or propyl alcohol).    densed Chemical Dictionary (1981).
An alcohol may be either linear or branched, Such as          The following examples show that both nonpsychoactive
isopropyl alcohol.                                          cannabidiol, and psychoactive cannabinoids Such as THC,
   “Carboxyl” refers to the radical -COOH, and substituted can protect neurons from glutamate induced death, by a
carboxyl refers to -COR where R is alkyl, lower alkyl or 60 mechanism independent of cannabinoid receptorS. Cannab
a carboxylic acid or ester.                                 inoids are also be shown to be potent antioxidants capable of
   The term “aryl' or “Ar” refers to a monovalent unsatur preventing ROS toxicity in neurons.
ated aromatic carbocyclic group having a single ring (e.g.                              EXAMPLE 1.
phenyl) or multiple condensed rings (e.g. naphthyl or
anthryl), which can optionally be unsubstituted or Substi 65         Preparation of Cannabinoids and Neuronal Cultures
tuted with, e.g., halogen, alkyl, alkoxy, alkylthio,                Cannabidiol, THC and reactants other than those specifi
trifluoromethyl, acyloxy, hydroxy, mercapto, carboxy,            cally listed below were purchased from Sigma Chemical,
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Co. (St. Louis, Mo.). Cyclothiazide, glutamatergic ligands           exposed to 250 uM glutamate for 10 minutes in a magne
and MK-801 were obtained from Tocris Cookson (UK).                   sium free Saline Solution. The Saline was composed of 125
Dihydrorhodamine was supplied by Molecular Probes                    mM NaCl, 25 mM glucose, 10 mM HEPES (pH 7.4), 5 mM
(Eugene, Oreg.). T-butyl hydroperoxide, tetraethylammo         KCl, 1.8 mM calcium chloride and 5% bovine serum
nium chloride, ferric citrate and Sodium dithionite were all 5 albumin. Following exposure, cells were washed twice with
purchased from Aldrich (WI). All culture media were Gibco/ Saline, and incubated for 18 hours in conditioned DMEM.
BRL (MD) products.                                                   The level of lactate dehydrogenase (LDH) in the media was
   Solutions of cannabinoids, cyclothiazide and other lipo           used as an index of cell injury.
philes were prepared by evaporating a 10 mM ethanolic                  Toxicity was completely prevented by addition of the
Solution (under a stream of nitrogen) in a Siliconized micro         NMDAr antagonist, MK-801 (500 nM, data not shown).
centrifuge tube. Dimethyl sulfoxide (DMSO, less than                 However, FIG. 1A shows that cannabidiol also prevented
0.05% of final volume) was added to ethanol to prevent the           neurotoxicity (maximum protection 88+9%) with an ECso of
lipophile completely drying onto the tube wall. After                2-4 uM (specifically about 3.5 uM).
evaporation, 1 ml of culture media was added and the drug
was dispersed using a high power Sonic probe. Special 15                                    EXAMPLE 4
attention was used to ensure the Solution did not overheat or
generate foam. Following dispersal, all Solutions were made               AMPA and Kainate Receptor Mediated Toxicity
up to their final Volume in Siliconized glass tubes by mixing                                  Studies
with an appropriate quantity of culture media.                         Unlike NMDA receptors, which are regulated by magne
  Primary neuronal cultures were prepared according to the           sium ions, AMPA/kainate receptors rapidly desensitize fol
method of Ventra et al. (J. Neurochem. 66:1752–1761,                 lowing ligand binding. To examine AMPA and kainate
1996). Fetuses were extracted by Cesarian section from a 17          receptor mediated toxicity, neurons were cultured for 7-13
day pregnant Wistar rat, and the feral brains were placed into       days, then exposed to 100 uM glutamate and 50 uM
phosphate buffered Saline. The cortices were then dissected 25 cyclothiazide (used to prevent AMPA receptor
out, cut into Small pieces and incubated with papain for nine desensitization). Cells were incubated with glutamate in the
minutes at 37 C. After this time the tissue was dissociated          presence of 500 nM MK-801 (an NMDAr antagonist) for
by passage through a fire polished Pasteur pipette, and the          18-20 hours prior to analysis. Specific AMPA and kainate
resultant cell Suspension Separated by centrifugation over a         receptor ligands were also used to Separately examine the
gradient consisting of 10 mg/ml bovine Serum albumin and             effects of cannabinoids on AMPA and kainate receptor
10 mg/ml ovomucoid (a trypsin inhibitor) in Earls buffered           mediated events. Fluorowillardine (1.5uM) was the AMPA
Salt Solution. The pellet was then re-Suspended in high              agonist and 4-methyl glutamate (10 um) was the kainate
glucose, phenol red free Dulbeco's modified Eagles medium            agonist used to investigate receptor mediated toxicity. When
containing 10% fetal bovine serum, 2 mM glutamine, 100               Specifically examining kainate receptor activity, cyclothiaz
IU penicillin, and 100 lug/ml streptomycin (DMEM). Cells ide was replaced with 0.15 mg/ml Concanavalin-A.
were counted, tested for Vitality using the trypan blue 35 Cannabidiol protection against AMPA/kainate mediated
exclusion test and Seeded onto poly-D-lysine coated 24 neurotoxicity is illustrated in FIG. 1B, where LDH in the
multiwell plates. After 96 hours, 10 uM fluoro-deoxyuridine media was used as an index of cell injury. The neuropro
and 10 uM uridine were added to block glial cell growth. tective effect of cannabidiol was similar to that observed in
This protocol resulted in a highly neuron-enriched culture. 40 the NMDA mediated toxicity model (FIG. 1A). Cannabidiol
                       EXAMPLE 2
                                                                     prevented neurotoxicity (maximum protection 80+17%)
                                                                     with an ECso of 2-4 uM (specifically about 3.3 uM).
     Preparation of Astrocytes and Conditioned Media         Comparable results were obtained with either the AMPA
                                                             receptor ligand, fluorowillardine or the kainate receptor
   Astrocyte conditioned DMEM was used throughout the 45 Specific ligand, 4-methyl-glutamate (data not shown). Hence
AMPA/kainate toxicity procedure and following glutamate cannabidiol protects Similarly against toxicity mediated by
exposure in the NMDAr mediated toxicity protocol. Media NMDA, AMPA or kainate receptors.
was conditioned by 24 hour treatment over a confluent layer    Unlike cannabidiol, THC is a ligand (and agonist) for the
of type I astrocytes, prepared from two day old Wistar rat brain cannabinoid receptor. The action of THC at the can
pups. Cortices were dissected, cut into Small pieces, and 50 nabinoid receptor has been proposed to explain the ability of
enzymatically digested with 0.25% trypsin. Tissue was then THC to protect neurons from NMDAr toxicity in vitro.
dissociated by passage through a fire polished Pasteur However in AMPA/kainate receptor toxicity assays, THC
pipette and the cell Suspension plated into untreated 75 cm          and cannabidiol were similarly protective (FIG. 2A), indi
T-flaskS. After 24 hours the media was replaced and unat cating that cannabinoid neuroprotection is independent of
tached cells removed. Once astrocytes achieved confluence, 55 cannabinoid receptor activation. This was confirmed by
cells were divided into four flasks. Media for experiments inclusion of cannabinoid receptor antagonist SR-141716A in
was conditioned by a 24 hour exposure to these astrocytes, the culture media (SR in FIG. 2B). See Mansbach et al.,
after which time it was frozen at -20°C. until use. Astrocyte Psychopharmacology 124:315-22, 1996, for a description
cultures were used to condition DMEM for no longer than of SR-141716A. Neither THC nor cannabidiol neuroprotec
two months.                                                     60   tion was affected by cannabinoid receptor antagonist (FIG.
                       EXAMPLE 3
                                                                     2B).
                                                                                            EXAMPLE 5
          NMDA Mediated Toxicity Studies
 Glutamate neurotoxicity can be mediated by NMDA, 65                      Cyclic Voltametery Studies or RelDox Potentials
AMPA or kainate receptors. To examine NMDAr mediated                   To investigate whether cannabinoids protect neurons
toxicity, cultured neurons (cultured for 14-18 days) were            against glutamate damage by reacting with ROS, the anti
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oxidant properties of cannabidiol and other cannabinoids                 Cannabidiol was also compared with known antioxidants
were assessed. Cyclic Voltametry, a procedure that measures            in an AMPA/kainate toxicity protocol. Neurons were
the ability of a compound to accept or donate electrons under          exposed to 100 uM glutamate and equimolar (5 uM)
a variable Voltage potential, was used to measure the oxi              cannabidiol, C-tocopherol, BHT or ascorbate (FIG. 5B).
dation potentials of Several natural and Synthetic cannab              Although all of the antioxidants attenuated glutamate
inoids. These studies were performed with an EG&G Prin                 toxicity, cannabidiol was significantly more protective than
ceton Applied Research potentiostat/galvanostat (Model                 either C-tocopherol or ascorbate. The Similar antioxidant
273/PAR 270 software, NJ). The working electrode was a                 abilities of cannabidiol and BHT in this chemical system
glassy carbon disk with a platinum counter electrode and               (FIG. 4), and their comparable protection in neuronal cul
silver/silver chloride reference. Tetraethylammonium chlo              tures (FIG. 5B), implies that cannabidiol neuroprotection is
ride in acetonitrile (0.1M) was used as an electrolyte. Cyclic         due to an antioxidant effect.
voltametry scans were done from +0 to 1.8 V at scan rate of
100 mV per second. The reducing ability of cannabidiol                                              EXAMPLE 7
(CBD), THC, HU-211, and BHT were measured in this                                   In vivo Rat Studies
fashion. Anandamide, a cannabinoid receptor ligand without 15
a cannabinoid like Structure, was used as a non-responsive
control. Each experiment was repeated twice with essen ratsThe      was
                                                                       middle cerebral artery of chloral hydrate anesthetized
                                                                         occluded by insertion of suture thread into it. The
tially the same results.                                        animals were allowed to recover from the anesthetic and
   Cannabidiol, THC and the synthetic cannabinoid HU-211        move freely for a period of two hours. After this time the
all donated electrons at a similar potential as the antioxidant Suture was removed under mild anesthetic and the animals
BHT. Anandamide (arachidonyl ethanolamide) did not                     allowed to recover for 48 hours. Then the animals were
undergo oxidation at these potentials (FIG.3). Several other           tested for neurological deficits, Sacrificed, and the infarct
natural and Synthetic cannabinoids, including cannabidiol, Volume calculated. To examine the infarct volume, animals
nabilone, and levanantrodol were also tested, and they too were anesthetized, ex-Sanguinated, and a metabolically
exhibited oxidation profiles similar to cannabidiol and THC 25 active dye (3-phenyl tetrazolium chloride) was pumped
(data not shown).                                              throughout the body. All living tissues were Stained pink by
                       EXAMPLE 6                               the dye, while morbid regions of infarcted tissue remained
                                                               white. Brains were then fixed for 24 hours in formaldehyde,
        Iron Catalyzed Dihydrorhodamine Oxidation              Sliced and the infarct Volumes measured.
                     (Fenton Reaction)                            One hour prior to induction of ischemia 20 mg/kg of
   The ability of cannabinoids to be readily oxidized, as cannabidiol was administered by intra-peritoneal injection
illustrated in Example 5, indicated they possess antioxidant (ip) in a 90% saline:5% emulphor 620 (emulsifier):5%
properties comparable to BHT. The antioxidant activity of ethanol vehicle. A Second ip 10 mg/kg dose of cannabidiol
BHT was examined in a Fenton reaction, in which iron is 35 was administered 8 hours later using the same vehicle.
catalyzed to produce ROS. Cannabidiol (CBD) and tetrahy Control animals received injections of vehicle without drug.
drocannabinol (THC) were evaluated for their ability to IV doses would be expected to be 3-5 times less because of
prevent oxidation of dihydrorhodamine to the fluorescent reduction of first pass metabolism.
compound rhodamine. Oxidant was generated by ferrous              The infarct Size and neurological assessment of the test
catalysis (diothionite reduced ferric citrate) oft-butyl hydro 40 animals is shown Table 1.
peroxide in a 50:50 water:acetonitrile (v/v) solution. Dihy
drorhodamine (50 uM) was incubated with 300 uM t-butyl                                        TABLE 1.
hydroperoxide and 0.5 M iron for 5 minutes. After this
time, oxidation was assessed by Spectrofluorimetry (Excit=                Cannabidiol protects rat brains from ischemia damage
500 nm, Emiss=570 nm). Various concentrations of cannab 45                           Volume of Infarct            Behavioral Deficit
inoids and BHT were included to examine their ability to                                            mm3                       Score
prevent dihydrorhodiamine oxidation.
                                                                            Animal          Drug          Control      Drug        Control
   Cannabidiol, THC and BHT all prevented dihydror
hodamine oxidation in a Similar, concentration dependent                       1.          108.2          110.5         3             2
manner (FIG. 4), indicating that cannabinoids have antioxi 50                  2
                                                                               3
                                                                                            83.85
                                                                                             8.41
                                                                                                          119.6
                                                                                                          118.9
                                                                                                                        4
                                                                                                                        3
                                                                                                                                      4
                                                                                                                                      4
dant potency comparable to BHT.                                                4            75.5          177.7         1.            4
  To confirm that cannabinoids act as antioxidants in the                      5            60.53          33.89        1.            3
intact cell, neurons were also incubated with the oxidant                      6
                                                                               7
                                                                                            27.52
                                                                                            23.16
                                                                                                          255.5
                                                                                                          143
                                                                                                                        1.
                                                                                                                        1.
                                                                                                                                      5
                                                                                                                                      4
t-butyl hydroperoxide and varying concentrations of canna                    Mean           55.3          137.O         2.O           3.7
bidiol (FIG. 5A). The t-butyl hydroperoxide oxidant was 55                   SEM            13.8           25.7         0.5           0.4
chosen for its Solubility in both aqueous and organic                                    p = 0.016 significant        p = 0.015 significant
Solvents, which facilitates oxidation in both cytosolic and
membrane cell compartments. Cell toxicity was assessed                 *Neurological scoring is performed on a subjective 1-5 scale of impair
18–20 hours after insult by measuring lactate dehydrogenase            ment. O = no impairment, 5 = severe (paralysis)
(LDH) release into the culture media. All experiments were 60 This data shows that infarct size was approximately halved
conducted with triple or quadruple values at each point and in the animals treated with cannabidiol, which was also
all plates contained positive (glutamate alone) and baseline accompanied by a Substantial improvement in the neuro
controls. The assay was validated by comparison with an logical Status of the animal.
XTT based metabolic activity assay. As shown in FIG. 5A,      These Studies with the nonpsychotropic marijuana
cannabidiol protected neurons against ROS toxicity in a 65 constituent, cannabidiol, demonstrate that protection can be
dose related manner, with an ECso of about 6 uM. The achieved against both glutamate neurotoxicity and free
maximum protection observed was 88+9%.                     radical induced cell death. THC, the psychoactive principle
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of cannabis, also blocked glutamate neurotoxicity with a         is not toxic, even when chronically administered to humans
potency Similar to cannabidiol. In both cases, neuroprotec       or given in large acute doses (700 mg/day).
tion is unaffected by the presence of a cannabinoid receptor
antagonist. These results therefore Surprisingly demonstrate                            EXAMPLE 8
that cannabinoids can have useful therapeutic effects that are       Effect of Cannabidiol on Lipoxygenase Enzymes
not mediated by cannabinoid receptors, and therefore are not
necessarily accompanied by psychoactive side effects. Can          This example describes in vitro and in Vivo assays to
nabidiol also acts as an anti-epileptic and anxiolytic, which    examine the effect of cannabidiol (CBD) on three lipoxy
makes it particularly useful in the treatment of neurological    genase (LO) enzymes: 5-LO, 12-LO and 15-LO.
diseases in which neuroanatomic defects can predispose to        In vitro Enzyme ASSay
Seizures (e.g. Subarachnoid hemorrhage).                           The ability of CBD to inhibit lipoxygenase was examined
   A particular advantage of the cannabinoid compounds of        by measuring the time dependent change in absorption at
the present invention is that they are highly lipophilic, and    234 nM following addition of 5 U of each lipoxygenase
have good penetration into the central nervous System. The (rabbit 15-LO purchased from Biomol (PA), porcine 12-LO
Volume of distribution of Some of these compounds is at 15 purchased from Cayman chemicals (MI)) to a Solution
least 100 L in a 70 kg person (1.4 L/kg), more particularly      containing 10 um (final concentration) linoleic acid.
at least 250 L, and most particularly 500 L or even 700 L in       Enzyme Studies were performed using a u.V. Spectropho
a 70 kg person (10 L/kg). The lipophilicity of particular        tometer and a 3 ml quartz cuvette containing 2.5 ml of a
compounds is also about as great as that of THC, cannabidiol     stirred solution of 12.5 uM sodium linoleic acid (sodium
or other compounds that have excellent penetration into the      salt) in solution A (25 mM Tris (pH 8.1), 1 mM EDTA 0.1%
brain and other portions of the CNS.                             methyl cellulose). The reaction was initiated by addition of
   Cannabinoids that lack psychoactivity or psychotoxicity       0.5 ml enzyme solution (10U/ml enzyme in solution A) and
are particularly useful embodiments of the present               recorded for 60 Seconds. Lipoxygenase exhibits non
invention, because the absence of Such Side effects allows       Michaelis-Menten kinetics, an initial “lag” (priming) phase
very high doses of the drug to be used without encountering 25 followed by a linear phase which is terminated by product
unpleasant Side effects (such as dysphoria) or dangerous inhibition. These complications were reduced by assessing
complications (Such as obtundation in a patient who may          enzyme activity (change in absorption) over the “steepest”
already have an altered mental status). For example, thera     20 Second period in a 60 Second run time. Recordings
peutic antioxidant blood levels of cannabidiol can be 5-20 examined the absorption at 234 nm minus the value at a
mg/kg, without significant toxicity, while blood levels of reference wavelength of 280 nm. Linoleic acid was used as
psychoactive cannabinoids at this level would produce the Substrate rather than arachidonic acid, because the prod
obtundation, headache, conjunctival irritation, and other ucts are less inhibitory to the enzyme, thereby providing a
problems. Particular examples of the compounds of the longer "linear phase'.
present invention have low affinity to the cannabinoid Cell Purification and Separation
receptor, for example a K of greater than 250 nM, for 35 Human platelets and leukocytes were purified from buffy
example Ke500-1000 nM. A compound with a Ke 1000 coat preparations (NIH Blood Bank) using a standard Ficoll
nM is particularly useful, which compound has essentially based centrifugation method used in blood banks. Prior to
no psychoactivity mediated by the cannabinoid receptor.        use, cells were washed three times to eliminate contaminat
   Cannabidiol blocks glutamate toxicity with equal potency ing cell types. Cultured rat basophillic leukemia cells (RBL
regardless of whether the insult is mediated by NMDA, 40 2H3) were used as a Source of 5-lipoxygenase.
AMPA or kainate receptors. Cannabidiol and THC have In Vivo Determination of Lipoxygenase Activity
been shown to be comparable to the antioxidant BHT, both          Cells were incubated with arachidonic acid and Stimulated
in their ability to prevent dihydrorhodamine oxidation and in with the calcium ionophore A23 187. Lipids were extracted
their cyclic Voltametric profiles. Several Synthetic cannab and separated by reverse phase HPLC. Product formation
inoids also exhibited profiles similar to the BHT, although 45 was assessed as the area of a peak that co-eluted with an
anandamide, which is not structurally related to               authentic Standard, had a greater absorbance at 236 nm than
cannabinoids, did not. These findings indicate that cannab at either 210 or 280 nm, and the formation of which was
inoids act as antioxidants in a non-biological situation, inhibited by a lipoxygenase inhibitor.
which was confirmed in living cells by showing that can           Cell pellets were triturated in DMEM culture media,
nabidiol attenuates hydroperoxide induced neurotoxicity. 50 aliquoted and pre-incubated for 15 minutes with 20 uM
The potency of cannabidiol as an antioxidant was examined arachidonic acid and varying concentrations of cannabidiol
by comparing it on an equimolar basis with three other and/or 40 um nordihydroguaiaretic acid (a lipxygenase
commonly used compounds.                                       inhibitor). Platelets and leukocytes were also pre-incubated
   In the AMPA/kainate receptor dependent neurotoxicity with 80 uM manoalide (Biomol) to prevent phospholipase
model, cannabidiol neuroprotection was comparable to the 55 A2 activation. Product formation was initiated by addition
potent antioxidant, BHT, but Significantly greater than that of 5uM A23.187 and incubation for 10 minutes at 37° C. At
observed with either C-tocopherol or ascorbate. This unex the end of the incubation, the reaction was Stopped by
pected Superior antioxidant activity (in the absence of BHT addition of 15% 1M HCl and 10 ng/ml prostaglandin B2
tumor promoting activity) shows for the first time that          (internal standard). Lipids were extracted with 1 volume of
cannabidiol, and other cannabinoids, can be used as anti 60 ethyl ether, which was dried under a Stream of nitrogen.
oxidant drugs in the treatment (including prophylaxis) of      Samples were reconstituted in 50% acetonitrile:50% HO
oxidation associated diseases, and is particularly useful as a and Separated by reverse phase HPLC using a gradient
neuroprotectant. The therapeutic potential of nonpsychoac running from 63% acetonitrile: 37% HO:0.2% acetic acid
tive cannabinoids is particularly promising, because of the to 90% acetonitrile (0.2% acetic acid) over 13 minutes.
absence of psychotoxicity, and the ability to administer 65 Measurement of NMDAr Toxicity
higher doses than with psychotropic cannabinoids, Such as         The ability of 12-HETE (12-(S)-hydroxy-eicosatetraenoic
THC. Previous studies have also indicated that cannabidiol     acid, the product of the action of 12-lipoxygenase on arachi
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donic (eicosatetraenoic) acid) to protect cortical neurons any conventional medium for intravenous injection Such as
from NMDAr toxicity was measured as described in           an aqueous Saline medium, or in blood plasma medium.
Example 3. The 12-HETE (0.5 lug/ml) was added either Such medium may also contain conventional pharmaceuti
during ischemia (co-incubated with the glutamate), during cal adjunct materials. Such as, for example, pharmaceutically
post-ischemia (co-incubated with the DMEM after washing acceptable Salts to adjust the osmotic pressure, lipid carriers
the cells), or during both ischemia and post-ischemia.     Such as cyclodextrins, proteins Such as Serum albumin,
Results                                                    hydrophilic agents Such as methyl cellulose, detergents,
   Using Semi-purified enzyme preparations, the effect of buffers, preservatives and the like. Given the low solubility
CBD on rabbit 15-LO and porcine 12-LO was compared. As of many cannabinoids, they may be Suspended in Sesame oil.
shown in FIGS. 6A and B, CBD is a potent competitive          Given the excellent absorption of the compounds of the
inhibitor of 15-LO with an ECso of 598 nM. However, CBD present invention via an inhaled route, the compounds may
had no effect on the 12-LO enzyme.                         also be administered as inhalants, for example in pharma
   Using whole cell preparations, the effect of CBD on 5 ceutical aerosols utilizing Solutions, Suspensions, emulsions,
and 12-LO enzymes was investigated. As shown in FIG. 7A, powders and Semisolid preparations of the type more fully
CBD inhibited 5-LO in cultured rat basophillic leukemia 15 described in Remington. The Science and Practice of Phar
cells (RBL-2H3) with an ECs of 1.92 uM. However, CBD macy (19" Edition, 1995) in chapter 95. A particular inhal
had no effect on 12-LO, as monitored by the production of ant form is a metered dose inhalant containing the active
12-HETE (the product of 12-LO), in either human leuko              ingredient, in a Suspension or a dispersing agent (Such as
cytes or platelets (FIGS. 7B and C). The leukocyte 12-LO is      Sorbitan trioleate, oleyl alcohol, oleic acid, or lecithin, and a
similar, while the platelet 12-LO is structurally and func propellant such as 12/11 or 12/114).
tionally different, from the porcine 12-LO used in the in           Embodiments of the invention comprising pharmaceutical
Vitro enzyme Study.                                              compositions can be prepared with conventional pharma
   The ability of 12-HETE to protect cortical neurons from ceutically acceptable carriers, adjuvants and counterions as
NMDAr toxicity is shown in FIG. 8. To achieve best would be known to those of skill in the art. The compositions
protection from NMDAr toxicity, 12-HETE was adminis 25 are preferably in the form of a unit dose in Solid, Semi-Solid
tered both during and post ischemia.                             and liquid dosage forms Such as tablets, pills, powders,
   Therefore, CBD serves as a selective inhibitor of at least    liquid Solutions or Suspensions, injectable and infusible
two lipoxygenase enzymes, 5-LO and 15-LO, but had no Solutions, for example a unit dose Vial, or a metered dose
effect on 12-LO. Importantly, this is the first demonstration
(FIG. 8) that the 12-LO product 12-HETE can play a inhaler.                Effective oral human dosage ranges for cannabidiol
                                                                 are contemplated to vary from about 1-40 mg/kg, for
significant role in protecting neurons from NMDAr medi example 5–20 mg/kg, and in particular a dose of about 20
ated toxicity. Although the mechanism of this protection is mg/kg of body weight.
unknown at the present time, 12-HETE is known to be an              If the antioxidant drugs are to be used in the prevention of
important neuromodulator, due to its ability to influence cataracts,         they may be administered in the form of eye drops
potassium channel activity.                                   35
                                                                 formulated in a pharmaceutically inert, biologically accept
                        EXAMPLE 9                                  able carrier, Such as isotonic Saline or an ointment. Conven
                                                               tional preservatives, Such as benzalkonium chloride, can
                    Methods of Treatment                       also be added to the formulation. In ophthalmic ointments,
   The present invention includes a treatment that inhibits 40 the active ingredient is admixed with a Suitable base, Such as
oxidation associated diseases in a Subject Such as an animal, white petrolatum and mineral oil, along with antimicrobial
for example a rat or human. The method includes adminis preservatives. Specific methods of compounding these dos
tering the antioxidant drugs of the present invention, or a age forms, as well as appropriate pharmaceutical carriers,
combination of the antioxidant drug and one or more other are known in the art. Remington. The Science and Practice
pharmaceutical agents, to the Subject in a pharmaceutically 45 of Pharmacy, 19th Ed., Mack Publishing Co. (1995), par
compatible carrier and in an effective amount to inhibit the ticularly Part 7.
development or progression of oxidation associated dis            The compounds of the present invention are ideally
eases. Although the treatment can be used prophylactically administered as Soon as a diagnosis is made of an ischemic
in any patient in a demographic group at Significant risk for event, or other oxidative insult. For example, once a myo
Such diseases, Subjects can also be Selected using more 50 cardial infarction has been confirmed by electrocardiograph,
Specific criteria, Such as a definitive diagnosis of the con or an elevation in enzymes characteristic of cardiac injury
dition. The administration of any exogenous antioxidant (e.g. CKMB), a therapeutically effective amount of the
cannabinoid would inhibit the progression of the oxidation cannabinoid drug is administered. A dose can also be given
asSociated disease as compared to a Subject to whom the following Symptoms characteristic of a stroke (motor or
cannabinoid was not administered. The antioxidant effect, 55 Sensory abnormalities), or radiographic confirmation of a
however, increases with the dose of the cannabinoid.         cerebral infarct in a distribution characteristic of a neurovas
   The vehicle in which the drug is delivered can include cular thromboembolic event. The dose can be given by
pharmaceutically acceptable compositions of the drugs of frequent bolus administration, or as a continuous IV dose. In
the present invention using methods well known to those the case of cannabidiol, for example, the drug could be given
with skill in the art. Any of the common carriers, Such as 60 in a dose of 5 mg/kg active ingredient as a continuous
Sterile Saline or glucose Solution, can be utilized with the intravenous infusion; or hourly intramuscular injections of
drugs provided by the invention. Routes of administration that dose.
include but are not limited to oral, intracranial ventricular                             EXAMPLE 10
(icv), intrathecal (it), intravenous (iv), parenteral, rectal,
topical ophthalmic, Subconjunctival, nasal, aural, Sub 65            The following table lists examples of Some dibenzopyran
lingual (under the tongue) and transdermal. The antioxidant        cannabinoids that may be useful as antioxidants in the
drugs of the invention may be administered intravenously in        method of the present invention.
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                                                                               24
          -continued                                                     -continued
                                                 26                                                    32
   COOH

                                                                OH
               OH                                                                  OH




                                                                                           COOH
     O                                                                    O

                         OH

                                                                                                       33
                                                 27                  OH
   COOH
                                                      15

               OH                                                             OH

                              OH


     O                                                               O                    COOH


                                                 28
   COOH                                               25                                               34

                                                            HO
               OH
                                                                                   OH




     O
                                                                          O                    COOH
                                   OH
                                                      35
                                                 29                                                    35
   COOH
                                                           HO
                                                                              OH
               OH
                                                      40
                                        OH
                                                                                                COOH
                                                                     O
     O
                                                      45
                                                                                                       36
     COOH
                                                           HO
                    OH                                                        OH
                                                      50



                                   CH2OH                                                        COOH
                                                                     O                   N
          O
                                                      55

                                                 31                                                    37
          OH                                                         COOH


                                                      60                           OH
                    OH




                                   COOH                                   O             COOH
                                                      65
          O
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                   25                                                                      26
           -continued                                                              -continued
                                                38                                                                      41
     COOH                                                                   COOH

                                                     5
                   OH                                                                  OH




                        COOH


                                                39
                                                     1O
                                                                              DO                        COOH


    COOH

                                                     15
               OH
                                                                                    EXAMPLE 11


                         COOH                        2O
                                                                  Examples of Structural Analogs of Cannabidiol
                                                40
   COOH

                                                     25     The following table lists examples of Some cannabinoids
              OH
                                                          which are Structural analogs of cannabidiol and that may be
                                                          useful as antioxidants in the method of the present invention.
                                                          A particularly useful example is compound CBD, canna
                          COOH                       3O   bidiol.




                               Compound

                                          R19                                                     R19
                               R20                                                          R20
                                                          OR21                                                 OH




                                     21N 1                                                              OH




                               44 CBD                        CH         H              H      H   H
                               45 7-OHCBD                  CHOH
                               46 60                        CH
                               47 6.B-                      CH
                               48 1"-                       CH,                       OH
                               49 2'-                       CH,                              OH
                               503"-                        CH,                                   OH
                               514"-                        CH                                          OH
                               525"-                        CH                                                 CHCH-OH
                               536,7-diCH-CBD              CH-OH       OH
                               543",7-diCH-CBD             CHOH                                   OH
                               55 4",7-diCH-CBD            CHOH                                         OH
                               56 CBD-7-oic acid            COOH
                               57 CBD-3"-oic acid            CH,                                               CHCOOH
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                                                                                                              28
                                                -continued
Compound                      R19         R2o         R21   R22    R23   R24
         R19                                                             R19
R20                                                               R20
                                                                                    OH


                                          R23         R25

               O

                                    R22         R24
58 CEN                        CH           H          H     H       H    H
59 7-OH-CBN               CHOH
6O 1'-OH-CBN               CH,                              OH
61. 2'-OH-CBN              CH                                      OH
62 3'-OH-CBN               CH                                            OH
63 4'-OH-CBN               CH                                                  OH
64 5'-OH-CBN               CH,                                                      CHCH-OH
65 2"-7-dCH-CBN           CHOH                                     OH
66 CBN-7-oic acid          COOH
67 CBN-1"-oic acid            CH                                                      COOH
68 CBN-3"-oic acid            CH,                                                   CHCOOH
Note: R-group substituents are H if not indicated otherwise.

   The invention being thus described, variation in the                             7. The method of claim 2, wherein the cannabinoid is:
materials and methods for practicing the invention will be
apparent to one of ordinary skill in the art. Such variations                                                 OR1
are to be considered within the scope of the invention, which
is set forth in the claims below.


   We claim:                                                                   35

   1. A method of treating diseases caused by oxidative
StreSS, comprising administering a therapeutically effective where
amount of a cannabinoid that has Substantially no binding to   A is cyclohexyl, Substituted or unsubstituted aryl, or
the NMDA receptor to a subject who has a disease caused by 40
oxidative StreSS.                                                                                              R5
   2. The method of claim 1, wherein the cannabinoid is
nonpsychoactive.
   3. The method of claim 2, wherein the cannabinoid has a
volume of distribution of 10 L/kg or more.                                     45
   4. The method of claim 1, wherein the cannabinoid is not                                            HC
an antagonist at the NMDA receptor.
   5. The method of claim 1, wherein the cannabinoid is:
                          7
                           CH                                                  50     but not a pinene;
                                                                                    R is H, Substituted or unsubstituted alkyl, or substituted
                                                                                      or unsubstituted carboxyl,
                                                                                    R is H, lower substituted or unsubstituted alkyl, or
                                                                                      alkoxy,
                                                                               55
                                                                                    R is of H, lower substituted or unsubstituted alkyl, or
                                                                                      Substituted or unsubstituted carboxyl;
                                                                                    R is H, hydroxyl, or lower substituted or unsubstituted
                                                                                      alkyl, and
                                                                               60   Rs is H, hydroxyl, or lower substituted or unsubstituted
                                                                                      alkyl.
                                                                                    8. The method of claim 7, wherein
where R is H, substituted or unsubstituted alkyl, carboxyl,                         R is lower alkyl, COOH or COCH;
alkoxy, aryl, aryloxy, arylalkyl, halo or amino.                                    R is unsubstituted C-C alkyl, hydroxyl, methoxy or
                                                                               65    ethoxy,
   6. The method of claim 5, wherein R is H, Substituted or                         R is H, unsubstituted C-C alkyl, or COCH;
unsubstituted alkyl, carboxyl or alkoxy.                                            R is hydroxyl, pentyl, heptyl, or diemthylheptyl; and
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                             29                                                                                30
  Rs is hydroxyl or methyl.                                                                 -continued
  9. The method of claim 1, wherein the cannabinoid is:                              R19

                                                                        R20                                 OR21

                                                                                                                               R23             R25

                                                                               21          OH
                                           O
                                                                                                                         R22         R24

                                                              where Rio is H, lower alkyl, lower alcohol, or carboxyl, Rao
                                                              is H or OH; and Re-Rs are independently H or OH.
                                                           15    12. The method of claim 11, wherein Rio is H, CH,
                                                              CHOH, or COOH, and Ro-R are independently H or
                                                                OH.
                                                                  13. The method of claim 2, wherein the cannabinoid is:
                                                                                           R19
                                                                               R20
                                                                                                                    OH


                                                           25                                                                              O



where R, R and R are independently H, CH, or COCH.                                                    OH                       R26
                                                                                                R19
  10. The method of claim 9, wherein the cannabinoid is:                             R20
                                                                                                                         OH




                                                           35
                                                                                                       O                             R26


                                                                where Ro and Rao are H, and R2 is alkyl.
                                                                  14. The method of claim 10, wherein the cannabinoid is
                                                           40   cannabidiol.
                                                                   15. A method of treating an ischemic or neurodegenera
                                                                tive disease in the central nervous System of a Subject,
                                                                comprising administering to the Subject a therapeutically
where:                                                          effective amount of a cannabinoid, where the cannabinoid is
                                                           45
                                                                                            7
                                                                                             CH
                                                                                                 1.

                                                                                       6                   2         OR
                                                           50                                          3
                                                                                                       ''                        R
                                                                                       5        4

                                                                                            8



  11. The method of claim 2, wherein the cannabinoid is: 55
                                                                                 cu        H3 10
                                                                                                       OR            5          C5H11



            R19                                                 where R is H, substituted or unsubstituted alkyl, carboxyl,
                                                                alkoxy, aryl, aryloxy, arylalkyl, halo or amino.
                      OR21                                        16. The method of claim 15, wherein the cannabinoid is
                                                           60   not a psychoactive cannabinoid.
                                                                  17. The method of claim 15 where the ischemic or
                                                                neurodegenerative disease is an ischemic infarct, Alzhe
                                                  O
                                                                imer's disease, Parkinson's disease, and human immunode
                                                              ficiency virus dementia, Down's Syndrome, or heart disease.
                                                           65    18. A method of treating a disease with a cannabinoid that
                                                              has substantially no binding to the NMDA receptor, com
                                                              prising determining whether the disease is caused by oxi
       Case 2:23-cv-01660-NR Document 29 Filed 01/10/24 Page 97 of 131


                                                      US 6,630,507 B1
                              31                                                              32
dative StreSS, and if the disease is caused by Oxidative StreSS,   amount of a compound Selected from any of the compounds
administering the cannabinoid in a therapeutically effective       of claims 9 through 13.
antioxidant amount.                                                  23. The method of claim 22 where the compound is
  19. The method of claim 18, wherein the cannabinoid has          cannabidiol.
a volume of distribution of at least 1.5 L/kg and substantially      24. The method of claim 22, wherein the ischemic or
no activity at the cannabinoid receptor.                           neurodegenerative disease is an ischemic infarct, Alzhe
  20. The method of claim 19, wherein the cannabinoid has          imer's disease, Parkinson's disease, and human immunode
a volume of distribution of at least 10 L/kg.                      ficiency virus dementia, Down's Syndrome, or heart disease.
  21. The method of claim 1, wherein the cannabinoid                 25. The method of claim 24 wherein the disease is an
selectively inhibits an enzyme activity of 5- and                  ischemic infarct.
15-lipoxygenase more than an enzyme activity of
12-lipoxygenase.                                                     26. The method of claim 1, wherein the cannabinoid is not
  22. A method of treating a neurodegenerative or ischemic         an antagonist at the AMPA receptor.
disease in the central nervous System of a Subject, compris
ing administering to the Subject a therapeutically effective
            Case 2:23-cv-01660-NR Document 29 Filed 01/10/24 Page 98 of 131

               UNITED STATES PATENT AND TRADEMARK OFFICE
                     CERTIFICATE OF CORRECTION

PATENT NO.      : 6,630.507 B1                                                                    Page 1 of 1
DATED           : October 7, 2003
INVENTOR(S) : Hampson et al.

       It is certified that error appears in the above-identified patent and that said Letters Patent is
       hereby corrected as shown below:

       Column 13,
       Line 23, “feral' Should read -- fetal --.
       Column 30,
       Line 16, reads “R20-R24' Should read -- R20-R2s --.




                                                                    Signed and Sealed this
                                                              Fifteenth Day of June, 2004


                                                                                  WDJ
                                                                             JON W. DUDAS
                                                      Acting Director of the United States Patent and Trademark Office
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                       EXHIBIT 5
USDOJ Seal    Case 2:23-cv-01660-NR Document 29 Filed 01/10/24 Page 100 of 131
                                               U.S. Department of Justice

                                                          Office of the Deputy Attorney General




   The Deputy Attorney General                            Washington, D.C. 20530




                                                           October 19,2009



    MEMORANDUM FOR SELECTED UNITED STATES ATTORNEYS
    FROM:              David W.Ogden-SignatureofDavidOgden
                       Deputy Attorney General

    SUBJECT:           Investigations and Prosecutions in States
                       Authorizing the Medical Use of Marijuana

            This memorandum provides clarification and guidance to federal prosecutors in States
    that have enacted laws authorizing the medical use of marijuana. These laws vary in their
    substantive provisions and in the extent of state regulatory oversight, both among the enacting
    States and among local jurisdictions within those States. Rather than developing different
    guidelines for every possible variant of state and local law, this memorandum provides uniform
    guidance to focus federal investigations and prosecutions in these States on core federal
    enforcement priorities.

           The Department of Justice is committed to the enforcement of the Controlled Substances
   Act in all States. Congress has determined that marijuana is a dangerous drug, and the illegal
   distribution and sale of marijuana is a serious crime and provides a significant source of revenue
   to large-scale criminal enterprises, gangs, and cartels. One timely example underscores the
   importance of our efforts to prosecute significant marijuana traffickers: marijuana distribution in
   the United States remains the single largest source of revenue for the Mexican cartels.

           The Department is also committed to making efficient and rational use of its limited
   investigative and prosecutorial resources. In general, United States Attorneys are vested with
   "plenary authority with regard to federal criminal matters" within their districts. USAM 9-2.001.
   In exercising this authority, United States Attorneys are "invested by statute and delegation from
   the Attorney General with the broadest discretion in the exercise of such authority." Id. This
   authority should, of course, be exercised consistent with Department priorities and guidance.

           The prosecution of significant traffickers of illegal drugs, including marijuana, and the
   disruption of illegal drug manufacturing and trafficking networks continues to be a core priority
   in the Department's efforts against narcotics and dangerous drugs, and the Department's
   investigative and prosecutorial resources should be directed towards these objectives. As a
   general matter, pursuit of these priorities should not focus federal resources in your States on
        Case 2:23-cv-01660-NR Document 29 Filed 01/10/24 Page 101 of 131




Memorandum for Selected United States Attorneys                                          Page 2
Subject: Investigations and Prosecutions in States Authorizing the Medical Use of Marijuana


individuals whose actions are in clear and unambiguous compliance with existing state laws
providing for the medical use of marijuana. For example, prosecution of individuals with cancer
or other serious illnesses who use marijuana as part of a recommended treatment regimen
consistent with applicable state law, or those caregivers in clear and unambiguous compliance
with existing state law who provide such individuals with marijuana, is unlikely to be an efficient
use of limited federal resources. On the other hand, prosecution of commercial enterprises that
unlawfully market and sell marijuana for profit continues to be an enforcement priority of the
Department. To be sure, claims of compliance with state or local law may mask operations
inconsistent with the terms, conditions, or purposes of those laws, and federal law enforcement
should not be deterred by such assertions when otherwise pursuing the Department's core
enforcement priorities.

         Typically, when any of the following characteristics is present, the conduct will not be in
clear and unambiguous compliance with applicable state law and may indicate illegal drug
trafficking activity of potential federal interest:

    •   unlawful possession or unlawful use of firearms;
    •   violence;
    •   sales to minors;
    •   financial and marketing activities inconsistent with the terms, conditions, or purposes of
        state law, including evidence of money laundering activity and/or financial gains or
        excessive amounts of cash inconsistent with purported compliance with state or local law;
    •   amounts of marijuana inconsistent with purported compliance with state or local law;
    •   illegal possession or sale of other controlled substances; or
    •   ties to other criminal enterprises.

        Of course, no State can authorize violations of federal law, and the list of factors above is
not intended to describe exhaustively when a federal prosecution may be warranted.
Accordingly, in prosecutions under the Controlled Substances Act, federal prosecutors are not
expected to charge, prove, or otherwise establish any state law violations. Indeed, this
memorandum does not alter in any way the Department's authority to enforce federal law,
including laws prohibiting the manufacture, production, distribution, possession, or use of
marijuana on federal property. This guidance regarding resource allocation does not "legalize"
marijuana or provide a legal defense to a violation of federal law, nor is it intended to create any
privileges, benefits, or rights, substantive or procedural, enforceable by any individual, party or
witness in any administrative, civil, or criminal matter. Nor does clear and unambiguous
compliance with state law or the absence of one or all of the above factors create a legal defense
to a violation of the Controlled Substances Act. Rather, this memorandum is intended solely as a
guide to the exercise of investigative and prosecutorial discretion.
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Memorandum for Selected United States Attorneys                                          Page 3
Subject: Investigations and Prosecutions in States Authorizing the Medical Use of Marijuana


        Finally, nothing herein precludes investigation or prosecution where there is a reasonable
basis to believe that compliance with state law is being invoked as a pretext for the production or
distribution of marijuana for purposes not authorized by state law. Nor does this guidance
preclude investigation or prosecution, even when there is clear and unambiguous compliance
with existing state law, in particular circumstances where investigation or prosecution otherwise
serves important federal interests.

        Your offices should continue to review marijuana cases for prosecution on a case-by-case
basis, consistent with the guidance on resource allocation and federal priorities set forth herein,
the consideration of requests for federal assistance from state and local law enforcement
authorities, and the Principles of Federal Prosecution.


cc: All United States Attorneys

    Lanny A. Breuer
    Assistant Attorney General
    Criminal Division

    B. Todd Jones
    United States Attorney
    District of Minnesota
    Chair, Attorney General's Advisory Committee

    Michele M. Leonhart
    Acting Administrator
    Drug Enforcement Administration

    H. Marshall Jarrett
    Director
    Executive Office for United States Attorneys

   Kevin L. Perkins
   Assistant Director
   Criminal Investigative Division
   Federal Bureau of Investigation
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                       EXHIBIT 6
                     Case 2:23-cv-01660-NR Document 29 Filed 01/10/24 Page 104 of 131
                   USDA

                 JUL 1 0 2012
United States
Department of
Agriculture
                 SUBJECT:       Medical Deductions—Medical Marijuana and Other Illegal Substances
Food and
Nutrition           TO:         All Regional Directors
Service
                                Supplemental Nutrition Assistance Program
3101 Park
Center Drive
                 This memorandum is to reaffirm Food and Nutrition Service (FNS) policy regarding the
Alexandria, VA   Supplemental Nutrition Assistance Program (SNAP) medical deduction and medicinal
22302-1500       marijuana. Due to the increase in the number of States with laws that permit the use of
                 marijuana for medicinal purposes, FNS is now reaffirming its long standing policy that a
                 household may not utilize the SNAP medical deduction for the cost of any substance
                 considered illegal under Federal law.

                 Section 5(e)(5) of the Food and Nutrition Act of 2008 (FNA), 7 U.S.C. § 2011 et seq.,
                 allows households with elderly or disabled members to deduct "allowable medical
                 expenses" from their income for the purposes of SNAP eligibility. This statutory
                 provision is designed to allow elderly or disabled households, who often have significant
                 medical costs, to receive food help. Section 3(c)(3) of the FNA defines "allowable
                 medical expenses" to include "expenditures for prescription drugs when prescribed by a
                 licensed practitioner authorized under State law." There is no provision in the FNA that
                 allows households to deduct the cost of substances considered illegal under Federal law.

                 Currently eighteen States have state statutory provisions that allow doctors to prescribe
                 medicinal marijuana to patients in limited circumstances. It has come to FNS' attention
                 that some State agencies are allowing elderly or disabled households to deduct the cost of
                 medicinal marijuana from their income for SNAP purposes. Under the Controlled
                 Substances Act, 21 U.S.C. § 801 et seq., marijuana is a Schedule I controlled substance
                 that has no currently accepted medical use and cannot be prescribed for medicinal
                 purposes. 21 U.S.C. § 812(b)(1), (c). SNAP is a Federal program and must conform to
                 Federal law regarding illegal substances. Therefore, marijuana and other Schedule I
                 controlled substances are not "allowable medical expenses" under Federal law.

                 States that currently allow for the deduction of medical marijuana must cease this practice
                 immediately and make any necessary corrections to their State policy manuals and
                 instructions. Cases that cannot be readily identified must be corrected at the time of
                 recertification or periodic report, whichever is sooner. States that are not in compliance
                 may face penalties for any overissuance of SNAP benefits.

                 Should you have any questions about this policy, please contact Angela Kline at
                 Angela.Kline@fns.usda.gov.




                 Lizbeth Silbermann
                 Director
                 Program Development Division

                                              AN EQUAL OPPORTUNITY EMPLOYER
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       DEPARTMENT OF HEALTH &. HUMAN SERVICES                                   Office of the Secretary


                                                                                Washington DC 20201




DETERMINATION THAT A PUBLIC HEALTH EMERGENCY EXISTS



As a result of the consequences of the opioid crisis affecting our Nation, on this date and after
consultation with public health officials as necessary, I, Eric D. Hargan, Acting Secretary of Health and
Human Services, pursuant to the authority vested in me under section 319 of the Public Health Service
Act, do hereby determine that a public health emergency exists nationwide.




Date     I                                             Eric D. Hargan
                                                       Acting Secretary
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                       EXHIBIT 9
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Department of Veterans Affairs                                        VHA DIRECTIVE 1315
Veterans Health Administration                                           Transmittal Sheet
Washington, DC 20420                                                         July 28, 2023

  ACCESS TO VHA CLINICAL PROGRAMS FOR VETERANS PARTICIPATING IN
              STATE-APPROVED MARIJUANA PROGRAMS

1. SUMMARY OF MAJOR CHANGES: This directive:

  a. Updates roles, titles and responsibilities for the Assistant Under Secretary for
Health for Patient Care Services and Assistant Under Secretary for Health for
Operations and adds responsibilities for the Executive Director, Health Solutions and
Department of Veterans Affairs (VA) health care provider (see paragraph 2).

   b. Removes responsibilities for the Chief Consultant, Population Health Services.

   c. Clarifies definition of marijuana to account for updates in 21 U.S.C. § 802(16) as a
result of section 12619 of the Agriculture Improvement Act of 2018 (P.L. 114-334).

2. RELATED ISSUES: None.

3. POLICY OWNER: Health Solutions (12POP2) within the Office of Patient Care
Services (12PCS) is responsible for the content of this directive. Questions may be
referred to the Executive Director, Health Solutions at Health.Solutions@va.gov.

4. RESCISSIONS: VHA Directive 1315, Access to VHA Clinical Programs for Veterans
Participating in State-Approved Marijuana Programs, dated December 8, 2017, is
rescinded.

5. RECERTIFICATION: This Veterans Health Administration (VHA) directive is
scheduled for recertification on or before the last working day of July 2028. This VHA
directive will continue to serve as national VHA policy until it is recertified or rescinded.

6. IMPLEMENTATION SCHEDULE: This directive is effective upon publication.



                                              BY DIRECTION OF THE OFFICE OF
                                              THE UNDER SECRETARY FOR HEALTH:



                                              /s/ M. Christopher Saslo
                                              DNS, ARNP-BC, FAANP
                                              Assistant Under Secretary for Health
                                              for Patient Care Services/CNO

NOTE: All references herein to VA and VHA documents incorporate by reference
subsequent VA and VHA documents on the same or similar subject matter.


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DISTRIBUTION: Emailed to the VHA Publications Distribution List on July 31, 2023.




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July 28, 2023                                                                                                       VHA DIRECTIVE 1315


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  ACCESS TO VHA CLINICAL PROGRAMS FOR VETERANS PARTICIPATING IN
              STATE-APPROVED MARIJUANA PROGRAMS

1. POLICY

    It is Veterans Health Administration (VHA) policy that Department of Veteran Affairs
(VA) health care providers discuss relevant clinical information regarding marijuana use
with Veterans who request information about marijuana or report marijuana use and
document this information in the Veteran’s electronic health record (EHR). NOTE:
Clinical treatment decisions based on marijuana use must be made on a case-by-case
basis based on concerns regarding Veteran health and safety. Veterans must not be
denied VHA services solely because they are participating in a State-approved
marijuana program or because they acknowledge use of marijuana. To comply with
Federal laws such as the Controlled Substances Act (21 U.S.C. § 801 et. seq.), VA
health care providers are prohibited from recommending, making referrals to,
completing forms or registering Veterans for participation in a State-approved marijuana
program. AUTHORITY: 38 U.S.C. § 7301(b).

2. RESPONSIBILITIES

   a. Under Secretary for Health. The Under Secretary for Health is responsible for
ensuring VHA compliance with this directive.

  b. Assistant Under Secretary for Health for Patient Care Services. The Assistant
Under Secretary for Health for Patient Care Services is responsible for supporting
Health Solutions with implementation and oversight of this directive.

   c. Assistant Under Secretary for Health for Operations. The Assistant Under
Secretary for Health for Operations is responsible for:

   (1) Communicating the contents of this directive to each of the Veterans Integrated
Services Networks (VISNs).

    (2) Assisting VISN Directors to resolve implementation and compliance challenges in
all VA medical facilities within that VISN.

    (3) Providing oversight of VISNs to ensure compliance with this directive and its
effectiveness.

   (4) Ensuring that all VISN Directors and VA medical facility Directors are aware that
VA health care providers may assess Veteran use of marijuana but that they are
prohibited from recommending, making referrals to, completing forms or registering
Veterans for participation in State-approved marijuana programs.

    d. Executive Director, Health Solutions. The Executive Director, Health Solutions
is responsible for providing oversight for the VISN and VA medical facility compliance
with this directive and ensuring corrective action is taken when non-compliance is
identified.

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   e. Veterans Integrated Service Network Director. The VISN Director is
responsible for:

   (1) Ensuring that all VA medical facilities within the VISN comply with this directive
and informing leadership when barriers to compliance are identified.

    (2) Communicating to VA medical facility Directors that VA health care providers may
assess Veteran use of marijuana but are prohibited from recommending, making
referrals to, completing forms or registering Veterans for participation in State-approved
marijuana programs.

       f. VA Medical Facility Director. The VA medical facility Director is responsible
for:

   (1) Ensuring overall VA medical facility compliance with this directive and that
appropriate corrective action is taken if non-compliance is identified.

  (2) Ensuring VA health care providers discuss relevant clinical information regarding
marijuana with each Veteran who requests information about marijuana or reports
marijuana use and document this discussion in the Veteran’s EHR.

   (3) Ensuring VA medical facility staff are aware of the prohibition on recommending,
making referrals to, completing forms or registering Veterans for participation in State-
approved marijuana programs.

   (4) Ensuring that if a Veteran presents an authorization for marijuana to a VA health
care provider, the Veteran is made aware that the VA medical facility will not provide
marijuana to the Veteran, including payment or reimbursement for marijuana to be
provided to the Veteran.

   (5) Ensuring VA medical facility staff are aware, and inform VA patients, that
possession of marijuana while on VA medical facility property, including that obtained
from a State-approved marijuana program, is a violation of 38 C.F.R. § 1.218(a)(7) and
subject to prosecution under the Controlled Substances Act, 21 U.S.C. § 844.

   (6) Ensuring that if a Veteran reports marijuana use or participation in a State-
approved marijuana program to a member of the clinical staff, that information is
documented in the Veteran’s EHR and considered in the development or modification of
the treatment plan on a case-by-case basis based on concerns regarding Veteran
health and safety.

   g. VA Health Care Provider. The VA health care provider is responsible for, if a
Veteran reports marijuana use or participation in a State-approved marijuana
program, discussing relevant clinical information regarding marijuana with the
Veteran and documenting this information in the Veteran’s EHR. This includes
discussing how their use of marijuana may relate to other clinical activities such as
how marijuana may interact with other medications the Veteran is taking, or how the
use of marijuana may impact other aspects of care such as pain management and

                                                                                            2
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treatment of mental health disorders, including but not limited to post-traumatic stress
disorder, or substance use disorder treatment.

3. TRAINING

    There are no formal training requirements associated with this directive. A VA
factsheet is available at: https://www.publichealth.va.gov/marijuana.asp.

4. RECORDS MANAGEMENT

    All records regardless of format (e.g., paper, electronic, electronic systems) created
by this directive must be managed as required by the National Archives and Records
Administration (NARA) approved records schedules found in VHA Records Control
Schedule 10-1. Questions regarding any aspect of records management should be
addressed to the appropriate Records Officer.

5. DEFINITIONS

    a. Controlled Substances Act. The Controlled Substances Act (21 U.S.C. § 801 et
seq.) places all substances which are in some manner regulated under existing Federal
law into one of five schedules based on their medical use, potential for abuse and safety
or dependency liability. Schedule I includes drugs or other substances with a high
potential for abuse, without a currently accepted medical use in the United States and
lacking accepted safety for use under medical supervision. Marijuana is classified as a
Schedule I drug.

   b. Marijuana. For purposes of this directive, marijuana is all parts of the plant
Cannabis sativa L., whether growing or not; the seeds thereof; the resin extracted from
any part of such plant; and every compound, manufacture, salt, derivative, mixture or
preparation of such plant, its seeds or resin. This term does not include:

    (1) Hemp, defined as the plant Cannabis sativa L. and any part of that plant,
including the seeds thereof and all derivatives, extracts, cannabinoids, isomers, acids,
salts, and salts of isomers, whether growing or not, with a delta-9 tetrahydrocannabinol
(THC) concentration of not more than 0.3% on a dry weight basis.

    (2) The mature stalks of such plant, fiber produced from such stalks, oil or cake
made from the seeds of such plant, any other compound, manufacture, salt, derivative,
mixture or preparation of such mature stalks (except the resin extracted therefrom),
fiber, oil or cake or the sterilized seed of such plant which is incapable of germination.

6. REFERENCES

   a. 7 U.S.C. § 1639o.

   b. 21 U.S.C. §§ 801 et seq.

   c. 38 C.F.R. § 1.218(a)(7).

                                                                                             3
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    d. VA Public Health, VA and Marijuana – What Veterans Need to Know.
https://www.publichealth.va.gov/marijuana.asp.




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                            RULES AND REGULATIONS
                                Title 28—HEALTH AND SAFETY
                                         DEPARTMENT OF HEALTH

                                    [ 28 PA. CODE CHS. 1141 AND 1151 ]

                   Medical Marijuana; General Provisions; Growers/Processors; Amended
                                        Temporary Regulations

                                                    [48 Pa.B. 2767]
                                               [Saturday, May 12, 2018]

             The Department of Health (Department) is publishing amended temporary regulations in
          Chapters 1141 and 1151 (relating to general provisions—temporary regulations; and
          growers/processors—temporary regulations) to read as set forth in Annex A. These amended
          temporary regulations are published under the Medical Marijuana Act (act) (35 P.S. §§ 10231.101
          —10231.2110). Section 1107 of the act (35 P.S. § 10231.1107) specifically provides that, to
          facilitate the prompt implementation of the act, the Department may promulgate temporary
          regulations that are not subject to sections 201—205 of the act of July 31, 1968 (P.L. 769, No. 240)
          (45 P.S. §§ 1201—1205), known as the Commonwealth Documents Law, the Regulatory Review
          Act (71 P.S. §§ 745.1—745.14) and sections 204(b) and 301(10) of the Commonwealth Attorneys
          Act (71 P.S. §§ 732-204(b) and 732-301(10)).

             To implement the Medical Marijuana Program, the Department periodically published temporary
          regulations regarding various sections of the act. Chapter 1141 sets forth the general requirements
          for the Medical Marijuana Program. Chapter 1151 sets forth the requirements for an entity to
          become permitted and operate as a grower/processor under the act.

             The Department is amending the existing temporary regulations in Chapters 1141 and 1151 for
          the sake of consistency, and to take into account the need for changes that have arisen as each new
          set of temporary regulations has been implemented by the Department. Under section 1202 of the
          act (35 P.S. § 10231.1202), the Department is also amending the existing temporary regulations to
          effectuate the recommendations made by the Medical Marijuana Advisory Board (Board). After
          consideration of the Board's report, the Secretary of Health decided to implement the Board's
          recommendations through the promulgation of temporary regulations.

            These amended temporary regulations in Chapters 1141 and 1151 will become effective May 17,
          2018, and will expire on May 12, 2020.

             Interested persons are invited to submit written comments, suggestions or objections regarding
          these amended temporary regulations to John J. Collins, Office of Medical Marijuana, Department
          of Health, Room 628, Health and Welfare Building, 625 Forster Street, Harrisburg, PA 17120, (717)
          547-3047, RA-DHMedMarijuana@pa.gov.

             Persons with a disability who wish to submit comments, suggestions or objections regarding
          these amended temporary regulations or who require an alternative format of these amended
          temporary regulations (for example, large print, audiotape, Braille) may do so by using the previous
about:blank                                                                                                      1/26
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                                                                        No. 18-726 Page 122 of 131
            Permit—An authorization issued by the Department to an applicant to conduct activities
          authorized under the act.

            Permittee—A person who has been issued an authorization to operate as a medical marijuana
          organization under the act and this part.

             Person—A natural person, corporation, foundation, organization, business trust, estate, limited
          liability company, licensed corporation, trust, partnership, limited liability partnership, association
          or other form of legal business entity.

             Practitioner—A physician who is registered with the Department under section 401 of the act (35
          P.S. § 10231.401).

            Principal—An officer, director or person who directly or beneficially owns securities of an
          applicant or permittee, or a person who has a controlling interest in an applicant or permittee or who
          has the ability to elect the majority of the board of directors of an applicant or permittee or
          otherwise control an applicant or permittee, other than a financial institution.

              Publicly traded company—A person other than an individual who:

            (i) Has a class or series of securities registered under the Securities Exchange Act of 1934 (15
          U.S.C.A. §§ 78a—78pp) or on a foreign stock exchange determined by the Department to have
          similar listing and reporting requirements to exchanges that are regulated under the Securities
          Exchange Act of 1934.

            (ii) Is a registered management company under the Investment Company Act of 1940 (15
          U.S.C.A. §§ 80a-1—80a-64).

            (iii) Is subject to the reporting obligations imposed by section 15(d) of the Securities Exchange
          Act of 1934 (15 U.S.C.A. § 78o(d)) by reason of having filed a registration statement which has
          become effective under the Securities Act of 1933 (15 U.S.C.A. §§ 77a—77aa).

             Security—The term as defined in section 102(t) of the Pennsylvania Securities Act of 1972 (70
          P.S. § 1-102(t)).

              Serious medical condition—Any of the following conditions:

              (i) Cancer, including remission therapy.

            (ii) Positive status for Human Immunodeficiency Virus or Acquired Immune Deficiency
          Syndrome.

              (iii) Amyotrophic lateral sclerosis.

              (iv) Parkinson's disease.

              (v) Multiple sclerosis.

            (vi) Damage to the nervous tissue of the central nervous system (brain-spinal cord) with
          objective neurological indication of intractable spasticity, and other associated neuropathies.

              (vii) Epilepsy.

              (viii) Inflammatory bowel disease.

              (ix) Neuropathies.
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              (x) Huntington's disease.

              (xi) Crohn's disease.

              (xii) Post-traumatic stress disorder.

              (xiii) Intractable seizures.

              (xiv) Glaucoma.

              (xv) Sickle cell anemia.

            (xvi) Severe chronic or intractable pain of neuropathic origin or severe chronic or intractable
          pain.

              (xvii) Autism.

              (xviii) Neurodegenerative diseases.

              (ixx) Terminal illness.

              (xx) Dyskinetic and spastic movement disorders.

             (xxi) Opioid use disorder for which conventional therapeutic interventions are contraindicated or
          ineffective, or for which adjunctive therapy is indicated in combination with primary therapeutic
          interventions.

              Service-disabled—The term as defined in 51 Pa.C.S. § 9601 (relating to definitions).

              Service-disabled veteran-owned small business—The term as defined in 51 Pa.C.S. § 9601.

            Site—The total area contained within the property line boundaries in which a facility is operated
          by a medical marijuana organization.

            Spent hydroponic nutrient solution—Hydroponic nutrient solution that has been used and can no
          longer serve the purpose for which it was produced.

              THC—Tetrahydrocannabinol.

            Terminal illness—A condition or disease for which the medical prognosis of life expectancy is
          approximately 1 year or less if the condition or disease runs its normal course.

              Third-party certifying organization—The term as defined in 74 Pa.C.S. § 303(b).

            Transport vehicle—A vehicle that meets the requirements of the act and is used to transport
          seeds, immature medical marijuana plants, medical marijuana plants, medical marijuana and
          medical marijuana products between medical marijuana organizations or between medical
          marijuana organizations and an approved laboratory.

            Unit—The weight or volume of total usable medical marijuana products, calculated in metric
          units.

            Vaporization—The generation of medical marijuana products in the form of vapor for medicinal
          inhalation.

              Veteran—The term as defined in 51 Pa.C.S. § 9601.

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                 IN THE UNITED STATES DISTRICT COURT
              FOR THE WESTERN DISTRICT OF PENNSYLVANIA
                         PITTSBURGH DIVISION

    Sara Bloch, Mary Cease, and the Housing :
    Authority of Indiana County,            :
                                            :
                Plaintiffs,                 :
                                            :
    v.                                      :
                                            :
    U.S. Department of Housing and Urban :          Case No. 2:23-cv-01660-NR
    Development and Marcia Fudge, in her :
    official capacity as Secretary, U.S. :
    Department of Housing and Urban :
    Development,                            :
                                            :
                Defendants.                 :

                             CERTIFICATE OF SERVICE
         I hereby certify that I served a true and correct copy of Plaintiff’s First

   Amended Complaint upon the person(s) and in the manner indicated below:

                                      VIA ECF

Cynthia Liao, Esq.
United States Department of Justice
Civil Division, Federal Programs Branch
1100 L St. NW
Washington, DC 20005
Counsel for Defendants

                                                /s/ Aaron D. Rosengarten
                                                Aaron D. Rosengarten
   Dated: January 10, 2024
